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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


      SUNCOAST WATERKEEPER, OUR
      CHILDREN’S EARTH FOUNDATION, and
      ECOLOGICAL RIGHTS FOUNDATION,

                       Plaintiffs,                           Case No: 8:16-cv-03319-JDW-AEP

             v.


      CITY OF ST. PETERSBURG,

                      Defendant.


                  DECLARATION OF JUSTIN BLOOM IN SUPPORT OF
             PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES AND COSTS

             I, JUSTIN BLOOM, hereby declare under penalty of law that the following facts

      are true and correct:

             2.      I am an attorney licensed to practice law in the State of Florida and am

      local counsel on this case. I make this declaration based upon my personal knowledge,

      unless otherwise stated, and I am competent to testify to the matters set forth herein. I

      make this Declaration in support of Plaintiffs’ Motion for Attorneys’ Fees and Costs.

      Justin Bloom Biographical Information

             3.      I have been a practicing environmental attorney specializing in

      prosecuting pollution cases and representing communities for over 22 years. I am

      currently in solo private practice, based in Florida, and serve as the unpaid Executive

      Director of Suncoast Waterkeeper, the lead plaintiff in this case. My experience includes

      investigation, enforcement and litigation of Clean Water Act (“CWA”) violations, Toxic
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      Tort cases, land use and pharmaceutical class actions. I have successfully represented

      many plaintiffs affected by the BP Deepwater Horizon oil spill and other oil spills in the

      US. I have significant experience in pharmaceutical class action litigation, representing

      the State of Louisiana and other municipalities and organizations in defective drug cases.

      Earlier in my career I represented Monroe County, Florida as special land use and

      environmental enforcement counsel. Prior to returning to the Florida Suncoast, I worked

      in New York City as Waterkeeper Alliance’s Eastern Regional Director.

             4.      I hold a J.D. from Tulane School of Law with a Certificate in

      Environmental Law (1994) and a B.A. in Environmental Studies from New College

      (1991). At Tulane, I began my career in public interest environmental law as a student

      attorney in the Environmental Clinic, and I also completed significant study at the MA

      level in conservation and ecology studies at the University of Florida. I am a member of

      the following bars: Florida State Bar, U.S. District Court for the Middle District of

      Florida, U.S. District Court for the Southern District of Florida, U.S. District Court for

      the Northern District of Florida, U.S. Court of Appeals for the 11th Circuit, New York

      State Bar, U.S. District Court for the Eastern District of New York, U.S. District Court

      for the Southern District of New York.

             5.      I am local counsel on this case and on a similar CWA sewage case filed in

      this Court: Suncoast Waterkeeper v. City of Gulfport, No. 8:17-00035 (M.D. Fla.), and I

      am local counsel for a third CWA sewage case against the County of Sarasota, which

      may be filed in this Court at the end of the statutorily required 60-day notice period. 33

      U.S.C. 33 U.S.C. §1365.




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      Tasks Performed and Hours Incurred in this Case

             6.      Since 2016, Suncoast Waterkeeper’s Sick of Sewage Campaign has been

      an important mission area for our organization. We believe the damage caused by

      sewage spills in the Suncoast Region are harmful to the human health and the

      environment, contribute to Red Tide, and are of great concern to all citizens who use

      Suncoast waters for recreational, economic, or spiritual purposes. I was aware of and

      concerned about the Saint Petersburg sewage spills in August 2015, June 2016, and

      August-September of 2016, and those of its “satellite” cities who send their sewage to

      Saint Petersburg for treatment. In the absence of adequate state enforcement regarding

      the City’s sewage spills, and with no enforcement by EPA, citizen suit enforcement

      against the City was essential, consistent with Suncoast Waterkeeper’s “Sick of Sewage”

      mission area. In September of 2016, Suncoast Waterkeeper joined with Our Children’s

      Earth (“OCE”) and Ecological Rights Foundation (“ERF”) to initiate the citizen suit

      against the City of Saint Peteresburg. We also initiated a citizen suit against Gulfport,

      Florida. Suncoast Waterkeeper v. City of Gulfport, No. 8:17-00035 (M.D. Fla.).

             7.      I serve as local counsel on both cases, issued the Notice of Intent letter to

      the City of Saint Petersburg on September 28, 2016 and communicated with the City,

      FDEP, and EPA following the Notice Letter. I have been local counsel for this case

      from inception and during all Phases. The true and correct copy of my letter is attached

      to my declaration as Exhibit 2. I further communicated with FDEP and EPA to

      encourage a coordinated enforcement effort, to no avail. A true and correct copy of my

      letter to FDEP and EPA is attached to my declaration as Exhibit 3.




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               8.    As Executive Director of Suncoast Waterkeeper, I have been satisfied and

      confident in the representation received in this case from highly qualified environmental

      enforcement lawyers: Mr. Sproul, Mr. Evenson, Ms. Schmidt, and Mr. Goodstein. In

      some preliminary discussions I had with local area attorneys at the inception of this case,

      I did not encounter any counsel as qualified as the legal team ultimately retained for this

      highly publicized, contentious and complex Clean Water Act case.

               9.    My work on this case includes initial groundwork necessary to initiate the

      case; public record requests and subpoenas; communications with local citizens, fact

      witnesses, expert witnesses, and City representatives; conducting factual investigations;

      assisting in depositions, sometimes by video tape to reduce travel costs; obtaining non-

      profit pricing for court reporters and experts; attending court hearings and mediation; all

      involvement in settlement discussions with the defense and Ms. Schmidt; case

      management and administration; discussions with the legal team as to litigation and

      settlement strategies throughout the case; and review and filing of documents with the

      Court.

               10.   I have lead oversight and monitoring responsibility of the City’s

      compliance with the settlement terms we negotiated with the City, as embodied in the

      Stipulated Order and its attachments (Dkt 187).

               11.   My work is described in detail in my time records attached to this

      declaration as Exhibit 1. I billed a total of 514.03 hours to this case, and those hours to

      not include time spent on an administrative challenge to the FDEP consent order, time

      engaging with the press, or time spent in my capacity as Executive Director of Suncoast

      Waterkeeper. My time has been cut by 130.19 hours in an exercise of billing judgment.



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      The 383.84 hours remaining after the reduction for billing judgment include 335.17

      attorney hours and 48.67 paralegal hours, as described in Exhibit 1, which is a true and

      correct copy of time records that I personally and contemporaneously have kept using

      computerized billing software documenting the hours I have worked on this case for

      which I am seeking to recover an attorney’s fee award.

             12.       Attached as Exhibit 8 are true and correct copies of my receipts for costs

      incurred in relation to this case. I hereby declare that I drove approximately 1073.04

      miles in my role as local counsel on this case, for attendance at court appearances,

      depositions, settlement negotiations, and meetings with experts and witnesses. Applying

      a mileage rate of $0.54 per mile, my mileage costs are $579.44.

      Settlement Efforts

             13.       I arranged for the first settlement conference with the City following

      issuance of the Notice Letter. The conference was attended by myself, Mr. Sproul, our

      sewage engineer, Mr. Tom Christ, and representatives of the City. We provided a

      proposed consent decree to guide the discussions concerning the remedy for the City.

      The discussion was unsuccessful. There was no further discussion of settlement between

      the Parties until September 27, 2017 when the Parties met for Court-ordered mediation.

      On September 27, 2017, I attended the Court-ordered mediation and the Parties remained

      at an impasse.

             14.       On April 4, 2018, the Citizen groups sent a letter to the City Council prior

      to a meeting set for April 5, 2018, to be considered with an agenda item to approve

      increasing the retainer to their litigation counsel, and requested in a public forum that the

      City stop the litigation and sit down with the Citizens to work out a settlement. Attached



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      to the letter were the proposed consent decree offered in November 2016 and the Court’s

      recent orders denying the City’s motion for summary judgment. The letter is attached to

      my Declaration as Exhibit 4 and is not settlement confidential, having been released into

      the public record. At the April 5, 2018 meeting, the Citizens were accused by a

      councilmember of engaging in a “terrorist lawsuit,” and I later rose during public

      comment to respond to that accusation. On April 10, 2018, I delivered another

      settlement letter in response to the April 5 meeting, again outlining our settlement terms

      and requesting settlement negotiations. That letter is not attached to this declaration

      because it is settlement confidential.

             15.     The City expressed a willingness to engage in meaningful settlement

      discussions in June of 2018, following disclosure of Plaintiffs’ expert reports and

      communications to the City and its trial counsel from Ms. Schmidt. Thereafter Ms.

      Schmidt and I attended settlement negotiations, with Mr. Christ assisting us on June 21,

      2018 and Mr. Goodstein attending on June 27, 2018. These negotiations resulted in the

      settlement embodied in the Stipulated Order and its Attachments (Dkt 187, 182-1, 182-2).

      I further consulted with Ms. Schmidt as she negotiated the language of the Stipulated

      Order and the amendment to the consent order with outside counsel for the City.

      My Hourly Rate for Attorney Work

             16.     In consultation with Ms. Schmidt, I have set my rate at $385 per hour as

      an appropriate 2018 rate to claim in the Middle District of Florida. This rate is

      commensurate with rates found reasonable in Middle District of Florida attorneys’ fee

      award decisions for attorneys with my level of experience working on cases involving

      complex civil litigation. In setting my hourly rate, Ms. Schmidt and I have reviewed



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      recent attorney awards in cases involving complex litigation in the U.S. District Court for

      the Middle District of Florida, which are described in detail in the concurrently filed

      Declaration of Kathryn Schmidt in Support of Motion for Attorneys’ Fees and Costs. My

      $385 per hour rate is within the range of rates awarded to several lawyers with

      comparable experience in recent cases. Accordingly, in my and Ms. Schmidt’s opinion,

      this is a reasonable market-based rate for my work in this case.

      Exhibits

                17.    Attached as Exhibit 5 is the Agenda Packet pertaining to approval of

      settlement by Defendant’s City Council on August 9, 2018, which is publicly available

      online.

                18.    Attached as Exhibit 6 is a Transcript of the August 9, 2018 City Council

      Meeting.

                19.    Attached as Exhibit 7 is a Transcript of the July 17, 19 City Council

      Meeting.



                I declare, under penalty of perjury, that the foregoing is true and correct.

      Executed on March 29, 2019 in Sarasota, Florida.



                                       By: ________________________________
                                                  Justin Bloom




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                                     Exhibit 1

                                       to the

                            Declaration of Justin Bloom

                                   In Support of

                          Plaintiffs’ Motion for Attorneys'
                                    Fees and Costs



                     Suncoast Waterkeeper et al. v. City of St.
                   Petersburg Case No. 8:16-cv-03319-JDW-AEP
                                                                       Suncoast Waterkeeper
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                                                                                            al. v. CityFiled
                                                                                                        of St.04/03/19
                                                                                                               Petersburg Page 9 of 156 PageID 5221
                                                                                             Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                              Attorney   Atty    Paralegal
                     Date         Attorney               Description                                                            Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                                Time     Rate      Time
                                                                                                                                  383.84      335.17              48.67                       $   136,341.59
                                                         Meeting with Chris Sproul and Fred Evenson to discuss case
                       09/27/16   Bloom, Justin          investigation and claim development, and organizational                   0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                         standing requirements.
                                                         Call with Fred Evenson and Chris Sproul to discuss issuing
                                                         citizen suit notice letter (8 min.) and public outreach strategy (8
                       09/28/16   Bloom, Justin                                                                                    0.27         0.27     $ 385     0.00      $        150     $       103.95
                                                         min.) to build support for citizen suit, inform members of
                                                         potential citizen suit, assist with settlement negotiation strategy.
                                                         Call with Justin Bloom to discuss issuance of citizen suit notice
                       09/28/16   Bloom, Justin                                                                                    0.22         0.22     $ 385     0.00      $        150     $        84.70
                                                         letter against St. Petersburg.
                                                         Call with Fred Evenson and Chris Sproul to discuss
                                                         development of settlement position for potential settlement
                       10/04/16   Bloom, Justin                                                                                    0.33         0.33     $ 385     0.00      $        150     $       127.05
                                                         negotiation with St. Petersburg, preparation for initial call with
                                                         city attorney.
                       10/06/16   Bloom, Justin          looking for consultant and discussing with team                           0.34         0.34     $ 385     0.00      $        150     $       130.90
                                                         Communications with Fred Aschauer (DEP General Counsel)
                       10/06/16   Bloom, Justin                                                                                    0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                         re: Notice letter to FDEP and EPA
Exhibit 1 - Page 1




                                                         Conf call w/ City of St. Pete (.24) re: Notice letter w/ Chris
                       10/06/16   Bloom, Justin                                                                                    0.58         0.58     $ 385     0.00      $        150     $       223.30
                                                         Sproul, and subsequent and follow-up call w/ Chris Sproul.
                                                         Call with Fred Evenson re: expert, call with DEP attorney, corp.
                       10/12/16   Bloom, Justin                                                                                    0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                         rep for SCWK
                       10/13/16   Bloom, Justin          Review of evidence preservation memo and response                         0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                         Call with Fred Aschauer at Florida DEP and Chris Sproul to
                       10/13/16   Bloom, Justin                                                                                    0.45         0.45     $ 385     0.00      $        150     $       173.25
                                                         discuss proposed citizen suit against St. Petersburg.
                                                         Call with Sproul and Fred Evenson to discuss potential retention
                       10/13/16   Bloom, Justin          of sewage engineering expert and preparation for call with                0.28         0.28     $ 385     0.00      $        150     $       109.08
                                                         Florida DEP.
                       10/14/16   Bloom, Justin          Draft response to city re: mediators                                      0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                         Call with Chris Sproul to discuss preparation for call with expert
                                                         consultant, attorneys fee recovery issue, continuing
                       10/19/16   Bloom, Justin                                                                                    0.20         0.20     $ 385     0.00      $        150     $        77.00
                                                         investigation of role of satellites in sewage discharge problem
                                                         for St. Pete.
                       10/19/16   Bloom, Justin          Finalize and send email to St. Pete re: mediation                         0.50         0.50     $ 385     0.00      $        150     $       192.50
                       10/19/16   Bloom, Justin          Review and edit Pinellas Co records request                               0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                         Call with Chris Sproul and Fred Evanson to discuss retention of
                       10/20/16   Bloom, Justin          Thomas Christ as consulting expert for evaluation of sewage               0.47         0.47     $ 385     0.00      $        150     $       179.67
                                                         spill compliance issues.
                                                         follow-up email communications regarding retension of expert
                       10/20/16   Bloom, Justin                                                                                    0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                         Christ
                       10/21/16   Bloom, Justin          Finalize and send Pinellas Co records request                             0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                         Research St. Pete council actions and email update with press
                       10/21/16   Bloom, Justin                                                                                    0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                         clips to team
                                                                   Suncoast Waterkeeper
                                              Case 8:16-cv-03319-JDW-AEP     Documentet211-6
                                                                                        al. v. City of St.04/03/19
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                                                                                                                                         Attorney   Atty    Paralegal
                     Date         Attorney           Description                                                           Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                           Time     Rate      Time
                                                                                                                             383.84      335.17              48.67                       $   136,341.59
                                                     Draft response to Pinellas County email requesting timeframes
                                                     for multiple items within our records request. Communicate
                       10/25/16   Bloom, Justin                                                                               0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                     those timeframes to Molly Coyne for incorporation into all related
                                                     requests
                                                     follow-up with City Atty office re: mediation, emails between city,
                       10/26/16   Bloom, Justin                                                                               0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                     communications with Sproul and Evenson
                       10/26/16   Bloom, Justin      Meeting with Tom Christ about record requests and strategy               1.00         1.00     $ 385     0.00      $        150     $       385.00
                       10/27/16   Bloom, Justin      Email to Chris Sproul and Fred Evenson re: EPA call                      0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     Emails with Chris Sproul, Molly Coyne and T. Christ re: records
                       10/27/16   Bloom, Justin                                                                               0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                     requests
                                                     Phone call with William Bush EPA region 4 - initial informational
                       10/27/16   Bloom, Justin                                                                               0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                     discussion
                                                     Review and respond to team emails about mediation and
                       10/28/16   Bloom, Justin      questions about City's Wet Weather Overflow Mitigation                   0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                     Program
                       10/31/16   Bloom, Justin      Emails with Sproul and clients re mediator choice and strategy           0.25         0.25     $ 385     0.00      $        150     $        96.25
Exhibit 1 - Page 2




                                                     Call with Bill Bush EPA re: conference Call scheduling and
                       11/01/16   Bloom, Justin                                                                               0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                     follow-up email with Chris Sproul and Fred Evenson
                                                     Call with Chris Sproul and ( for part of call) Thomas Christ to
                                                     discuss revisions to proposed consent decree and settlement
                       11/01/16   Bloom, Justin      strategy/communication to St. Petersburg about mediation and             1.73         1.73     $ 385     0.00      $        150     $       667.33
                                                     request for additional information about St. Petersburg sewer
                                                     system needed for mediation.
                                                     Email to City of St. Pete re: mediation, consent order, and
                       11/01/16   Bloom, Justin                                                                               0.75         0.75     $ 385     0.00      $        150     $       288.75
                                                     questions about Wet Weather Overflow Mitigation Plan
                                                     Phone and email with Pinellas County re: public records
                       11/03/16   Bloom, Justin                                                                               0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                     request, set up dropbox and manage responsive records
                                                     Phone call with Bill Bush EPA, followed by Chris Sproul re:
                       11/08/16   Bloom, Justin                                                                               0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     scheduling call
                                                     Research Sunshine Law, Email Fred Evenson and Chris Sproul
                       11/09/16   Bloom, Justin                                                                               0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                     re; St. Pete records request, failure to respond
                       11/10/16   Bloom, Justin      Follow-up email to St. Pete re: records request                          0.08         0.00     $ 385     0.08      $        150     $        12.50
                                                     Call with Fred Evenson and Chris Sproul to discuss further
                                                     settlement strategy, including coordination with EPA as part of
                       11/14/16   Bloom, Justin      settlement and potential litigation strategy, further                    0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                     communication with City attorney on settlement mediation
                                                     potential.
                                                     Receipt and review of St. Pete records pursuant to records
                       11/14/16   Bloom, Justin      request, discuss with Cris Sproul and respond to request for             0.58         0.58     $ 385     0.00      $        150     $       224.58
                                                     clarification
                                                     Email to St. Pete re: potential mediation and discussions with
                       11/15/16   Bloom, Justin      Chris Sproul, Fred Evanson and NGOs re: strategy and                     0.75         0.75     $ 385     0.00      $        150     $       288.75
                                                     response
                                                                   Suncoast Waterkeeper
                                              Case 8:16-cv-03319-JDW-AEP     Documentet211-6
                                                                                        al. v. City of St.04/03/19
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                                                                                       Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                       Attorney   Atty    Paralegal
                     Date         Attorney           Description                                                         Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                         Time     Rate      Time
                                                                                                                           383.84      335.17              48.67                       $   136,341.59
                                                     Phone calls to EPA, Bill Bush re: conference call and email to
                       11/15/16   Bloom, Justin                                                                             0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     Chris Sproul and Fred Evanson to re-schedule
                                                     Review records and calculate filing date, communicate with Fred
                       11/15/16   Bloom, Justin                                                                             0.17         0.00     $ 385     0.17      $        150     $        25.00
                                                     Evanson and Chris Sproul
                                                     Emails with co-counsel and clients re: St. Pete mediation, email
                       11/16/16   Bloom, Justin                                                                             0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     to St. Pete attorney's office re: mediation
                       11/17/16   Bloom, Justin      Conf call with EPA and DEP, Sproul and Evanson                         0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                     Review and discuss email from Patner, City Atty about potential
                       11/18/16   Bloom, Justin                                                                             0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                     in-person negotiations
                                                     Email correspondence with team re: mediation strategy and
                       11/20/16   Bloom, Justin                                                                             0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                     draft consent decree
                       11/20/16   Bloom, Justin      Review and edit Draft Consent Decree                                   1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                     Email Tom Christ and Sproul re: upcoming negotiation and
                       11/21/16   Bloom, Justin                                                                             0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     housekeeping
                       11/21/16   Bloom, Justin      Review and edit draft complaint, research MDFL rules                   1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                     Review email from Chris Sproul and incorporate final edits into
                       11/21/16   Bloom, Justin                                                                             0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                     draft Consent Decree, send to City in email communication
Exhibit 1 - Page 3




                                                     Review and respond to St. Pete email re: clarification of records
                       11/23/16   Bloom, Justin                                                                             0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     request
                       11/28/16   Bloom, Justin      Email Joe Patner re: upcoming negotiation meeting                      0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     Email team re: access for Tom Christ to records and upcoming
                       11/28/16   Bloom, Justin                                                                             0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     negotiation meeting
                       11/28/16   Bloom, Justin      Email Tom Christ re: documents                                         0.08         0.00     $ 385     0.08      $        150     $        12.50
                       11/28/16   Bloom, Justin      Email with EcoRights client Rosner re: negotiation mtg                 0.08         0.00     $ 385     0.08      $        150     $        12.50
                       11/28/16   Bloom, Justin      meeting with Tom Christ                                                0.33         0.33     $ 385     0.00      $        150     $       128.33
                       11/28/16   Bloom, Justin      Review and edit draft complaint                                        0.50         0.50     $ 385     0.00      $        150     $       192.50
                       12/01/16   Bloom, Justin      Call with Chris Sproul to discuss filing complaint                     0.13         0.00     $ 385     0.13      $        150     $        20.00
                                                     Emails with Sproul and Evanson, and Patner re: confidentiality
                       12/01/16   Bloom, Justin                                                                             0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     agreement - negotiations
                                                     Finalize complaint, summons, cover sheet, travel to and hand-
                       12/02/16   Bloom, Justin                                                                             4.50         0.00     $ 385     4.50      $        150     $       675.00
                                                     submit at MDFL tampa.
                                                     Email Sproul and Evanson re: filed complaint, cover, summons,
                       12/02/16   Bloom, Justin                                                                             0.25         0.00     $ 385     0.25      $        150     $        37.50
                                                     research court information re: judge and magistrate
                                                     Research notice requirements, and timing of notice, issue of
                       12/02/16   Bloom, Justin      exception to administrative orders vs. state or fed. court             2.00         2.00     $ 385     0.00      $        150     $       770.00
                                                     enforcement preclusion
                       12/05/16   Bloom, Justin      Review email from Sproul, email pleadings and orders to team           0.08         0.00     $ 385     0.08      $        150     $        12.50

                       12/05/16   Bloom, Justin      Call with Chris Sproul to discuss drafting amended complaint.          0.17         0.17     $ 385     0.00      $        150     $        65.45
                                                     Review and compare DEP consent order w/ Draft Consent
                       12/05/16   Bloom, Justin                                                                             0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                     Decreee
                                                                   Suncoast Waterkeeper
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                                                                                        al. v. City of St.04/03/19
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                                                                                                                                      Attorney   Atty    Paralegal
                     Date         Attorney           Description                                                        Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                        Time     Rate      Time
                                                                                                                          383.84      335.17              48.67                       $   136,341.59
                                                     Review Order striking complaint, call with Sproul to discuss
                       12/05/16   Bloom, Justin                                                                            0.42         0.42     $ 385     0.00      $        150     $       160.42
                                                     Order, Proposed DEP order and Press strategy.
                                                     Email communications with Joe Patner (City) re: waiver of
                       12/06/16   Bloom, Justin                                                                            0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     service
                                                     Emails with Evanson and Sproul, final edits to amended
                       12/06/16   Bloom, Justin                                                                            0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                     complaint
                       12/06/16   Bloom, Justin      Review amended complaint and edit                                     0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                     Review Tom Christ notes and comments on proposed DEP
                       12/06/16   Bloom, Justin                                                                            0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                     Consent Order
                       12/07/16   Bloom, Justin      service of complaint                                                  0.33         0.00     $ 385     0.33      $        150     $        50.00
                       12/07/16   Bloom, Justin      Call with Clerk's office re: amended complaint                        0.08         0.00     $ 385     0.08      $        150     $        12.50
                       12/07/16   Bloom, Justin      file amended complaint, courtesy copy to def.                         0.17         0.00     $ 385     0.17      $        150     $        25.00
                       12/09/16   Bloom, Justin      Conference call re: settlement meeting                                1.35         1.35     $ 385     0.00      $        150     $       519.75
                       12/09/16   Bloom, Justin      Email to Joe Patner re: agenda for mediation.                         0.17         0.17     $ 385     0.00      $        150     $        64.17
                       12/09/16   Bloom, Justin      Emails with Joe Patner re: meeting                                    0.17         0.17     $ 385     0.00      $        150     $        64.17
                       12/09/16   Bloom, Justin      Review and share notice of appearance                                 0.08         0.00     $ 385     0.08      $        150     $        12.50
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                                                     travel to, attend conference w/ Def attorneys, mtg with Tom
                       12/12/16   Bloom, Justin                                                                            4.50         2.20     $ 385     2.30      $        150     $     1,192.00
                                                     Christ, return
                                                     Conference call set-up info to Sproul, Evanson, Beamon,
                       12/12/16   Bloom, Justin                                                                            0.25         0.00     $ 385     0.25      $        150     $        37.50
                                                     directions to Christ, confirmations
                                                     Review Christ email and document comparison of DEP and PL
                       12/12/16   Bloom, Justin                                                                            0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     draft consent orders
                                                     Call with Sproul re: 12/12 conference follow-up, local rules and
                       12/13/16   Bloom, Justin                                                                            0.32         0.00     $ 385     0.32      $        150     $        47.50
                                                     practice, discovery
                       12/13/16   Bloom, Justin      Email to St. Pete re: records request                                 0.25         0.25     $ 385     0.00      $        150     $        96.25
                       12/13/16   Bloom, Justin      Review email / notes from Tom Christ re: 12/12 conference             0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                     Review of City Counsel agenda, items, resolutions re:
                                                     Independent CPA firm review of the "buried report" and Re-
                       12/14/16   Bloom, Justin                                                                            0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                     commissioning the Albert Whitted, email with T. Christ about
                                                     attending and thoughts
                                                     Call with Fred Evenson and Chris Sproul to discuss how best to
                                                     obtain documents from St. Petersburg needed for further
                       12/19/16   Bloom, Justin      evaluation of extensive sewage spill problems and necessary           0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                     remedies, Sunshine law request and/or request for production of
                                                     documents in discovery.
                       12/19/16   Bloom, Justin      Emails with Evanson, Sproul, clients re: re-opening Whitted           0.08         0.08     $ 385     0.00      $        150     $        32.08
                       12/19/16   Bloom, Justin      Review discovery email, calculate timing for disovery                 0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                     Email St. Petersburg request for consent to add Gulfport to
                       12/20/16   Bloom, Justin                                                                            0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                     amended complaint, research rules
                                                     Emails with Chris Sproul and PennFuture to obtain and review
                       12/21/16   Bloom, Justin                                                                            0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                     model Consent Decree from PA litigation
                                                                   Suncoast Waterkeeper
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                                                                                        al. v. City of St.04/03/19
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                                                                                      Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                    Attorney   Atty    Paralegal
                     Date         Attorney           Description                                                      Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                      Time     Rate      Time
                                                                                                                        383.84      335.17              48.67                       $   136,341.59
                                                     Research Albert Whitted documents and options, emails with T.
                       12/21/16   Bloom, Justin                                                                          0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                     Christ and team.
                                                     Emails to Barbara Peterson, First Amendment Foundation re:
                       12/22/16   Bloom, Justin                                                                          0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                     sunshine violation and review responses
                                                     serve defendant Notice of Designation and initiate rule 3.05
                       12/23/16   Bloom, Justin                                                                          0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                     case management scheduling
                                                     Review Motion to Dismiss and send to Fred Evenson, Chris
                       12/28/16   Bloom, Justin                                                                          0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                     Sproul
                                                     Call with Chris Sproul to discuss Motion to Dismiss, standing
                       12/29/16   Bloom, Justin                                                                          0.12         0.12     $ 385     0.00      $        150     $        44.92
                                                     declarants, 11th Circuit law
                                                     Communications with plaintiff members re: standing and
                       12/29/16   Bloom, Justin                                                                          0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                     Communications with legal team re: standing declarations
                                                     Emails with C. Sproul and Molly Coyne re: Motion to Amend and
                       12/29/16   Bloom, Justin                                                                          0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     failure of St. Pete to respond to Email requesting stipulation

                       12/29/16   Bloom, Justin      Emails with defendants to schedule case mgmt conference             0.17         0.00     $ 385     0.17      $        150     $        25.00
                                                     Emails with legal team re: response to Motion to Dismiss,
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                       12/29/16   Bloom, Justin                                                                          0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                     procedure and caselaw.
                       12/29/16   Bloom, Justin      Research 11th Circuit law on standing, injury                       0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                     Research and communications with plaintiff members regarding
                       12/29/16   Bloom, Justin                                                                          1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                     standing
                                                     Emails with Sean Sullivan re: standing and Molly Coyne re:
                       12/30/16   Bloom, Justin                                                                          0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     complaint
                                                     Review email from Chris Sproul re: standing and opposition to
                       01/01/17   Bloom, Justin                                                                          0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                     motion to dismiss, including 11th Circuit research
                                                     Call with Chris Sproul and Fred Evenson to discuss further
                                                     development of standing evidence for amended complaint and
                       01/02/17   Bloom, Justin                                                                          0.27         0.27     $ 385     0.00      $        150     $       102.67
                                                     opposition to motion to dismiss, motion for summary judgment
                                                     on standing.
                       01/02/17   Bloom, Justin      Communications with Defense re: scheduling conference               0.08         0.00     $ 385     0.08      $        150     $        12.50
                       01/02/17   Bloom, Justin      Emails with standing declarant Andy Hayslip                         0.17         0.17     $ 385     0.00      $        150     $        64.17
                       01/03/17   Bloom, Justin      Emails trying to coordinate case mgmt conference                    0.33         0.00     $ 385     0.33      $        150     $        50.00
                                                     travel to Tampa MDFL, file complaint, summons, civil cover
                       01/04/17   Bloom, Justin                                                                          2.50         0.00     $ 385     2.50      $        150     $       375.00
                                                     sheet.
                       01/04/17   Bloom, Justin      Edit draft case management report                                   0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                     Email Chris Sproul re: case mgmt, local rule, judge's
                       01/04/17   Bloom, Justin                                                                          0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     recommendation, scheduling
                                                     Emails with Chris Sproul and defense to coordinate case mgmt
                       01/04/17   Bloom, Justin                                                                          0.20         0.00     $ 385     0.20      $        150     $        30.00
                                                     conference.
                       01/05/17   Bloom, Justin      Edit draft case management report                                   0.17         0.17     $ 385     0.00      $        150     $        64.17
                       01/05/17   Bloom, Justin      Emails with defense re: protocol for communications                 0.08         0.00     $ 385     0.08      $        150     $        12.50
                       01/05/17   Bloom, Justin      Finalize case management conference arrangements                    0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                                   Suncoast Waterkeeper
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                                                                                         Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                         Attorney   Atty    Paralegal
                     Date         Attorney           Description                                                           Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                           Time     Rate      Time
                                                                                                                             383.84      335.17              48.67                       $   136,341.59
                                                     Research court rules re: filing proposed order,and email to Chris
                       01/09/17   Bloom, Justin                                                                               0.13         0.00     $ 385     0.13      $        150     $        20.00
                                                     Sproul, Molly Coyne, Fred Evenson
                                                     Research on transferring related cases and email to Chris
                       01/09/17   Bloom, Justin                                                                               0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                     Sproul, Molly Coyne, Fred Evenson
                       01/09/17   Bloom, Justin      Call with Joseph McClash and edit declaration for same                   0.83         0.83     $ 385     0.00      $        150     $       320.83
                       01/09/17   Bloom, Justin      meet with Andrew Hayslip about declaration                               0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                     Review and email Chris Sproul, Molly and Fred Evenson re:
                       01/09/17   Bloom, Justin                                                                               0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                     draft of response to Motion to Dismiss.
                                                     Review emails re: Motion to Dismiss, including Review of
                       01/09/17   Bloom, Justin      declarations and begin drafting declarations, communicating              1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                     with potential declarants
                       01/10/17   Bloom, Justin      Call with John Rice about declaration, draft and edit declaration        1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                     Call with Joseph McClash and edit declaration for reply to
                       01/10/17   Bloom, Justin                                                                               0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     motion to dismiss for witness review.
                       01/10/17   Bloom, Justin      Draft and edit Andy Hayslip declaration for witness review.              0.50         0.50     $ 385     0.00      $        150     $       192.50
                       01/10/17   Bloom, Justin      Edit 2nd am complaint                                                    1.50         1.50     $ 385     0.00      $        150     $       577.50
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                                                     phone call with Jill Wenner to discuss declaration, edit
                       01/10/17   Bloom, Justin                                                                               0.83         0.83     $ 385     0.00      $        150     $       320.83
                                                     declaration and emails with her.
                                                     phone call with Sandra Ripberger to discuss declaration, edit
                       01/10/17   Bloom, Justin                                                                               0.92         0.92     $ 385     0.00      $        150     $       352.92
                                                     declaration and emails with her.
                                                     phone call with Sean McClash to discuss declaration, edit
                       01/10/17   Bloom, Justin                                                                               0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     declaration and emails with her.
                                                     phone call with Sean Sullivan to discuss declaration, edit
                       01/10/17   Bloom, Justin                                                                               0.83         0.83     $ 385     0.00      $        150     $       320.83
                                                     declaration and emails with her.
                       01/11/17   Bloom, Justin      Additional edits to declarations                                         0.83         0.83     $ 385     0.00      $        150     $       320.83
                                                     complete and file 1)leave to file amended complaint, 2)amended
                       01/11/17   Bloom, Justin                                                                               1.67         1.67     $ 385     0.00      $        150     $       641.67
                                                     complaint, 3) response to motion to dismiss and declarations.
                                                     Draft case management report for discussion, send to
                       01/11/17   Bloom, Justin                                                                               1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                     defendant
                       01/11/17   Bloom, Justin      Edit 2nd amended complaint and motion for leave to file                  1.00         1.00     $ 385     0.00      $        150     $       385.00
                       01/11/17   Bloom, Justin      Edit response to motion to dismiss                                       1.67         1.67     $ 385     0.00      $        150     $       641.67
                                                     Email to defense for no objection to 2nd amended complaint,
                       01/11/17   Bloom, Justin                                                                               0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     discuss prior request with Chris Sproul and Local Rule 3.01g
                       01/11/17   Bloom, Justin      Finalize declaration of Wenner                                           0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                     Finalize declarations of McClash, Ripberger, Wenner, Hayslip,
                       01/11/17   Bloom, Justin                                                                               0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                     Sullivan, Alfieri.
                       01/11/17   Bloom, Justin      phone call with Chris Sproul re: filings                                 0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     Edit and send Plaintiff's first request for production, emails with
                       01/12/17   Bloom, Justin                                                                               0.75         0.75     $ 385     0.00      $        150     $       288.75
                                                     Molly Coyne and Chris Sproul
                                                                   Suncoast Waterkeeper
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                                                                                        Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                        Attorney   Atty    Paralegal
                     Date         Attorney           Description                                                          Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                          Time     Rate      Time
                                                                                                                            383.84      335.17              48.67                       $   136,341.59
                                                     Emails from Def. counsel and communications with Evenson
                       01/12/17   Bloom, Justin                                                                              0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     and Sproul re: protocol for communications with Def.
                                                     Call with Chris Sproul to discuss case management matters in
                                                     light of Rule 26(f) call with opposing counsel, motion to transfer
                       01/13/17   Bloom, Justin                                                                              0.17         0.17     $ 385     0.00      $        150     $        65.45
                                                     Gulfport and Treasure Island cases to Judge Whittemore for
                                                     case consolidation.
                                                     Case Management Conference Call with St. Petersburg
                       01/13/17   Bloom, Justin      counsel, Justin Bloom to discuss Rule 26(f) matters, case               0.83         0.83     $ 385     0.00      $        150     $       319.55
                                                     management report.
                       01/13/17   Bloom, Justin      Draft Motion to Transfer                                                0.75         0.75     $ 385     0.00      $        150     $       288.75
                                                     Draft Notice of Pendency of Of Other Action and email Sproul
                       01/13/17   Bloom, Justin                                                                              0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                     and Evenson re: consolidation
                                                     Emails with Chris Sproul and Molly Coyne re: discovery, share
                       01/13/17   Bloom, Justin                                                                              0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     Sunshine requests with Molly Coyne.
                                                     follow-up call re: Case Management Conference with Chris
                       01/13/17   Bloom, Justin                                                                              0.18         0.18     $ 385     0.00      $        150     $        70.58
                                                     Sproul
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                                                     Draft certificate of compliance and notice of appearance for
                       01/16/17   Bloom, Justin                                                                              0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                     Sproul and Evenson
                       01/16/17   Bloom, Justin      Emails with Molly Coyne re: RFPs                                        0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     Review emails between Molly Coyne and Chris Sproul and
                       01/17/17   Bloom, Justin                                                                              0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     myself re: updated SSO reports
                       01/17/17   Bloom, Justin      Review, edit and file interrogatories                                   0.58         0.58     $ 385     0.00      $        150     $       224.58
                       01/17/17   Bloom, Justin      Review, edit and file requests for admissions                           0.75         0.75     $ 385     0.00      $        150     $       288.75
                       01/18/17   Bloom, Justin      Finalize and file Notice of Related Case                                0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                     Review and respond to strategy regarding satellites and 3rd
                       01/18/17   Bloom, Justin                                                                              0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                     party subpoenae
                                                     Review, edit Chris Sproul changes, send to Def. Case
                       01/18/17   Bloom, Justin                                                                              0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     Management Report
                                                     Call with Chris Sproul and Fred Evenson re: case management
                       01/20/17   Bloom, Justin                                                                              0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     report
                                                     Call with Fred Evenson re: case management report, final edits
                       01/20/17   Bloom, Justin                                                                              0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     and email to Bovles
                       01/20/17   Bloom, Justin      file Case Management Report                                             0.17         0.00     $ 385     0.17      $        150     $        25.00
                       01/23/17   Bloom, Justin      Call from MDFL Clerk re: case management report                         0.03         0.00     $ 385     0.03      $        150     $         5.00
                                                     Email to def. re: signature block required on case management
                       01/23/17   Bloom, Justin                                                                              0.08         0.00     $ 385     0.08      $        150     $        12.50
                                                     report
                       01/23/17   Bloom, Justin      Emails with Def. (Cantrell) regarding start date of trial.              0.05         0.00     $ 385     0.05      $        150     $         7.50
                                                     receive signed copy from Def and re-file case management
                       01/23/17   Bloom, Justin                                                                              0.12         0.00     $ 385     0.12      $        150     $        17.50
                                                     report
                       01/24/17   Bloom, Justin      Call with Chris Sproul re: agreed order - 2nd amended complaint         0.10         0.10     $ 385     0.00      $        150     $        38.50
                       01/24/17   Bloom, Justin      Draft proposed order - 2nd amended complaint                            0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                                   Suncoast Waterkeeper
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                                                                                        al. v. City of St.04/03/19
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                                                                                       Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                     Attorney   Atty    Paralegal
                     Date         Attorney           Description                                                       Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                       Time     Rate      Time
                                                                                                                         383.84      335.17              48.67                       $   136,341.59
                       01/24/17   Bloom, Justin      Emails with Debbi Cantwell re: scheduling                            0.17         0.00     $ 385    0.17       $        150     $        25.00
                       01/25/17   Bloom, Justin      Call to law clerk re: form of order granting 2nd am complaint        0.13         0.00     $ 385     0.13      $        150     $        20.00
                                                     Email Chris Sproul and Fred Evenson re:unopposed motion and
                       01/25/17   Bloom, Justin                                                                           0.03         0.03     $ 385     0.00      $        150     $        12.83
                                                     withdrawal of MTD
                                                     Emails with Def. counsel re: notice of unopposed motion and
                       01/25/17   Bloom, Justin                                                                           0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     withdrawal of MTD
                                                     Email from Chris Sproul re: subpoenas, record review
                       01/26/17   Bloom, Justin                                                                           0.12         0.12     $ 385     0.00      $        150     $        44.92
                                                     processes, document management, respond to Email
                                                     Emails with Fred Evenson, Molly Coyne and Chris Sproul re:
                       01/26/17   Bloom, Justin                                                                           0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     subpoenas
                                                     Emails with plaintiff team re: denial of motion to dismiss and
                       01/26/17   Bloom, Justin                                                                           0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     strategy for communications with Def. and Council
                       01/26/17   Bloom, Justin      Review and send 2nd set of RFPs to Def.                              0.17         0.17     $ 385     0.00      $        150     $        64.17
                       01/26/17   Bloom, Justin      Review case management order, discuss with team                      0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                     Email to Tom Christ re: review and opinion from produced public
                       01/27/17   Bloom, Justin                                                                           0.05         0.05     $ 385     0.00      $        150     $        19.25
                                                     documents
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                       01/27/17   Bloom, Justin      Review and edit subpoenas to satellites                              0.22         0.22     $ 385     0.00      $        150     $        83.42
                       01/27/17   Bloom, Justin      send notice of subpoenas to Defendant                                0.05         0.05     $ 385     0.00      $        150     $        19.25
                       01/30/17   Bloom, Justin      Finalize, edit and send subpoenas to satellites                      1.17         1.17     $ 385     0.00      $        150     $       449.17
                                                     Communications with process server re: subpoena to Treasure
                       01/31/17   Bloom, Justin                                                                           0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     Island
                                                     Review records provided by Molly Coyne re: 2015 spills and
                       01/31/17   Bloom, Justin                                                                           0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                     Gulfport v St. Pete issues
                       02/02/17   Bloom, Justin      Email to Chris, Fred, Molly re: Subpoena and records request         0.03         0.03     $ 385     0.00      $        150     $        12.83
                                                     phone call and email with firm representing Treasure Isl re:
                       02/02/17   Bloom, Justin                                                                           0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                     subpoena
                                                     Call with Fred Evenson and Chris Sproul to discuss opposition
                       02/06/17   Bloom, Justin                                                                           0.27         0.27     $ 385     0.00      $        150     $       102.67
                                                     to St. Petersburg's motion to dismiss
                                                     Call with Fred Evenson and Chris Sproul to discuss opposition
                       02/06/17   Bloom, Justin                                                                           0.23         0.23     $ 385     0.00      $        150     $        89.83
                                                     to St. Petersburg's motion to dismiss
                       02/06/17   Bloom, Justin      Email to Chris, Fred, Molly re: St. Pete Beach Subpoena              0.08         0.08     $ 385     0.00      $        150     $        32.08
                       02/06/17   Bloom, Justin      phone call with Clerk of St. Pete beach re: subpoena                 0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                     respond via email to request for filed documents to Molly Coyne
                       02/10/17   Bloom, Justin                                                                           0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                     for Plaintiff's response to 2nd motion to dismiss
                       02/10/17   Bloom, Justin      Review and respond to team email re: St. Pete hearing 2/16           0.08         0.08     $ 385     0.00      $        150     $        32.08
                       02/13/17   Bloom, Justin      Email correspondence with Tierra Verde re: Subpoena                  0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                     Email to Fred Evenson, Chris Sproul, Molly Coyne re: Treasure
                       02/13/17   Bloom, Justin                                                                           0.07         0.07     $ 385     0.00      $        150     $        25.67
                                                     Island motion to quash
                       02/13/17   Bloom, Justin      Review response to Plaintiffs 1st Request for Production             0.08         0.08     $ 385     0.00      $        150     $        32.08
                       02/13/17   Bloom, Justin      Review Treasure Island Motion to Quash                               0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                                   Suncoast Waterkeeper
                                              Case 8:16-cv-03319-JDW-AEP     Documentet211-6
                                                                                        al. v. City of St.04/03/19
                                                                                                 Filed     PetersburgPage 17 of 156 PageID 5229
                                                                                       Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                      Attorney   Atty    Paralegal
                     Date         Attorney           Description                                                        Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                        Time     Rate      Time
                                                                                                                          383.84      335.17              48.67                       $   136,341.59
                                                     Review emails and research issue of expedited request re:
                       02/14/17   Bloom, Justin                                                                            0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                     motion to quash, call to clerk
                       02/14/17   Bloom, Justin      Review Motion to Consolidate                                          0.08         0.08     $ 385     0.00      $        150     $        32.08
                       02/15/17   Bloom, Justin      Call with Joe Morrisey, Pinellas County Atty office re: subpoena      0.08         0.08     $ 385     0.00      $        150     $        32.08

                       02/15/17   Bloom, Justin      correspondence with Jason Klein re: motion to quash subpoena          0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                     Email Gulfport counsel re: Motion to Quash and negotiation of
                       02/15/17   Bloom, Justin                                                                            0.12         0.12     $ 385     0.00      $        150     $        44.92
                                                     withdrawal
                                                     Email with Chris Sproul re: Motion to QUash subpoena from
                       02/15/17   Bloom, Justin                                                                            0.05         0.05     $ 385     0.00      $        150     $        19.25
                                                     Gulfport
                       02/15/17   Bloom, Justin      receive and review response to Subpoena by Tierra verde               0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     Call with Chris Sproul and Fred Evenson to discuss opposition
                       02/16/17   Bloom, Justin      to Treasure Island motion to quash subpoena, motion to                0.31         0.31     $ 385     0.00      $        150     $       118.71
                                                     consolidate Gulfport and St. Pete cases.
                                                     conf call with Def Gulfport. re: motion to quash and misc.
                       02/16/17   Bloom, Justin                                                                            0.83         0.83     $ 385     0.00      $        150     $       320.83
                                                     discovery issues
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                                                     reply, assemble, organize, publish to team responsive docs from
                       02/16/17   Bloom, Justin                                                                            0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                     Pinellas County to our Subpoena
                                                     Review and research Judge's notice/order on Motion to
                       02/16/17   Bloom, Justin                                                                            0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     Consolidate
                                                     Call with Chris Sproul re: scheduling and motion to appear by
                       02/17/17   Bloom, Justin                                                                            0.07         0.07     $ 385     0.00      $        150     $        25.67
                                                     phone
                       02/17/17   Bloom, Justin      Call with City Attoreny for S. Pasadena re: Subpoena                  0.07         0.07     $ 385     0.00      $        150     $        25.67
                       02/17/17   Bloom, Justin      contact with Gulfport and St. Pete council re unopposed motion        0.12         0.12     $ 385     0.00      $        150     $        44.92
                       02/17/17   Bloom, Justin      Draft and file Notice of Designation of Lead                          0.40         0.40     $ 385     0.00      $        150     $       154.00
                                                     Email to defendants Gulfport and St. Pete re: opposition to
                       02/17/17   Bloom, Justin                                                                            0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                     appearing via phone
                       02/17/17   Bloom, Justin      Finalize and file unopposed motion to appear by phone                 0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                     Research and email to Fred Evenson and Chris Sproul re:
                       02/17/17   Bloom, Justin                                                                            0.17         0.00     $ 385     0.17      $        150     $        25.00
                                                     Designation of Lead
                       02/20/17   Bloom, Justin      Review and edit response to Motion to Dismiss SAC                     0.75         0.75     $ 385     0.00      $        150     $       288.75
                       02/21/17   Bloom, Justin      Edit and finalize response to 2nd MTD, file                           0.75         0.75     $ 385     0.00      $        150     $       288.75
                                                     Email to Treasure Island and St. Petersburg re: telephonic
                       02/21/17   Bloom, Justin                                                                            0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                     hearing for Motion to Quash
                       02/21/17   Bloom, Justin      Review and disseminate objection to motion to consolidate             0.05         0.05     $ 385     0.00      $        150     $        19.25
                                                     Review and respond to email from Chris Sproul re: response to
                       02/21/17   Bloom, Justin                                                                            0.07         0.07     $ 385     0.00      $        150     $        25.67
                                                     2nd MTD
                       02/22/17   Bloom, Justin      travel to TPA for hearing (1:10) and return                           4.00         1.70     $ 385     2.30      $        150     $       999.50
                       02/22/17   Bloom, Justin      Call with Fred Evenson re: hearing                                    0.18         0.18     $ 385     0.00      $        150     $        70.58
                                                     Draft UNOPPOSED MOTION TO APPEAR BY TELEPHONE -
                       02/22/17   Bloom, Justin                                                                            0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                     Motion to Quash
                                                                    Suncoast Waterkeeper
                                               Case 8:16-cv-03319-JDW-AEP     Documentet211-6
                                                                                         al. v. City of St.04/03/19
                                                                                                  Filed     PetersburgPage 18 of 156 PageID 5230
                                                                                          Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                         Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                          Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                           Time     Rate      Time
                                                                                                                             383.84      335.17              48.67                       $   136,341.59
                                                      Research and prep for consolidation hearing, call with Chris
                        02/22/17   Bloom, Justin                                                                              2.00         2.00     $ 385     0.00      $        150     $       770.00
                                                      Sproul
                                                      Prepare and file motion to appear by phone - Treasure Isl
                        02/23/17   Bloom, Justin                                                                              0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      subpoena
                                                      discuss arguments, strategy for opposition to motion for
                        02/24/17   Bloom, Justin                                                                              0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      summary judgment
                        02/24/17   Bloom, Justin      Review email from Chris Sproul re: discovery responses                  0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Review responses to RFAs and Chris Sprouls notes and
                        02/24/17   Bloom, Justin                                                                              0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      comments
                                                      Call with Chris Sproul to discuss meeting and conferring with
                        03/01/17   Bloom, Justin      Treasure Island counsel in light of court order denying motion to       0.12         0.12     $ 385     0.00      $        150     $        46.20
                                                      quash.
                        03/01/17   Bloom, Justin      Review correspondence and responses to Plaintiffs RFAs                  0.33         0.33     $ 385     0.00      $        150     $       128.33
                        03/01/17   Bloom, Justin      Review correspondence and responses to Plaintiffs' 2nd RFP              0.33         0.33     $ 385     0.00      $        150     $       128.33
                        03/01/17   Bloom, Justin      Review of motion for summary judgment                                   0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      Emails with Brian Bolves and Chris Sproul re: response to our
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                        03/06/17   Bloom, Justin                                                                              0.13         0.13     $ 385     0.00      $        150     $        51.33
                                                      opposition to Motion to Dismiss
                                                      Review RFAs sent by Chris Sproul via email with proposal for
                        03/06/17   Bloom, Justin                                                                              0.13         0.13     $ 385     0.00      $        150     $        51.33
                                                      Case Management Report
                                                      Conference call with Chris Sproul and Fred Evenson re: public
                                                      meeting on 3/15, discuss review and potential response to St.
                        03/07/17   Bloom, Justin                                                                              0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      Petersburg motion for leave to file reply brief, our response to
                                                      reply arguments reflected in St. Petersburg motion for leave.
                                                      response and reply to Brian Bolves re: leave to allow extra
                        03/07/17   Bloom, Justin                                                                              0.05         0.05     $ 385     0.00      $        150     $        19.25
                                                      response
                        03/07/17   Bloom, Justin      Review Def. Motion for leave to reply and share with co-counsel         0.10         0.10     $ 385     0.00      $        150     $        38.50
                                                      Review emails re: objection drafting and share Order granting
                        03/07/17   Bloom, Justin                                                                              0.18         0.18     $ 385     0.00      $        150     $        70.58
                                                      leave to allow extra response
                                                      Communications with Fred Evenson, Chris Sproul re:
                        03/08/17   Bloom, Justin      Opposition to MSJ, draft declaration of Sproul, file Opposition         0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      and Declaration
                        03/08/17   Bloom, Justin      Review and upload responsive docs from 1/26 request,                    0.33         0.33     $ 385     0.00      $        150     $       128.33
                        03/09/17   Bloom, Justin      Emails with Plaintiffs team re: errata, filing error and protocols      0.20         0.20     $ 385     0.00      $        150     $        77.00
                                                      Emails with Brian Bolves and Chris Sproul and Fred Evenson
                        03/13/17   Bloom, Justin                                                                              0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      re: Def. response to PL opposition to MSJ
                        03/13/17   Bloom, Justin      Research and draft joint motion for leave to reply                      0.75         0.75     $ 385     0.00      $        150     $       288.75
                        03/13/17   Bloom, Justin      Review and edit opposition to request for judicial notice, file         0.58         0.58     $ 385     0.00      $        150     $       224.58
                        03/14/17   Bloom, Justin      Email to court reporter re: invoice                                     0.07         0.00     $ 385     0.07      $        150     $        10.00
                        03/14/17   Bloom, Justin      Review of discovery chart for potential deponents                       0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                                    Suncoast Waterkeeper
                                               Case 8:16-cv-03319-JDW-AEP     Documentet211-6
                                                                                         al. v. City of St.04/03/19
                                                                                                  Filed     PetersburgPage 19 of 156 PageID 5231
                                                                                         Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                          Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                           Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                            Time     Rate      Time
                                                                                                                              383.84      335.17              48.67                       $   136,341.59
                                                      Communications with Tom Christ re: St. Pete meeting re:
                        03/15/17   Bloom, Justin                                                                               0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      consent order
                                                      Edit and emails with Def. re: joint motion for leave to reply, file
                        03/15/17   Bloom, Justin                                                                               0.37         0.37     $ 385     0.00      $        150     $       141.17
                                                      motion
                                                      Review and communicate with team denial of Def. motion for
                        03/15/17   Bloom, Justin                                                                               0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      leave to file reply
                                                      Review of order denying Def 2nd motion for reply brief,share
                        03/16/17   Bloom, Justin                                                                               0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      with team
                                                      Review of order denying joint motion for reply briefs, emails to
                        03/16/17   Bloom, Justin                                                                               0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      team reminder of 3.01(d)
                                                      Review, email team and respond to 2nd Motion for Leave to File
                        03/16/17   Bloom, Justin                                                                               0.58         0.58     $ 385     0.00      $        150     $       224.58
                                                      Reply
                                                      Review emails, edit and send letter to Bolves et al re:
                        03/27/17   Bloom, Justin                                                                               0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      depositions
                        03/28/17   Bloom, Justin      Email communications with Bolves re: production of discovery             0.17         0.17     $ 385     0.00      $        150     $        64.17
                        03/28/17   Bloom, Justin      Emails re: case management with team                                     0.25         0.25     $ 385     0.00      $        150     $        96.25
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                        03/28/17   Bloom, Justin      Research court reporters                                                 0.25         0.25     $ 385     0.00      $        150     $        96.25
                        03/29/17   Bloom, Justin      Review 2nd set of interrogatories by Plaintiff                           0.25         0.25     $ 385     0.00      $        150     $        96.25
                        03/30/17   Bloom, Justin      Email communications re: planning depos                                  0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Emails with Molly Coyne and Chris Sproul re: initial disclosures
                        03/30/17   Bloom, Justin                                                                               0.12         0.12     $ 385     0.00      $        150     $        44.92
                                                      and other discovery
                                                      Research local rules and practice re: deposition scheduling
                        03/30/17   Bloom, Justin                                                                               0.17         0.00     $ 385     0.17      $        150     $        25.00
                                                      conflict meet and confer obligation
                                                      Review emails and discuss case management order, calendar
                        03/30/17   Bloom, Justin                                                                               0.12         0.12     $ 385     0.00      $        150     $        44.92
                                                      access, etc.
                        03/30/17   Bloom, Justin      Review Plaintiffs initial disclosures                                    0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Review correspondence to Bolves re: objections to discovery
                        03/31/17   Bloom, Justin                                                                               0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      responses. Meet and confer letter.
                                                      Review discovery correspondence with Bolves, Sproul, Review
                        03/31/17   Bloom, Justin                                                                               0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      discovery documents provided by Def.
                        04/02/17   Bloom, Justin      Review deposition letter to Bolves re: scheduling                        0.05         0.05     $ 385     0.00      $        150     $        19.25
                        04/04/17   Bloom, Justin      Emails re: depositions with reporter firm                                0.08         0.00     $ 385     0.08      $        150     $        12.50
                        04/07/17   Bloom, Justin      Review discovery dispute communications with Bolves                      0.07         0.07     $ 385     0.00      $        150     $        25.67
                        04/12/17   Bloom, Justin      Emails to team re: sewage enforcement records                            0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Emails with Fred Evenson and Chris Sproul re: draft consent
                        04/12/17   Bloom, Justin                                                                               0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      decree
                                                      Emails with Fred Evenson and Chris Sproul re: plaintiffs 2nd
                        04/12/17   Bloom, Justin                                                                               0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      RFPs response and timing
                        04/13/17   Bloom, Justin      Emails re: scheduling depos                                              0.10         0.10     $ 385     0.00      $        150     $        38.50
                        04/20/17   Bloom, Justin      Review emails and drafts for motion to compel re: interrogs              0.17         0.17     $ 385     0.00      $        150     $        64.17
                        04/21/17   Bloom, Justin      Call with Fred Evenson re: Discovery meet and confer letters             0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                                    Suncoast Waterkeeper
                                               Case 8:16-cv-03319-JDW-AEP     Documentet211-6
                                                                                         al. v. City of St.04/03/19
                                                                                                  Filed     PetersburgPage 20 of 156 PageID 5232
                                                                                         Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                       Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                        Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                         Time     Rate      Time
                                                                                                                           383.84      335.17              48.67                       $   136,341.59
                        04/21/17   Bloom, Justin      Draft and send letter re: and motion to compel                        0.50         0.50     $ 385    0.00       $        150     $       192.50
                        04/24/17   Bloom, Justin      Draft and send meet and confer letter re: RFP inadequacies            0.17         0.17     $ 385     0.00      $        150     $        64.17
                        04/24/17   Bloom, Justin      Emails with Molly Coyne re; RFPs                                      0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      telephone conference with Fred Evenson and Molly Coyne re:
                                                      discovery, scheduling meet and confer, depositions, responses
                        04/24/17   Bloom, Justin      and objections to requests for production, drafting motion to         1.08         1.08     $ 385     0.00      $        150     $       417.08
                                                      compel, protocol for handling correspondence with opposing
                                                      counsel and organization of materials received in discovery.
                        04/25/17   Bloom, Justin      schedule meet and confer conf.                                        0.08         0.00     $ 385     0.08      $        150     $        12.50
                                                      conf. call with C. Sproul and F. Evenson re: St. Pete discovery,
                        04/26/17   Bloom, Justin                                                                            0.22         0.22     $ 385     0.00      $        150     $        83.42
                                                      meet and confer, motion to compel.
                                                      followup call with Fred Evenson from conference call - meet and
                        04/27/17   Bloom, Justin                                                                            0.18         0.18     $ 385     0.00      $        150     $        70.58
                                                      confer
                                                      Conference call - meet and confer with Brian Bolves, Molly
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                                                      Coyne and Fred Evenson - meet and confer call with opposing
                        04/27/17   Bloom, Justin                                                                            1.10         1.10     $ 385     0.00      $        150     $       423.50
                                                      counsel to discuss document production and answers to RFAs
                                                      and interrogatories, deposition scheduling.

                        05/02/17   Bloom, Justin      Research and Draft and file Notice of Supplemental Authority          1.17         1.17     $ 385     0.00      $        150     $       449.17
                                                      Review discovery propounded by defendant and
                        05/08/17   Bloom, Justin                                                                            0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      correspondence internally with Plaintiffs team
                                                      Review of City of St. Petersbug's Notice of Service and Answers
                        05/08/17   Bloom, Justin                                                                            0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      to Plaintiffs' Second Interrogatories.
                        05/08/17   Bloom, Justin      Review production of 3rd set of documents from Def.                   0.33         0.33     $ 385     0.00      $        150     $       128.33
                        05/15/17   Bloom, Justin      Call with Fred Evenson re: Bolves withdrawal and RFAs/                0.12         0.12     $ 385     0.00      $        150     $        44.92
                        05/15/17   Bloom, Justin      Call with Tom Christ re: doc review                                   0.12         0.12     $ 385     0.00      $        150     $        44.92
                        05/15/17   Bloom, Justin      Email to Brian Bolves re: withdrawal of motion to dismiss             0.05         0.05     $ 385     0.00      $        150     $        19.25
                                                      Call with Chris Sproul, Molly Coyne, and for part of call Fred
                                                      Evenson to discuss assessment of sewage collection system
                        05/16/17   Bloom, Justin      condition assessment, capital improvement planning, causes of         0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      sewage spills, and remedies for wet weather and dry weather
                                                      related spills.
                                                      St. Petersburg: Call with Chris Sproul, Fred Evenson, Molly
                        05/16/17   Bloom, Justin      Coyne, Tom Christ to discuss plan for reviewing documents             1.10         1.10     $ 385     0.00      $        150     $       423.50
                                                      received in response to RFPs.
                                                      Emails with Chris Sproul, Molly Coyne, Fred Evenson re: Bolvis
                        05/16/17   Bloom, Justin                                                                            0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      response to discovery questions and potential stipulation
                        05/22/17   Bloom, Justin      Review draft Stipulation to send to Brian Bolvis                      0.08         0.08     $ 385     0.00      $        150     $        32.08
                        05/26/17   Bloom, Justin      Draft stipulation for mediator, communicate with Def., file           0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                                    Suncoast Waterkeeper
                                               Case 8:16-cv-03319-JDW-AEP     Documentet211-6
                                                                                         al. v. City of St.04/03/19
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                                                                                          Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                         Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                          Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                           Time     Rate      Time
                                                                                                                             383.84      335.17              48.67                       $   136,341.59
                        05/26/17   Bloom, Justin      Email to Grilli regarding mediation in Saint Pete litigation.           0.08         0.08     $ 385    0.00       $        150     $        32.08
                        05/30/17   Bloom, Justin      Call with Chris Sproul re: stipulation                                  0.03         0.03     $ 385    0.00       $        150     $        12.83
                                                      Call with Chris Sproul and Fred Evenson re: mediation
                        05/30/17   Bloom, Justin                                                                              0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      stipulation, 30b6 subpoena to DEP, discovery stipulation
                        05/30/17   Bloom, Justin      Call to Debbie Cantwell, Bolves assistant re: mediator stipulation      0.08         0.00     $ 385     0.08      $        150     $        12.50
                                                      Communications with Def. re: mediation stipulation, emails to
                        05/30/17   Bloom, Justin                                                                              0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      Chris Sproul and Fred Evenson
                        05/30/17   Bloom, Justin      Draft unilateral notice of agreement on mediator                        0.20         0.20     $ 385     0.00      $        150     $        77.00
                                                      Email to defense re: mediation stip and intent to file unilateral
                        05/30/17   Bloom, Justin                                                                              0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      notice
                        05/30/17   Bloom, Justin      file stipulation re: mediator                                           0.08         0.00     $ 385     0.08      $        150     $        12.50
                                                      Email discussion re: error by Def. in failing to answer 2nd am
                        06/07/17   Bloom, Justin                                                                              0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      complaint.
                        06/07/17   Bloom, Justin      receipt and review of production - 4th Production Set.                  0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Draft and send letter re: potential default - 2nd amended
                        06/09/17   Bloom, Justin                                                                              0.17         0.17     $ 385     0.00      $        150     $        64.17
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                                                      complaint
                                                      Emails with Brian Bolves re: motion for leave to file answer out
                        06/09/17   Bloom, Justin                                                                              0.07         0.07     $ 385     0.00      $        150     $        25.67
                                                      of time
                                                      Review PACER and communications with Plaintiffs team re:
                        06/12/17   Bloom, Justin                                                                              0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      entry of 2nd amended complaint and Def. Motion for Extension
                        06/14/17   Bloom, Justin      Draft Sunshine Request for to DEP re: consent order                     0.33         0.33     $ 385     0.00      $        150     $       128.33
                        06/15/17   Bloom, Justin      Edit and send Sunshine Request for to DEP re: consent order             0.33         0.33     $ 385     0.00      $        150     $       128.33
                        06/15/17   Bloom, Justin      Email to Andy Hayslip, Beaman, Eckerd re: Ms4 sampling                  0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Emails with Caldwell (Bolves' assistant) re: filing/docket 2nd
                        06/15/17   Bloom, Justin                                                                              0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      amended complaint
                                                      correspondence re: stormwater sampling with Tampa Bay
                        06/22/17   Bloom, Justin                                                                              0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      Waterkeeper and Annie Beaman, labs
                        06/26/17   Bloom, Justin      correspondence re: delay of trial                                       0.08         0.08     $ 385     0.00      $        150     $        32.08
                        06/28/17   Bloom, Justin      dep correspondence re: sunshine request                                 0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      correspondence re: stormwater sampling with Tampa Bay
                        06/29/17   Bloom, Justin                                                                              0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      Waterkeeper and Annie Beaman
                        07/02/17   Bloom, Justin      correspondence re: sampling MS4                                         0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      Review corresp btw Chris Sproul and Molly Coyne re: timelines
                        07/02/17   Bloom, Justin      for Motions to Strike and discussion of testifying expert/special       0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      master.
                        07/02/17   Bloom, Justin      Review correspondence re: trial schedule                                0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      Review of media articles, correspondence, 3rd Set of RFPs -
                        07/17/17   Bloom, Justin                                                                              0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      relating to 7/17 spill
                                                      Review of FDEP correspondence re: sunshine request -
                        07/20/17   Bloom, Justin                                                                              0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      production
                                                                    Suncoast Waterkeeper
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                                                                                         al. v. City of St.04/03/19
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                                                                                         Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                         Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                          Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                           Time     Rate      Time
                                                                                                                             383.84      335.17              48.67                       $   136,341.59
                                                      Emails with Sproul, Coyne, Evenson re: requesting admin
                        07/21/17   Bloom, Justin                                                                              0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      hearing on Consent Order
                                                      Review emails and draft of Consent Order and communications
                        07/21/17   Bloom, Justin                                                                              0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      between DEP and City re: negotiating changes to Order
                        07/24/17   Bloom, Justin      Email DEP and City for executed copy of Consent Order                   0.08         0.00     $ 385     0.08      $        150     $        12.50
                                                      Call with Chris Sproul and Fred Evenson to discuss review of St.
                                                      Petersburg discovery responses, additional request for
                                                      admission to St. Petersburg and potential request that St.
                        07/26/17   Bloom, Justin                                                                              0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      Petersburg stipulate to facts concerning sewage spills reaching
                                                      waters of the United States, development of motion for summary
                                                      judgment, discovery schedule planning.
                        07/31/17   Bloom, Justin      receive and share discovery files via FTP site                          0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      Emails with Plaintiffs team re expert reports/disclosures, stip to
                        08/01/17   Bloom, Justin                                                                              0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      extend
                        08/08/17   Bloom, Justin      Emails re: Plaintiffs MSJ                                               0.17         0.17     $ 385     0.00      $        150     $        64.17
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                                                      post-conference call with Fred Evenson - discuss trial schedule
                        08/09/17   Bloom, Justin                                                                              0.10         0.10     $ 385     0.00      $        150     $        38.50
                                                      and mediation
                                                      Email to Fred Evenson in advance of strategy call, incuding
                        08/09/17   Bloom, Justin                                                                              0.03         0.03     $ 385     0.00      $        150     $        12.83
                                                      CMOs and CMRs to review.
                        08/09/17   Bloom, Justin      Review MSJ                                                              0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      St. Petersburg SSO: Call with Fred Evenson and Molly Coyne re
                        08/09/17   Bloom, Justin                                                                              0.78         0.78     $ 385     0.00      $        150     $       301.58
                                                      edits to St. Petersburg MSJ on liability
                                                      Emails with Fred Evenson and Brian Bolvis re: case
                        08/12/17   Bloom, Justin                                                                              0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      management and MSJ
                        08/12/17   Bloom, Justin      reivew and edit MSJ                                                     1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                      Email correspondence with Brian Bolves re: phone conf this
                        08/14/17   Bloom, Justin                                                                              0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      week.
                                                      Email to Plaintiff team re: MSJ, Local Rule requirements,
                        08/14/17   Bloom, Justin                                                                              0.08         0.00     $ 385     0.08      $        150     $        12.50
                                                      respond to Evenson Email re: filing
                        08/14/17   Bloom, Justin      Review and respond to Sproul email re: meet and confer & MSJ            0.08         0.08     $ 385     0.00      $        150     $        32.08
                        08/15/17   Bloom, Justin      Review and edit MSJ                                                     0.50         0.50     $ 385     0.00      $        150     $       192.50
                        08/15/17   Bloom, Justin      schedule call with Brian Bolvis                                         0.05         0.00     $ 385     0.05      $        150     $         7.50
                        08/16/17   Bloom, Justin      Call with Fred Evenson re: mediation, MSJ, Joint Motion.                0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Conference Call with Fred Evenson re: mediation, case
                        08/16/17   Bloom, Justin                                                                              0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      management and scheduling
                                                      Draft JOINT MOTION FOR ENTRY OF STIPULATED ORDER
                        08/16/17   Bloom, Justin      MODIFYING CASE MANAGEMENT AND SCHEDULING                                0.75         0.75     $ 385     0.00      $        150     $       288.75
                                                      ORDER
                                                      Emails with Evenson and Coyne, edit and send proposed Joint
                        08/16/17   Bloom, Justin                                                                              0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      Motion to Bolves
                        08/16/17   Bloom, Justin      Follow-up call with Fred Evenson re: mediation                          0.58         0.58     $ 385     0.00      $        150     $       224.58
                                                                    Suncoast Waterkeeper
                                               Case 8:16-cv-03319-JDW-AEP     Documentet211-6
                                                                                         al. v. City of St.04/03/19
                                                                                                  Filed     PetersburgPage 23 of 156 PageID 5235
                                                                                        Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                      Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                       Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                        Time     Rate      Time
                                                                                                                          383.84      335.17              48.67                       $   136,341.59
                                                      Research alternate mediators, email mediators, Evenson,
                        08/16/17   Bloom, Justin                                                                           0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      Bolves.
                                                      Call with potential mediator Clark, Calls to other lawyers re:
                        08/17/17   Bloom, Justin                                                                           0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      mediators
                                                      Email with Evenson and Coyne re: finality of Consent Order, for
                        08/17/17   Bloom, Justin                                                                           0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      MSJ
                                                      Review and research "comfort letter" from EPA and consent
                        08/17/17   Bloom, Justin                                                                           0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      order.
                        08/18/17   Bloom, Justin      Emails with Evenson, Sproul and Bolves re: mediation                 0.17         0.17     $ 385     0.00      $        150     $        64.17
                        08/19/17   Bloom, Justin      Review mootness materials, reasearch msj                             0.33         0.33     $ 385     0.00      $        150     $       128.33
                        08/21/17   Bloom, Justin      Edit and file Joint Motion to Modify CMO                             0.25         0.25     $ 385     0.00      $        150     $        96.25
                        08/21/17   Bloom, Justin      Edit Joint Motion draft, email to Bolves.                            0.08         0.08     $ 385     0.00      $        150     $        32.08
                        08/21/17   Bloom, Justin      Emails re: Joint Motion draft                                        0.17         0.17     $ 385     0.00      $        150     $        64.17
                        08/22/17   Bloom, Justin      Email Atty Bolves re: mediation                                      0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      Research and draft Subpoenas for Deposition to DEP
                        08/22/17   Bloom, Justin                                                                           1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                      employees, email Atty Kirk White, DEP,
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                        08/22/17   Bloom, Justin      Research FL Consent Orders and email to Molly Coyne                  0.50         0.50     $ 385     0.00      $        150     $       192.50
                        08/22/17   Bloom, Justin      Review Order re: Case Mgmt., email Plaintiffs                        0.17         0.17     $ 385     0.00      $        150     $        64.17
                        08/23/17   Bloom, Justin      Email to Bolves re: mediation scheduling                             0.05         0.00     $ 385     0.05      $        150     $         7.50
                        08/23/17   Bloom, Justin      Emails to Pamela Hatley re: mediation                                0.03         0.00     $ 385     0.03      $        150     $         5.00
                        08/24/17   Bloom, Justin      correspondence with potential mediators, Evenson, Bolves.            0.17         0.17     $ 385     0.00      $        150     $        64.17
                        08/24/17   Bloom, Justin      Email to Kirk White DEP re: depositions                              0.05         0.00     $ 385     0.05      $        150     $         7.50
                        08/24/17   Bloom, Justin      Emails with potential mediators, scheduling                          0.08         0.08     $ 385     0.00      $        150     $        32.08
                        08/25/17   Bloom, Justin      Finalize mediation dates, emails btw all parties and mediators       0.42         0.42     $ 385     0.00      $        150     $       160.42
                        08/30/17   Bloom, Justin      Emails with John Wilcox, Mediator about schedule                     0.07         0.00     $ 385     0.07      $        150     $        10.00
                                                      Email correspondence with Brian Bolves re continuing MSJ
                        09/05/17   Bloom, Justin                                                                           0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      hearing, discussion with plaintiffs team, response to Bolves

                        09/12/17   Bloom, Justin      Draft Joint Motion for Continuance of Oral Argument on MSJ           0.50         0.50     $ 385     0.00      $        150     $       192.50
                        09/12/17   Bloom, Justin      Emails to Mediator Wilcox                                            0.08         0.08     $ 385     0.00      $        150     $        32.08
                        09/12/17   Bloom, Justin      File Joint Motion                                                    0.17         0.00     $ 385     0.17      $        150     $        25.00
                                                      meet with Fred Evenson, Jennifer Rubielo, Annie Beamon, Andy
                        09/19/17   Bloom, Justin                                                                           0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      Hayslip re: St. Pete sewage
                        09/22/17   Bloom, Justin      Call with Fred Evenson re: mediation                                 0.25         0.25     $ 385     0.00      $        150     $        96.25
                        09/22/17   Bloom, Justin      Emails with Mediator Wilcox                                          0.17         0.17     $ 385     0.00      $        150     $        64.17
                        09/25/17   Bloom, Justin      Emails to Annie Beamon re; contact with St. Pete                     0.12         0.12     $ 385     0.00      $        150     $        44.92
                        09/25/17   Bloom, Justin      Emails with Def. Counsel re: mediation                               0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      Prep for mediation, emails with Tom Christ, Andy Hayslip, Fred
                        09/26/17   Bloom, Justin                                                                           1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                      Evenson, Mediator
                                                                    Suncoast Waterkeeper
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                                                                                         Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                        Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                         Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                          Time     Rate      Time
                                                                                                                            383.84      335.17              48.67                       $   136,341.59
                        09/29/17   Bloom, Justin      Call with Chris Sproul re: reviewing and filing MSJ                    0.05         0.00     $ 385    0.05       $        150     $         7.50
                        09/29/17   Bloom, Justin      Call with Molly Coyne, Chris Sproul re filing MSJ, MSJ exhibits.       0.17         0.00     $ 385     0.17      $        150     $        25.00
                                                      (2 separate calls) calls with Molly Coyne re filing MSJ, MSJ
                        09/29/17   Bloom, Justin                                                                             0.18         0.00     $ 385     0.18      $        150     $        27.50
                                                      exhibits.
                        09/29/17   Bloom, Justin      Edit and file MSJ and Declaration of Coyne                             1.17         1.17     $ 385     0.00      $        150     $       449.17
                        10/03/17   Bloom, Justin      Call with Fred Evenson re; Motion to Dismiss, Motion to Stay           0.17         0.17     $ 385     0.00      $        150     $        64.17
                        10/03/17   Bloom, Justin      Review motion to stay and declaration/exhibits                         0.33         0.33     $ 385     0.00      $        150     $       128.33
                        10/04/17   Bloom, Justin      Review mediation report and contract                                   0.83         0.83     $ 385     0.00      $        150     $       320.83
                        10/13/17   Bloom, Justin      Email to def. requesting no oppostion to telephonic appearance         0.05         0.00     $ 385     0.05      $        150     $         7.50
                        10/13/17   Bloom, Justin      Draft and file motion to appear telephonicaly                          0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      Review pacer/ecf to determine if necessary to file notice of
                        10/13/17   Bloom, Justin                                                                             0.33         0.00     $ 385     0.33      $        150     $        50.00
                                                      opposition to transfer/consolidate, email to PL team
                                                      set up telephonic appearance, calls to courtroom deputy,
                        10/18/17   Bloom, Justin                                                                             0.33         0.33     $ 385     0.00      $        150     $       128.33
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                                                      chambers, Sproul, Evenson
                        10/23/17   Bloom, Justin      Email Def. re: depositions                                             0.08         0.00     $ 385     0.08      $        150     $        12.50
                        10/25/17   Bloom, Justin      Attend Mediation - 2 hrs travel, 6 hours mediation                     8.00         6.00     $ 385     2.00      $        150     $     2,610.00
                                                      Review mediation bill and agreement, email Evenson and
                        10/25/17   Bloom, Justin                                                                             0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      Sproul
                                                      Call with Fred Evenson re: injection well and other releases post
                        10/26/17   Bloom, Justin                                                                             0.20         0.20     $ 385     0.00      $        150     $        77.00
                                                      notice letter, depositions.
                        10/26/17   Bloom, Justin      Email to Bolves re: deposition notices                                 0.05         0.00     $ 385     0.05      $        150     $         7.50
                        10/31/17   Bloom, Justin      Review Def Motion for supp auth.                                       0.25         0.25     $ 385     0.00      $        150     $        96.25
                        11/01/17   Bloom, Justin      Review and file Motion for leave to include suppl auth                 0.33         0.33     $ 385     0.00      $        150     $       128.33
                        11/13/17   Bloom, Justin      Edit and file motion to strike                                         0.50         0.50     $ 385     0.00      $        150     $       192.50
                        11/13/17   Bloom, Justin      Edit and file opposition to MSJ and declaration                        1.67         1.67     $ 385     0.00      $        150     $       641.67
                                                      correspondence with Brian Bolves re: further briefing on St.
                        11/17/17   Bloom, Justin                                                                             0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Pete's MPSJ
                                                      Communications w/ Bolves and Plaintiffs re: amendment to
                        11/20/17   Bloom, Justin                                                                             0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      CMO.
                        11/27/17   Bloom, Justin      Email to Bolves et al re: depositions                                  0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      Review and edit Opposition to St. Pete's Request to Amend
                        11/27/17   Bloom, Justin                                                                             0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      Case Management Order
                        11/28/17   Bloom, Justin      Call with Tom Christ re: expert report                                 0.67         0.67     $ 385     0.00      $        150     $       256.67
                        11/30/17   Bloom, Justin      Communications with expert re: draft report                            0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      schedule depositions and draft/send notice for Cravens and
                        12/04/17   Bloom, Justin                                                                             0.75         0.75     $ 385     0.00      $        150     $       288.75
                                                      Askew.
                                                      Call with Fred Evenson re: depositions in preparation for
                        12/12/17   Bloom, Justin                                                                             0.12         0.12     $ 385     0.00      $        150     $        44.92
                                                      depositions of Askew and Tankersley
                        12/14/17   Bloom, Justin      Prep for Tankersley Depo in support of deposing attorney.              2.00         2.00     $ 385     0.00      $        150     $       770.00
                                                                    Suncoast Waterkeeper
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                                                                                        Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                       Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                        Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                         Time     Rate      Time
                                                                                                                           383.84      335.17              48.67                       $   136,341.59
                        12/18/17   Bloom, Justin      Assist in preparation and review non-expert witness disclosures       0.33         0.33     $ 385     0.00      $        150     $       128.33

                        12/19/17   Bloom, Justin      Call with court reporter Re: tankersley and askew and emails          0.17         0.00     $ 385     0.17      $        150     $        25.00
                        12/19/17   Bloom, Justin      Review Motion to Dismiss 2nd Am Complaint                             0.50         0.50     $ 385     0.00      $        150     $       192.50
                        12/27/17   Bloom, Justin      Emails with Evenson re: depositions                                   0.17         0.17     $ 385     0.00      $        150     $        64.17
                        01/08/18   Bloom, Justin      Emails with Tom Christ, Evenson re: expert report                     0.33         0.33     $ 385     0.00      $        150     $       128.33
                        01/09/18   Bloom, Justin      Review emails, research for expert report                             0.50         0.50     $ 385     0.00      $        150     $       192.50
                        01/10/18   Bloom, Justin      conf. call re: expert report, Evenson, Coyne, Christ.                 0.67         0.67     $ 385     0.00      $        150     $       256.67
                        01/10/18   Bloom, Justin      Review materials, share with expert, prep for call                    0.50         0.50     $ 385     0.00      $        150     $       192.50
                        01/10/18   Bloom, Justin      Review orders re: MSJ                                                 0.17         0.17     $ 385     0.00      $        150     $        64.17
                        01/11/18   Bloom, Justin      file Joint Motion and email to Bolves                                 0.25         0.00     $ 385     0.25      $        150     $        37.50
                                                      Emails with Bolves, Evenson re Stipulating to extend deadline in
                        01/11/18   Bloom, Justin                                                                            0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      CMO for Expert Reports
                        01/15/18   Bloom, Justin      Emails re: DEP investigations.                                        0.17         0.17     $ 385     0.00      $        150     $        64.17
                        01/16/18   Bloom, Justin      Emails re: supplemental authority for MSJ                             0.25         0.25     $ 385     0.00      $        150     $        96.25
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                                                      Review depositions of Tankersley and Askew, assist in
                        01/18/18   Bloom, Justin                                                                            2.50         2.50     $ 385     0.00      $        150     $       962.50
                                                      preparing supplement.
                        01/19/18   Bloom, Justin      Assist Fred Evenson in supplemental evidence                          0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      Edit motion for supplemental authority, calls with Sproul and
                        01/19/18   Bloom, Justin                                                                            0.75         0.75     $ 385     0.00      $        150     $       288.75
                                                      Evenson
                        01/19/18   Bloom, Justin      Review and analysis of order on MSJ, team communications              1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                      Call with Fred Evenson to discuss filing Request to Submit New
                        01/22/18   Bloom, Justin                                                                            0.17         0.17     $ 385     0.00      $        150     $        65.45
                                                      Evidence
                                                      Edit and file motion for leave to supplement msj, call with
                        01/22/18   Bloom, Justin                                                                            0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      Evenson
                                                      Communications with Frago, edit motion for supplemental
                        01/22/18   Bloom, Justin                                                                            0.75         0.75     $ 385     0.00      $        150     $       288.75
                                                      evidence, emails to team re: article and admission of City.
                        01/23/18   Bloom, Justin      discovery emails - depo scheduling                                    0.33         0.00     $ 385     0.33      $        150     $        50.00
                        01/24/18   Bloom, Justin      re-submit public records requ                                         0.08         0.08     $ 385     0.00      $        150     $        32.08
                        01/24/18   Bloom, Justin      Draft and send letter to Bolves to schedule depos in Feb.             0.50         0.50     $ 385     0.00      $        150     $       192.50
                        01/25/18   Bloom, Justin      Call with FWC re: investigation records                               0.08         0.00     $ 385     0.08      $        150     $        12.50
                        01/25/18   Bloom, Justin      Review of Tankersely errata                                           0.17         0.00     $ 385     0.17      $        150     $        25.00
                        01/26/18   Bloom, Justin      receipt and review of FWC response to sunshine req.                   0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Review tankersley depo and request CH2M Hill reports etc from
                        01/26/18   Bloom, Justin                                                                            0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      Def.
                        01/29/18   Bloom, Justin      Communications with PL team re: St. Pete Depos                        0.17         0.00     $ 385     0.17      $        150     $        25.00
                                                      Review emails re: depositions, call with Fred Evenson re:
                        01/30/18   Bloom, Justin                                                                            0.75         0.75     $ 385     0.00      $        150     $       288.75
                                                      discovery - depos(6min), email Bolves re: depositions
                        01/31/18   Bloom, Justin      Review and edit deposition letter to bolves                           0.17         0.17     $ 385     0.00      $        150     $        64.17
                        01/31/18   Bloom, Justin      Emails w/ plaintiffs re Depositions and document discovery            0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                                    Suncoast Waterkeeper
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                                                                                                                                         Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                          Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                           Time     Rate      Time
                                                                                                                             383.84      335.17              48.67                       $   136,341.59
                        02/01/18   Bloom, Justin      Calls with Molly Coyne re drafting subpoenas to consultants             0.10         0.10     $ 385     0.00      $        150     $        38.50
                        02/01/18   Bloom, Justin      Review deposition correspondence w bolves                               0.25         0.25     $ 385     0.00      $        150     $        96.25
                        02/01/18   Bloom, Justin      Edit and serve 4th RFPs                                                 0.50         0.50     $ 385     0.00      $        150     $       192.50
                        02/01/18   Bloom, Justin      Edit and issue - send for svc subpoenas                                 0.75         0.75     $ 385     0.00      $        150     $       288.75
                                                      Research subpoena service per diem issue, comunicate with
                        02/02/18   Bloom, Justin                                                                              0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      process server
                                                      Finalize subpoenas for production and depo,send to server and
                        02/02/18   Bloom, Justin                                                                              0.75         0.00     $ 385     0.75      $        150     $       112.50
                                                      notice Def.
                                                      Edit and prepare Reiss Subpoena, communications with service
                        02/04/18   Bloom, Justin                                                                              0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      agent
                        02/04/18   Bloom, Justin      Edit and send draft Joint Motion to Bolves - for CMO                    0.33         0.33     $ 385     0.00      $        150     $       128.33
                        02/05/18   Bloom, Justin      sunshine request to DEP Review with Molly                               0.17         0.17     $ 385     0.00      $        150     $        64.17
                        02/06/18   Bloom, Justin      Finalize and file joint motion for modification of CMO                  0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      service of CH2M Hill - via Plantation. Re-send to 2nd service
                        02/06/18   Bloom, Justin                                                                              0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      agent, admin etc.
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                        02/07/18   Bloom, Justin      pay subpoenas, email to team re: calendar                               0.25         0.00     $ 385     0.25      $        150     $        37.50
                        02/07/18   Bloom, Justin      discussion and interview with USF documentary group                     3.00         3.00     $ 385     0.00      $        150     $     1,155.00
                        02/08/18   Bloom, Justin      Communications re additional subpoenas                                  0.25         0.25     $ 385     0.00      $        150     $        96.25
                        02/13/18   Bloom, Justin      Communications re sunshine request w/ DEP                               0.25         0.25     $ 385     0.00      $        150     $        96.25
                        02/13/18   Bloom, Justin      Deposition scheduling corresp                                           0.25         0.00     $ 385     0.25      $        150     $        37.50
                        02/14/18   Bloom, Justin      Emails with DEP re: deposition logistics                                0.17         0.00     $ 385     0.17      $        150     $        25.00
                        02/14/18   Bloom, Justin      coordinate deposition service of subpoena                               0.25         0.00     $ 385     0.25      $        150     $        37.50
                        02/14/18   Bloom, Justin      Draft and send waiver of service to DEP, emails with Kirk White         0.50         0.00     $ 385     0.50      $        150     $        75.00
                                                      St. Petersburg: call with Kaki Schmidt, Molly Coyne, Fred
                                                      Evenson, Tom Christ (for part of call) re documents still needed
                        02/14/18   Bloom, Justin                                                                              1.25         1.25     $ 385     0.00      $        150     $       481.25
                                                      for expert report, preparation for upcoming depositions, potential
                                                      mediation
                        02/15/18   Bloom, Justin      sunshine request correspondence with DEP                                0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Draft declaration, edit highlights in transcripts. re: additional
                        02/16/18   Bloom, Justin                                                                              0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      evidence to court
                                                      response to order on motion for leave to submit additional
                        02/16/18   Bloom, Justin                                                                              1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                      evidence msj
                                                      Final edits and file Declaration in support of opposition to 2nd
                        02/19/18   Bloom, Justin                                                                              0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      msj
                        02/20/18   Bloom, Justin      Communicate with court reporters                                        0.50         0.00     $ 385     0.50      $        150     $        75.00
                        02/20/18   Bloom, Justin      Communications re; depositions and court reporters                      0.50         0.00     $ 385     0.50      $        150     $        75.00
                                                      Deposition communications and correspondence w/ CH2MHill,
                        02/20/18   Bloom, Justin                                                                              1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                      Brown and Caldwell,
                        02/21/18   Bloom, Justin      follow-up call with Kaki Schmidt post conf call w. defense              0.22         0.22     $ 385     0.00      $        150     $        83.42
                                                                    Suncoast Waterkeeper
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                                                                                         al. v. City of St.04/03/19
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                                                                                        Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                       Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                        Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                         Time     Rate      Time
                                                                                                                           383.84      335.17              48.67                       $   136,341.59
                                                      respond to Fred email re: subpoena objections, review service
                        02/21/18   Bloom, Justin                                                                            0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      history
                        02/21/18   Bloom, Justin      Call with Schmidt pre Call to Bolves re: depos                        0.28         0.28     $ 385     0.00      $        150     $       109.08
                        02/21/18   Bloom, Justin      Communications with Duggan re: scheduling depo                        0.33         0.33     $ 385     0.00      $        150     $       128.33
                        02/21/18   Bloom, Justin      Call with Bolves and Schmidt re: depositions                          0.47         0.47     $ 385     0.00      $        150     $       179.67
                                                      Emails re: subpoenas and depositions, error with Brown and
                        02/21/18   Bloom, Justin                                                                            0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      Caldwell service
                                                      Benchmarking request search and public records requests at
                        02/21/18   Bloom, Justin                                                                            0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      request of sewage engineer expert.
                        02/22/18   Bloom, Justin      CH2M Subpoena emails                                                  0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      obtain benchmark rept to provide to expert witness for review in
                        02/22/18   Bloom, Justin                                                                            0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      preparation of expert report.
                                                      phone and email communications re Reiss Engineering
                        02/22/18   Bloom, Justin                                                                            0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      Subpoena
                        02/22/18   Bloom, Justin      Emails re: Brown & Caldwell Subpoena and Motion to COmpel -           0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                                                                                                         0.27                                          $       102.67
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                        02/23/18   Bloom, Justin      Call with Kaki re: 3rd party discovery and staffing                   0.27                  $ 385     0.00      $        150
                                                      Call with Coyne and Reiss Eng. atty re production, pre and
                        02/23/18   Bloom, Justin                                                                            0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      followup with Coyne
                        02/26/18   Bloom, Justin      Review communications with Bolves re Discovery                        0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      Emails with Brown and Caldwell atty re: 3rd party subpoena,
                        02/26/18   Bloom, Justin                                                                            0.42         0.42     $ 385     0.00      $        150     $       160.42
                                                      research
                        02/26/18   Bloom, Justin      case management emails                                                0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      Prep for Yeargan depo, calls with Evenson to assist deposing
                        02/26/18   Bloom, Justin                                                                            0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      lawyer in Preparation for deposition.
                                                      coordinate depositions and subpoenas, confirm DEP depos and
                        02/26/18   Bloom, Justin                                                                            0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      Duggan. admin re: bills for depos
                        02/26/18   Bloom, Justin      Emails and calls with Atty for CH2M re: 3rd party subpoena            0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      coordinate depos, emails with DEP, court reporters, clients for
                        02/26/18   Bloom, Justin                                                                            1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                      admin,
                        02/28/18   Bloom, Justin      Research injection well issues                                        0.75         0.75     $ 385     0.00      $        150     $       288.75
                                                      3rd Party Subpoenas - Reiss and Ch2, emails and research re
                        02/28/18   Bloom, Justin                                                                            1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                      Compel
                                                      Deposition scheduling, correspondence with Reporter, Caldwell,
                        03/02/18   Bloom, Justin                                                                            1.00         0.00     $ 385     1.00      $        150     $       150.00
                                                      Kaki on issue of Notice
                        03/04/18   Bloom, Justin      Research experts for Harm and exfiltration issues.                    0.80         0.80     $ 385     0.00      $        150     $       308.00
                        03/13/18   Bloom, Justin      Emails re: Brown & Caldwell Subpoena and docs                         0.08         0.08     $ 385     0.00      $        150     $        32.08
                        03/13/18   Bloom, Justin      Call with Kaki Schmidt re: CH2M Hill                                  0.17         0.17     $ 385     0.00      $        150     $        64.17
                        03/13/18   Bloom, Justin      3rd Party - Kerkering communications and review of production         0.67         0.67     $ 385     0.00      $        150     $       256.67

                        03/13/18   Bloom, Justin      3rd Party - CH2MHill communications and review of production          1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                                    Suncoast Waterkeeper
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                                                                                                                                      Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                       Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                        Time     Rate      Time
                                                                                                                          383.84      335.17              48.67                       $   136,341.59
                                                      Call with evenson and filing Motion for leave to submit
                        03/14/18   Bloom, Justin                                                                           0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      declaration
                                                      Research monitoring and sampling - contact firms and potential
                        03/14/18   Bloom, Justin                                                                           0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      samplers
                        03/15/18   Bloom, Justin      Emails re: deposing Mayor                                            0.33         0.33     $ 385     0.00      $        150     $       128.33
                        03/15/18   Bloom, Justin      Review interrogatories                                               0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      Call with Axys Analytical, Andy Hayslip, Evanson re:
                        03/15/18   Bloom, Justin                                                                           2.00         2.00     $ 385     0.00      $        150     $       770.00
                                                      monitoring/testing
                        03/16/18   Bloom, Justin      Emails re: case mgmt                                                 0.50         0.50     $ 385     0.00      $        150     $       192.50
                        03/19/18   Bloom, Justin      Communications re: Bolves meeting/call on Wed.                       0.17         0.17     $ 385     0.00      $        150     $        64.17
                        03/19/18   Bloom, Justin      Call with annie beamon, look for experts                             0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      Emails w/ bolves and Kaki Schmidt, Fred evenson re:
                        03/19/18   Bloom, Justin                                                                           0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      documents to be provided and stipulation
                        03/19/18   Bloom, Justin      Review and communications re: response to interrogs                  0.50         0.50     $ 385     0.00      $        150     $       192.50
                        03/20/18   Bloom, Justin      Email re: kerkering3rd party production deficiency                   0.17         0.17     $ 385     0.00      $        150     $        64.17
                        03/20/18   Bloom, Justin      Research and review information on sludge and biosolids              0.67         0.67     $ 385     0.00      $        150     $       256.67
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                                                      conf call - case management with Def. and PL - stipulations,
                        03/21/18   Bloom, Justin                                                                           1.08         1.08     $ 385     0.00      $        150     $       417.08
                                                      discovery,
                                                      Call with Fred Evenson re: order on filing additional info, GIS
                        03/22/18   Bloom, Justin                                                                           0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      files, case management
                        03/22/18   Bloom, Justin      Call with Kaki and Annie Beamon re: harm witnesses                   0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      Communications with Hayslip re: research GIS files, locate
                        03/22/18   Bloom, Justin                                                                           0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      experts, investigate NE Plant
                        03/22/18   Bloom, Justin      Review and investigate fact and expert witnesses on harm             0.50         0.50     $ 385     0.00      $        150     $       192.50
                        03/23/18   Bloom, Justin      Draft sunshine request to City                                       0.67         0.67     $ 385     0.00      $        150     $       256.67
                        03/26/18   Bloom, Justin      Communication and corresp review re: 3rd Party production            0.25         0.25     $ 385     0.00      $        150     $        96.25
                        03/26/18   Bloom, Justin      communciations re 3rd party producion and depos                      0.67         0.67     $ 385     0.00      $        150     $       256.67
                        03/26/18   Bloom, Justin      Draft MS4 sunshine request                                           0.67         0.67     $ 385     0.00      $        150     $       256.67
                        03/26/18   Bloom, Justin      Review emails for production to def                                  2.00         2.00     $ 385     0.00      $        150     $       770.00
                        04/03/18   Bloom, Justin      3rd Party - CH2MHill communications                                  0.25         0.25     $ 385     0.00      $        150     $        96.25
                        04/03/18   Bloom, Justin      Final edit and file Joint Motion re: CMO                             0.33         0.33     $ 385     0.00      $        150     $       128.33
                        04/03/18   Bloom, Justin      Research samplers - outreach, Curt Dixon, Pam Fetterman              0.58         0.58     $ 385     0.00      $        150     $       224.58
                                                      Call with Fred Evenson re: investigation, comment at council
                        04/04/18   Bloom, Justin                                                                           0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      mtg, sampling
                        04/04/18   Bloom, Justin      investigation - set up drone and volunteers                          0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      Review and edit April 9 letter to City following from Council
                        04/08/18   Bloom, Justin                                                                           0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      meeting
                                                      investigation of NE Plant with evenson and videographer, travel
                        04/09/18   Bloom, Justin                                                                           4.50         2.50     $ 385     2.00      $        150     $     1,262.50
                                                      1/2 time
                        04/09/18   Bloom, Justin      plan investigation of NE Plant                                       0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                                    Suncoast Waterkeeper
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                                                                                                                                       Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                        Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                         Time     Rate      Time
                                                                                                                           383.84      335.17              48.67                       $   136,341.59
                                                      Edit and create attachment for letter to City to discuss
                        04/09/18   Bloom, Justin                                                                            0.75         0.75     $ 385     0.00      $        150     $       288.75
                                                      settlement.
                        04/10/18   Bloom, Justin      Settlement emails w def counsel                                       0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      Call with Schmidt re: discovery, settlement, fact witnesses,
                        04/10/18   Bloom, Justin                                                                            0.40         0.40     $ 385     0.00      $        150     $       154.00
                                                      funding
                        04/10/18   Bloom, Justin      Discovery communications                                              0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      Call with Sproul and Schmidt re: concerning email response of
                                                      St. Petersburg to Plaintiffs‰Ûª settlement letter, requesting
                        04/10/18   Bloom, Justin                                                                            0.62         0.62     $ 385     0.00      $        150     $       237.42
                                                      attorney fee figures, and Florida rules concerning acceptability
                                                      of contacting elected officials.
                        04/10/18   Bloom, Justin      Final edits and transmission of settlement letter to City             0.67         0.67     $ 385     0.00      $        150     $       256.67
                        04/11/18   Bloom, Justin      Call with Tom Christ update                                           0.30         0.30     $ 385     0.00      $        150     $       115.50
                                                      Work on assembling attorney fees info for purposes of potential
                        04/11/18   Bloom, Justin                                                                            0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      settlement discussions.
                        04/11/18   Bloom, Justin      production to Def.                                                    0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      Assist with investigation, Google Earth and stormwater/sewage
                        04/13/18   Bloom, Justin                                                                            0.25         0.25     $ 385     0.00      $        150     $        96.25
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                                                      overlay file research
                                                      Review Plaintiffs production with client and transmit to Kaki
                        04/13/18   Bloom, Justin                                                                            0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      Schmidt
                                                      correct filing of supplement to MPSJ - email counsel explaining
                        04/14/18   Bloom, Justin                                                                            0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      correction
                                                      Call with Ed Sherwood, Tampa Bay Estuary Program re: SEP
                        04/16/18   Bloom, Justin                                                                            0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      projects
                                                      Call with Chris Sproul and Kaki Schmidt re: settlement and case
                        04/16/18   Bloom, Justin                                                                            0.27         0.27     $ 385     0.00      $        150     $       102.67
                                                      management
                        04/16/18   Bloom, Justin      Communications re: settlement, fees/costs/SEP                         0.33         0.33     $ 385     0.00      $        150     $       128.33
                        04/16/18   Bloom, Justin      Emails re: 3rd party motion to compel                                 0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      outreach to Mike Deeson, reporter for fact witnesses and
                        04/16/18   Bloom, Justin                                                                            0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      evidence
                        04/17/18   Bloom, Justin      expert witness communications re: economic expert retension           0.25         0.25     $ 385     0.00      $        150     $        96.25
                        04/17/18   Bloom, Justin      create spreadsheet for lodestar - emails with all attorneys           0.50         0.00     $ 385     0.50      $        150     $        75.00
                        04/17/18   Bloom, Justin      Review materials and GIS, send to Tom Christ expert                   0.50         0.50     $ 385     0.00      $        150     $       192.50
                        04/17/18   Bloom, Justin      Communications with K. Schmidt re: settlement position                0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      Call with Deeson and follow-up email communications regarding
                        04/17/18   Bloom, Justin                                                                            1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                      his witnessing and video recordings of spill events.
                                                      Review econ expert retainer, communications re: retention, sign
                        04/18/18   Bloom, Justin                                                                            0.42         0.42     $ 385     0.00      $        150     $       160.42
                                                      and circulate
                                                      Call with Chris Sproul and Heather Kryczka to discuss potential
                        04/18/18   Bloom, Justin                                                                            0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      supplemental environmental project costs.
                        04/18/18   Bloom, Justin      Emails with co-counsel re: depo planning                              0.17         0.17     $ 385     0.00      $        150     $        64.17
                        04/18/18   Bloom, Justin      Review draft protective order                                         0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                                    Suncoast Waterkeeper
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                                                                                         al. v. City of St.04/03/19
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                                                                                           Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                           Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                            Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                             Time     Rate      Time
                                                                                                                               383.84      335.17              48.67                       $   136,341.59
                        04/18/18   Bloom, Justin      Prepare cost/fees spreadsheet for settlement purposes.                    0.33         0.00     $ 385    0.33       $        150     $        50.00
                        04/18/18   Bloom, Justin      Review SEP projects in preparation for settlement discussions.            0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      follow-up communications with Tampa Bay Estuary Program re:
                        04/18/18   Bloom, Justin                                                                                0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      SEP
                                                      Review Mike Deeson materials, emails with PL team re: fact
                        04/18/18   Bloom, Justin                                                                                0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      witnesses
                                                      Emails with Tom Christ re: RDII approaches, City of Venice
                        04/19/18   Bloom, Justin                                                                                0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      example
                                                      Communications to connect Andy Hayslip and Tom Christ for
                        04/19/18   Bloom, Justin                                                                                0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      GIS work.
                        04/19/18   Bloom, Justin      Emails with Schmidt and Deeson re: footage and fact witnesses             0.33         0.33     $ 385     0.00      $        150     $       128.33

                                                      Review list of fact witnesses with Schmidt and communications
                        04/19/18   Bloom, Justin                                                                                0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      to-date; status of their willingness to testify at trial.
                        04/20/18   Bloom, Justin      Review plantiffs 1st production and resp to interrogs                     0.50         0.50     $ 385     0.00      $        150     $       192.50
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                                                      Calls with Kaki Schmidt re: Rule 3.01h, Call to Matt Farmer re
                        04/20/18   Bloom, Justin                                                                                0.83         0.00     $ 385     0.83      $        150     $       125.00
                                                      Rule, research local rule
                        04/23/18   Bloom, Justin      CH2MHill production communcations, provide copies                         0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      Review discussion re: following Carpenter's rationale for basin
                        04/23/18   Bloom, Justin                                                                                0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      retension applied to St. Petersburg
                                                      Review of City Council meeting recordings for purposes of
                                                      identifying admissions made by party opponent and other
                        04/23/18   Bloom, Justin      admissible evidence as it relates to the condition of the city's          0.33         0.00     $ 385     0.33      $        150     $        50.00
                                                      wastewater system (past and present) and future plans by City
                                                      re: system as it relates to plaintiffs' claim for injunctive relief.
                        04/23/18   Bloom, Justin      Review corresp re 3rd party production                                    0.42         0.42     $ 385     0.00      $        150     $       160.42
                                                      3rd party subpoena emails with Marnie, provide copies of
                        04/24/18   Bloom, Justin                                                                                0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      subpoenas, discuss authentication
                        04/24/18   Bloom, Justin      document management - 3rd party production                                0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      Call with Kaki Schmidt re: plaintiffs production, research location
                        04/24/18   Bloom, Justin                                                                                0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      of original document
                                                      Call with Kaki and follow-up on Subpoenas with Marni to
                        04/24/18   Bloom, Justin                                                                                0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      authenticate
                        04/25/18   Bloom, Justin      fact witness communications - deeson.                                     0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      3rd party subpoena emails with Marnie, Schmidt, Coyne, provide
                        04/25/18   Bloom, Justin                                                                                0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      copies of subpoenas, discuss authentication
                        04/25/18   Bloom, Justin      Review emails re: rainfall records, research experts                      0.33         0.33     $ 385     0.00      $        150     $       128.33
                        04/25/18   Bloom, Justin      Supplemental production - search documents                                0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      Review Pinellas Co Task force documents and corresp with
                        04/25/18   Bloom, Justin                                                                                0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      County to search for additional documents.
                        04/26/18   Bloom, Justin      Communications with Tom Christ re: GIS                                    0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                                    Suncoast Waterkeeper
                                               Case 8:16-cv-03319-JDW-AEP     Documentet211-6
                                                                                         al. v. City of St.04/03/19
                                                                                                  Filed     PetersburgPage 31 of 156 PageID 5243
                                                                                        Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                     Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                      Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                       Time     Rate      Time
                                                                                                                         383.84      335.17              48.67                       $   136,341.59
                                                      followup emails with expert re Call with Brian Bolves, Paria
                        04/26/18   Bloom, Justin      Heeter, Molly Coyne to meet and confer re outstanding               0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      document production issues.
                                                      Review meet and confer correspondence in advance of phone
                        04/26/18   Bloom, Justin                                                                          0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      conf.
                                                      Call with Brian Bolves, Paria Heeter, Molly Coyne to meet and
                        04/26/18   Bloom, Justin                                                                          0.97         0.97     $ 385     0.00      $        150     $       372.17
                                                      confer re outstanding document production issues.
                        04/27/18   Bloom, Justin      Emails re brown and caldwell production                             0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      Confer Bloom/Schmidt regarding searching for additional
                        04/27/18   Bloom, Justin                                                                          0.30         0.30     $ 385     0.00      $        150     $       115.50
                                                      witnesses, news footage, and status of grant funding.
                        04/29/18   Bloom, Justin      brown and caldwell 3rd party production emails.                     0.17         0.17     $ 385     0.00      $        150     $        64.17
                        04/29/18   Bloom, Justin      Calls with Tom Christ re: GIS, followup emails                      0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      depostion emails - re: mayor Emails with litigation team
                        04/29/18   Bloom, Justin                                                                          0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      regarding the need to take the Deposition of Mayor Kriseman.
                                                      Emails with Beamon and Schmidt re: fact witnesses, calls to
                        04/29/18   Bloom, Justin                                                                          0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      potential witnesses
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                                                      Review Pinellas Co Task force documents and corresp with
                        04/30/18   Bloom, Justin                                                                          0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      County to search for additional documents.
                        04/30/18   Bloom, Justin      3rd party production emails.                                        0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Email comparing notes following up on meet and confer re
                        04/30/18   Bloom, Justin                                                                          0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      production
                        04/30/18   Bloom, Justin      Emails re: expert report - gis access                               0.17         0.17     $ 385     0.00      $        150     $        64.17
                        04/30/18   Bloom, Justin      Emails re: expert report evidence                                   0.33         0.33     $ 385     0.00      $        150     $       128.33
                        04/30/18   Bloom, Justin      Call with Annie Beamon and Kaki Schmidt re: fact witnesses          0.80         0.80     $ 385     0.00      $        150     $       308.00
                        04/30/18   Bloom, Justin      Research and outreach fact witnesses                                1.00         1.00     $ 385     0.00      $        150     $       385.00
                        05/01/18   Bloom, Justin      Communications with sampling/lab contact                            0.17         0.17     $ 385     0.00      $        150     $        64.17
                        05/01/18   Bloom, Justin      Emails re: GIS materials and fact witness aid to expert             0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Call with Mike Deeson - fact witness, notes to group on Fact
                        05/01/18   Bloom, Justin                                                                          0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      witnesses
                        05/01/18   Bloom, Justin      Review 10th Production for CMOM                                     0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      Calls and emails to potential fact witnesses - Young, McClash,
                        05/01/18   Bloom, Justin                                                                          0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      Sullivan
                                                      Address confidentiality issues with team, email A. Hayslip re:
                        05/01/18   Bloom, Justin                                                                          0.75         0.75     $ 385     0.00      $        150     $       288.75
                                                      confid. Modify access in databases to protect GIS
                        05/02/18   Bloom, Justin      3rd party production communications - Brown Caldwell                0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      GIS files correspondence with Coyne and Schmidt, research
                        05/02/18   Bloom, Justin                                                                          0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      database
                        05/02/18   Bloom, Justin      discovery search for schmidt                                        0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      Call with potential expert witness and follow up emails and
                        05/02/18   Bloom, Justin                                                                          0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      research
                        05/03/18   Bloom, Justin      Calls with Tom Christ and Hayslip re: gis                           0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                                    Suncoast Waterkeeper
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                                                                                         al. v. City of St.04/03/19
                                                                                                  Filed     PetersburgPage 32 of 156 PageID 5244
                                                                                        Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                        Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                         Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                          Time     Rate      Time
                                                                                                                            383.84      335.17              48.67                       $   136,341.59
                        05/03/18   Bloom, Justin      Call with Schmidt, Tom Christ, Andy Hayslip re: GIS files              0.30         0.30     $ 385    0.00       $        150     $       115.50
                                                      contact fact witnesses to determine the extent of their witnesses
                        05/03/18   Bloom, Justin                                                                             0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      spills, harm caused, and willingness to testify at trial.
                        05/04/18   Bloom, Justin      Call with Fred Evenson re: Palenchar deposition prep                   0.58         0.58     $ 385     0.00      $        150     $       224.58
                        05/04/18   Bloom, Justin      Prepare documents/exhibits for Palenchar and Frey depositions          4.00         4.00     $ 385     0.00      $        150     $     1,540.00

                        05/05/18   Bloom, Justin      Prepare documents/exhibits for Palenchar and Frey depositions          3.00         3.00     $ 385     0.00      $        150     $     1,155.00
                        05/06/18   Bloom, Justin      Review SEP emails and analysis                                         0.17         0.17     $ 385     0.00      $        150     $        64.17
                        05/06/18   Bloom, Justin      Prepare documents/exhibits for Palenchar and Frey depositions          3.00         3.00     $ 385     0.00      $        150     $     1,155.00
                                                      Calls to potential Fact Witnesses - Ward, Fedyszyn to determine
                        05/07/18   Bloom, Justin      the extent of their witnesses spills, harm caused, and                 0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      willingness to testify at trial.
                                                      Frey and Palenchar Depo Prep, document review and
                        05/07/18   Bloom, Justin                                                                             3.00         3.00     $ 385     0.00      $        150     $     1,155.00
                                                      preparation of exhibits
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                        05/08/18   Bloom, Justin      3rd party production communications - Brown Caldwell                   0.17         0.17     $ 385     0.00      $        150     $        64.17
                        05/08/18   Bloom, Justin      ch2m hill subpoena emailes                                             0.17         0.17     $ 385     0.00      $        150     $        64.17
                        05/08/18   Bloom, Justin      USF communications re: friendly subpoena.- Email to legal              0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      Frey and Palenchar Depo Prep, document review and
                        05/08/18   Bloom, Justin                                                                             4.00         4.00     $ 385     0.00      $        150     $     1,540.00
                                                      preparation of exhibits
                        05/09/18   Bloom, Justin      Prep for Frey and Palenchar and attend Frey Deposition                 4.00         0.00     $ 385     4.00      $        150     $       600.00
                        05/10/18   Bloom, Justin      Emails and review of potential harm expert                             0.17         0.17     $ 385     0.00      $        150     $        64.17
                        05/10/18   Bloom, Justin      Deposition of Palenchar in Tampa                                       4.00         0.00     $ 385     4.00      $        150     $       600.00
                                                      Call with Kaki Schmidt re: materials for harm expert, followup
                        05/11/18   Bloom, Justin                                                                             0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      email
                        05/11/18   Bloom, Justin      Call with USF counsel re: subpoena/sunshine request                    0.25         0.25     $ 385     0.00      $        150     $        96.25
                        05/11/18   Bloom, Justin      Emails and conf call re: expert witness retention                      0.33         0.33     $ 385     0.00      $        150     $       128.33
                        05/14/18   Bloom, Justin      Emails re: Dr. Young helping experts                                   0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Emails re: expert report, potential draft review by retired
                        05/14/18   Bloom, Justin                                                                             0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      engineer, discussion with engineer
                        05/14/18   Bloom, Justin      Emails and calls with Fact Witnesses                                   1.00         1.00     $ 385     0.00      $        150     $       385.00
                        05/15/18   Bloom, Justin      fact witness communications - contacting complainants                  0.33         0.33     $ 385     0.00      $        150     $       128.33
                        05/16/18   Bloom, Justin      Call with Fred Evenson re: injunctive relief motion                    0.22         0.22     $ 385     0.00      $        150     $        83.42
                        05/16/18   Bloom, Justin      fact witness communications                                            0.50         0.50     $ 385     0.00      $        150     $       192.50
                        05/16/18   Bloom, Justin      Begin research on injunctive relief motion                             0.67         0.67     $ 385     0.00      $        150     $       256.67
                        05/16/18   Bloom, Justin      Prepare responses to discovery for Suncoast Waterkeeper                0.67         0.67     $ 385     0.00      $        150     $       256.67
                        05/17/18   Bloom, Justin      Review Evenson letter to Bolves following Palenchar depo               0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Research and call Schmidt re:CMO service deadline
                        05/18/18   Bloom, Justin                                                                             0.17         0.00     $ 385     0.17      $        150     $        25.00
                                                      conventions for MDFL - expert report
                                                                    Suncoast Waterkeeper
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                                                                                         al. v. City of St.04/03/19
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                                                                                        Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                       Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                        Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                         Time     Rate      Time
                                                                                                                           383.84      335.17              48.67                       $   136,341.59
                                                      Review correspondence and send email to PL team re: def req
                        05/18/18   Bloom, Justin                                                                            0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      to take depositions.
                        05/19/18   Bloom, Justin      Review Tom Christ expert report                                       1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                      Review or emails follow-up to Palenchar depo, stipulation by
                        05/20/18   Bloom, Justin                                                                            0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Def.
                                                      Communications re: request to depose SCWK, Bloom. Emails
                        05/20/18   Bloom, Justin                                                                            0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      to co-counsel, Board.
                        05/20/18   Bloom, Justin      Prepare exhibits for injunction.                                      1.50         1.50     $ 385     0.00      $        150     $       577.50
                        05/21/18   Bloom, Justin      Call with K.Schmidt re: upcoming depositions                          0.30         0.30     $ 385     0.00      $        150     $       115.50
                                                      Research attorney disqualification rules to determine whether to
                        05/21/18   Bloom, Justin      move for protective order on notice of deposition of Justin           0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      Bloom.
                        05/21/18   Bloom, Justin      potential fact witness calls                                          1.00         1.00     $ 385     0.00      $        150     $       385.00
                        05/23/18   Bloom, Justin      Emails with USF re: subpoena for records                              0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Calls and emails with Kaki Schmidt re: deposition of Standings
                        05/24/18   Bloom, Justin      and corp. rep - whether or not to move for a protective order         0.75         0.75     $ 385     0.00      $        150     $       288.75
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                                                      Def's desire to depose Bloom
                                                      Call with counsel for USF re: 3rd Party Subpoena for Harwood
                        05/25/18   Bloom, Justin                                                                            0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      study.
                        05/25/18   Bloom, Justin      Emails with Mote re: possible studies                                 0.17         0.17     $ 385     0.00      $        150     $        64.17
                        05/25/18   Bloom, Justin      investigation of NE plant for stormwater flows.                       0.33         0.33     $ 385     0.00      $        150     $       128.33
                        05/27/18   Bloom, Justin      Communications with Kaki Schmidt re: fact witnesses                   0.25         0.25     $ 385     0.00      $        150     $        96.25
                        05/27/18   Bloom, Justin      Communications re: investigation of NE stormwater flow                0.33         0.33     $ 385     0.00      $        150     $       128.33
                        05/28/18   Bloom, Justin      Review and edit settlement letter                                     0.50         0.50     $ 385     0.00      $        150     $       192.50
                        05/29/18   Bloom, Justin      Emails with Kaki Schmidt re: non-expert witness disclosure            0.17         0.17     $ 385     0.00      $        150     $        64.17
                        05/29/18   Bloom, Justin      Review and edit settlement letter                                     0.17         0.17     $ 385     0.00      $        150     $        64.17
                        05/29/18   Bloom, Justin      Review and edit supplement to initial disclosure                      0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Review of pollution notices and corresp with Coyne and Schmidt
                        05/29/18   Bloom, Justin                                                                            0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      about updating records with additional spills
                        05/29/18   Bloom, Justin      Communications with potential fact witnesses                          0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      Call Schmidt/Bloom regarding nearby POTWs that discharge to
                                                      surface waters to determine their NPDES effluent limitations for
                        05/31/18   Bloom, Justin                                                                            0.20         0.20     $ 385     0.00      $        150     $        77.00
                                                      purposes of identifying pollutants in sewage that are typically
                                                      regulated; related to calculation of statutory maximum.
                                                      Communications with Annie Beaman and declarants in prep for
                        05/31/18   Bloom, Justin                                                                            0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      Beaman depo.
                                                      Review USF response to emailed subpoena, research legal
                        05/31/18   Bloom, Justin                                                                            0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      issue raised in letter limiting USF's response.
                                                      Review emails re: settlement position and potential
                        06/01/18   Bloom, Justin                                                                            0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      compel/protective order issues
                        06/01/18   Bloom, Justin      Edit letter to Manson re: deposition dispute                          0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                                    Suncoast Waterkeeper
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                                                                                         al. v. City of St.04/03/19
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                                                                                          Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                         Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                          Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                           Time     Rate      Time
                                                                                                                             383.84      335.17              48.67                       $   136,341.59
                        06/01/18   Bloom, Justin      Research and email to Kaki S. re: SEP short-list                        0.33         0.33     $ 385    0.00       $        150     $       128.33
                        06/01/18   Bloom, Justin      Call with Kaki Schmidt re: settlement and discovery disputes            0.50         0.50     $ 385     0.00      $        150     $       192.50

                                                      Review of local rules and practice and law re: protection from
                        06/01/18   Bloom, Justin                                                                              0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      doc requests and bloom deposition, call with Kaki Schmidt
                                                      Review of settlement materials, emails to K. Schmidt re: fees
                        06/01/18   Bloom, Justin                                                                              0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      and SEP
                        06/01/18   Bloom, Justin      Research re: deposing opposing counsel                                  0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      Review and edit proposed stipulation regarding
                        06/03/18   Bloom, Justin      Advisory/Warning as meet/confer and avoid the need to file for a        0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      preliminary injunction.
                        06/04/18   Bloom, Justin      fees discussion in settlement offer - emails                            0.17         0.17     $ 385     0.00      $        150     $        64.17
                        06/05/18   Bloom, Justin      Call with Kaki Schmidt re: depositions                                  0.33         0.33     $ 385     0.00      $        150     $       128.33
                        06/05/18   Bloom, Justin      Call with DEP re: subpoena, email revised terms                         0.50         0.50     $ 385     0.00      $        150     $       192.50
                        06/05/18   Bloom, Justin      Draft declaration for injunctive relief                                 4.00         4.00     $ 385     0.00      $        150     $     1,540.00
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                        06/06/18   Bloom, Justin      Review and edit mediation letter, sproul email                          0.25         0.25     $ 385     0.00      $        150     $        96.25
                        06/06/18   Bloom, Justin      Draft declaration and call with Fred Evenson re: injuction              2.50         2.50     $ 385     0.00      $        150     $       962.50
                                                      Review witness disclosure, emails with Kaki Schmidt and Annie
                        06/07/18   Bloom, Justin                                                                              0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      Beamon
                        06/07/18   Bloom, Justin      Finalize witness list, call Collins                                     0.42         0.42     $ 385     0.00      $        150     $       160.42
                                                      Draft declaration, call and emails with Fred Evenson and Ben re:
                        06/07/18   Bloom, Justin                                                                              1.67         1.67     $ 385     0.00      $        150     $       641.67
                                                      injunctive relief
                        06/08/18   Bloom, Justin      Review and comment of settlement letter                                 0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      Research whether a court can enter summary judgment against
                        06/08/18   Bloom, Justin                                                                              0.50         0.00     $ 385     0.50      $        150     $        75.00
                                                      a party when they default for MSJ (fail to file opposition brief).

                        06/08/18   Bloom, Justin      Prepare cover letter, work on proposed stipulation for injunction       1.00         1.00     $ 385     0.00      $        150     $       385.00
                        06/09/18   Bloom, Justin      Edit proposed stipulation and cover for injunction                      0.50         0.50     $ 385     0.00      $        150     $       192.50
                        06/09/18   Bloom, Justin      Review defendant's expert disclosures                                   1.00         1.00     $ 385     0.00      $        150     $       385.00
                        06/11/18   Bloom, Justin      Email to USF re: Subpoena                                               0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      Finalize proposed subpoena and cover letter - email bolves - re:
                        06/11/18   Bloom, Justin                                                                              0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      injunction
                                                      Draft subpoenas for Newstations, edit USF and emails to K.
                        06/11/18   Bloom, Justin                                                                              1.58         1.58     $ 385     0.00      $        150     $       609.58
                                                      Schmidt, research media subpoenas
                        06/13/18   Bloom, Justin      Call w/ K. Schmidt re settlement and injunction                         0.17         0.17     $ 385     0.00      $        150     $        64.17
                        06/13/18   Bloom, Justin      Call w/ K. Schmidt re settlement and injunction                         0.17         0.17     $ 385     0.00      $        150     $        64.17
                        06/14/18   Bloom, Justin      Draft and edit Motion and Declaration - Protective Order                1.00         1.00     $ 385     0.00      $        150     $       385.00
                        06/15/18   Bloom, Justin      Call with K. Schmidt re: injunction, seek photos and evidence           0.67         0.67     $ 385     0.00      $        150     $       256.67
                        06/15/18   Bloom, Justin      Draft motion for injunctive relief, declaration                         2.00         2.00     $ 385     0.00      $        150     $       770.00
                                                                    Suncoast Waterkeeper
                                               Case 8:16-cv-03319-JDW-AEP     Documentet211-6
                                                                                         al. v. City of St.04/03/19
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                                                                                          Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                         Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                          Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                           Time     Rate      Time
                                                                                                                             383.84      335.17              48.67                       $   136,341.59
                        06/15/18   Bloom, Justin      Review settlement letter                                                0.33         0.33     $ 385    0.00       $        150     $       128.33
                        06/16/18   Bloom, Justin      Preparation for Court ordered status conference 6/19.                   0.67         0.67     $ 385    0.00       $        150     $       256.67
                                                      Settlement emails from Kaki and response re: SEPs, research
                        06/18/18   Bloom, Justin                                                                              1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                      SEPs
                        06/19/18   Bloom, Justin      Prep for Court ordered status case management conference                0.75         0.75     $ 385     0.00      $        150     $       288.75
                                                      Proceedings held before Judge James D. Whittemore STATUS
                        06/19/18   Bloom, Justin                                                                              2.63         2.63     $ 385     0.00      $        150     $     1,013.83
                                                      CONFERENCE held on 6_19_2018
                                                      Review and research - St. Pete communications to State re:
                                                      Rec. Water Quality results - communicate w/ K. Schmidt in
                        06/19/18   Bloom, Justin                                                                              0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      preparation for motion for preliminary injunction on City's faiure
                                                      to notify public when water quality standards are high.
                        06/20/18   Bloom, Justin      Communications with USF re: 3rd party subpoena                          0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Email with K. Schmidt and Annie Beaman re: potential fact
                        06/20/18   Bloom, Justin                                                                              0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      witness
                        06/20/18   Bloom, Justin      meeting with Kaki Schmidt re: settlement conference                     0.67         0.67     $ 385     0.00      $        150     $       256.67
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                                                      Preparation for settlement conference, SEP research,
                        06/20/18   Bloom, Justin                                                                              1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                      Monitoring/Notification components
                                                      Settlement conference, follow-up call with C. Sproul, mtgs with
                        06/21/18   Bloom, Justin                                                                              9.00         7.00     $ 385     2.00      $        150     $     2,995.00
                                                      K. Schmidt, Tom Christ
                        06/22/18   Bloom, Justin      receive and review USF 3rd Party Subpoena docs                          0.50         0.50     $ 385     0.00      $        150     $       192.50
                        06/23/18   Bloom, Justin      Settlement emails with team                                             0.75         0.75     $ 385     0.00      $        150     $       288.75
                        06/24/18   Bloom, Justin      housekeeping - costs and fees                                           0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      reseach private lateral efforts in Pinellas County, respond to K
                        06/24/18   Bloom, Justin                                                                              0.58         0.58     $ 385     0.00      $        150     $       224.58
                                                      Schmidt email
                                                      Review palenchar email and documents re; monitoring and
                        06/24/18   Bloom, Justin      reporting, report card/assessment report in preparation for             0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      motion for preliminary injunction
                                                      Review expert reports and rebuttals in prep for Settlement
                        06/24/18   Bloom, Justin                                                                              1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                      meeting
                        06/25/18   Bloom, Justin      Call w. K. Schmidt re: settlement strategy for Wednesday mtg.           0.25         0.25     $ 385     0.00      $        150     $        96.25
                        06/25/18   Bloom, Justin      Call with A. Hayslip re: SEP proposal                                   0.17         0.17     $ 385     0.00      $        150     $        64.17
                        06/25/18   Bloom, Justin      Call with Annie Beaman re: SEPs                                         0.50         0.50     $ 385     0.00      $        150     $       192.50
                        06/25/18   Bloom, Justin      Compile SEP project list and research priority projects                 0.75         0.75     $ 385     0.00      $        150     $       288.75
                                                      Conference call with team, including clients to discuss
                        06/25/18   Bloom, Justin                                                                              2.00         2.00     $ 385     0.00      $        150     $       770.00
                                                      settlement
                        06/26/18   Bloom, Justin      Call with Fox 13 and email re: 3rd party subpoena                       0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Calls Schmidt/Bloom regarding settlement discussions the next
                        06/26/18   Bloom, Justin                                                                              0.70         0.70     $ 385     0.00      $        150     $       269.50
                                                      day and areas of potential compromise.
                        06/26/18   Bloom, Justin      Review DOJ guidance on SEPs                                             0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                                    Suncoast Waterkeeper
                                               Case 8:16-cv-03319-JDW-AEP     Documentet211-6
                                                                                         al. v. City of St.04/03/19
                                                                                                  Filed     PetersburgPage 36 of 156 PageID 5248
                                                                                          Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                          Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                           Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                            Time     Rate      Time
                                                                                                                              383.84      335.17              48.67                       $   136,341.59
                                                      attend settlement conference, post conf. meeting with Mike G,
                        06/27/18   Bloom, Justin      Kaki S. Post conf. call with Fred E. Post conf call with plaintiffs      9.50         7.00     $ 385     2.50      $        150     $     3,070.00
                                                      team and clients.
                        06/29/18   Bloom, Justin      Call with K Schmidt re: deposition and filings                           0.18         0.18     $ 385     0.00      $        150     $        70.58
                                                      Call with K. Schmidt and (part of time) M. Goodstein re
                        06/29/18   Bloom, Justin                                                                               0.45         0.45     $ 385     0.00      $        150     $       173.25
                                                      settlement strategy
                        06/29/18   Bloom, Justin      Calls with Brian Bolves re: Joint CMO modification                       0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Edit draft, file and emails with K Schmidt, M. Goodstein, B.
                        06/29/18   Bloom, Justin                                                                               2.00         2.00     $ 385     0.00      $        150     $       770.00
                                                      Pierce re: cmo modification, motion for settlement conf.
                        07/01/18   Bloom, Justin      Emails re: lateral ordinances in Pinellas - w/ Pinellas Co               0.17         0.17     $ 385     0.00      $        150     $        64.17
                        07/02/18   Bloom, Justin      Call with Kaki Schmidt, review settlement letter.                        0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      Call Schmidt/Bloom regarding settlement payment to TBEP,
                        07/05/18   Bloom, Justin                                                                               0.20         0.20     $ 385     0.00      $        150     $        77.00
                                                      structure and letters needed for DOJ notice.
                        07/05/18   Bloom, Justin      assembling costs and fees                                                0.33         0.00     $ 385     0.33      $        150     $        50.00
                        07/05/18   Bloom, Justin      sep calls with K. Schmidt and TBEP, TX Estuary Program                   0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      Review settlement document by K. Schmidt, email
                        07/06/18   Bloom, Justin                                                                               0.33         0.33     $ 385     0.00      $        150     $       128.33
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                                                      communications with team
                        07/06/18   Bloom, Justin      Review, edit, file, discuss CMO joint motion                             0.50         0.50     $ 385     0.00      $        150     $       192.50
                        07/07/18   Bloom, Justin      costs and fees review and emails with Kaki S                             0.33         0.33     $ 385     0.00      $        150     $       128.33
                        07/08/18   Bloom, Justin      Finalize costs fees, research morey invoices                             0.33         0.33     $ 385     0.00      $        150     $       128.33
                        07/12/18   Bloom, Justin      Emails with team re: settlement                                          0.17         0.17     $ 385     0.00      $        150     $        64.17
                        07/17/18   Bloom, Justin      Call with K. Schmidt re: settlement                                      0.42         0.42     $ 385     0.00      $        150     $       160.42
                        07/17/18   Bloom, Justin      Review settlement documents and emails                                   0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      Conference call with K Schmidt and Tom Christ re: settlement,
                        07/17/18   Bloom, Justin                                                                               1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                      follow-up call with K. Schmidt
                                                      Research Public Advisories and Notification Protocol for
                        07/18/18   Bloom, Justin                                                                               0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      settlement
                        07/18/18   Bloom, Justin      Review settlement documents, emails from K. Schmidt                      0.75         0.75     $ 385     0.00      $        150     $       288.75
                        07/19/18   Bloom, Justin      Call with K. Schmidt re: settlement negotiations                         0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Edit draft of amendment to Consent Order - research health
                        07/19/18   Bloom, Justin                                                                               0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      advisory/notification issue
                        07/21/18   Bloom, Justin      Call with K. Schmidt re: settlement                                      0.33         0.33     $ 385     0.00      $        150     $       128.33
                        07/21/18   Bloom, Justin      Review and edit settlement docs                                          2.00         2.00     $ 385     0.00      $        150     $       770.00
                        07/23/18   Bloom, Justin      Call with K. Schmidt re" settlement                                      0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      Calls with Kaki Schmidt re: settlement - recreational water
                        07/23/18   Bloom, Justin                                                                               0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      adisory issue, edit spreadsheet
                        07/24/18   Bloom, Justin      Calls with K. Schmidt re: settlement - attorneys fees and costs          0.50         0.50     $ 385     0.00      $        150     $       192.50

                                                      Review spreadsheet, research area parks and water quality
                        07/24/18   Bloom, Justin                                                                               0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      issue re: settlement, emails to A. Hayslip and K. Schmidt.
                                                                    Suncoast Waterkeeper
                                               Case 8:16-cv-03319-JDW-AEP     Documentet211-6
                                                                                         al. v. City of St.04/03/19
                                                                                                  Filed     PetersburgPage 37 of 156 PageID 5249
                                                                                         Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                          Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                           Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                            Time     Rate      Time
                                                                                                                              383.84      335.17              48.67                       $   136,341.59
                                                      Call Schmidt/Bloom regarding public advisories issue in draft
                        07/24/18   Bloom, Justin                                                                               0.20         0.20     $ 385     0.00      $        150     $        77.00
                                                      consent order.
                        07/26/18   Bloom, Justin      Review and edit joint motion to reopen - and status rept for filing      0.50         0.50     $ 385     0.00      $        150     $       192.50
                        07/26/18   Bloom, Justin      Review and edit status report for filing                                 0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Review article and share / discussion re: rate fee increases
                        07/26/18   Bloom, Justin                                                                               0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      before city council
                        07/26/18   Bloom, Justin      Review Stipulated Order, discussion re: costs and fees.                  0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Calls with Kaki Schmidt and Whittemore's Clerk re: Status
                        07/27/18   Bloom, Justin                                                                               0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      Report and Motion to Reopen
                        07/27/18   Bloom, Justin      Emails and review, file status report                                    0.33         0.33     $ 385     0.00      $        150     $       128.33
                        07/27/18   Bloom, Justin      set-up spreadsheet tracking st. pete spills reported to DEP              0.50         0.50     $ 385     0.00      $        150     $       192.50
                        07/29/18   Bloom, Justin      Emails re: final settlement documents, approvals                         0.17         0.00     $ 385     0.17      $        150     $        25.00
                        07/30/18   Bloom, Justin      Review emails re: reservation of rts - fees                              0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Communications via phone and email re: settlement approval by
                        08/09/18   Bloom, Justin                                                                               1.00         1.00     $ 385     0.00      $        150     $       385.00
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                                                      city council, calls to client and Hayslip.
                        08/10/18   Bloom, Justin      Emails re: lodging v reopening settlement, next steps                    0.25         0.25     $ 385     0.00      $        150     $        96.25
                        08/12/18   Bloom, Justin      discussion with Kaki Schmidt re: settlement                              0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      Call Schmidt/Bloom regarding PR for settlement, FDEP status,
                        08/12/18   Bloom, Justin      upcoming fee petition, case management planning to propose to            0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      defense counsel.
                                                      Emails re: motion to reopen and retention of jurisdiction - w/ K.
                        08/29/18   Bloom, Justin                                                                               0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      Schmidt
                        08/29/18   Bloom, Justin      order transcript of Status Conf                                          0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Review status conf transcript and email K. Schmidt re: Motion to
                        08/29/18   Bloom, Justin                                                                               0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      re-open
                                                      Review and discuss research re: retention of jurisdiction for
                        08/30/18   Bloom, Justin                                                                               0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      settlemement
                                                      Settlement communications, calls with K. Schmidt, Brian Bolves,
                        08/31/18   Bloom, Justin                                                                               1.33         1.33     $ 385     0.00      $        150     $       513.33
                                                      review proposed pleadings.
                                                      Emails with K. Schmidt re: motion to reopen v. extend admin
                        09/04/18   Bloom, Justin                                                                               0.08         0.08     $ 385     0.00      $        150     $        32.08
                                                      closure
                        09/04/18   Bloom, Justin      Call with St. Pete clerk re: transcript                                  0.07         0.00     $ 385     0.07      $        150     $        10.00
                        09/04/18   Bloom, Justin      Emails with K. Schmidt re: transcript of Council Mtg                     0.08         0.00     $ 385     0.08      $        150     $        12.50
                                                      Calls and emails with K. Schmidt re: consent order and filing
                        09/05/18   Bloom, Justin                                                                               0.67         0.67     $ 385     0.00      $        150     $       256.67
                                                      joint motion with court, edit joint motion
                                                      Call with Kaki Schmidt re: settlement - dep amended consent
                        09/06/18   Bloom, Justin                                                                               0.33         0.33     $ 385     0.00      $        150     $       128.33
                                                      order, filing motion to reopen, review final versions
                                                      Settlement communications w co-counsel re: Order on Motion to
                        09/10/18   Bloom, Justin                                                                               0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      Re-Open
                                                      Settlement communications - Tom Christ and K. Schmidt re;
                        09/19/18   Bloom, Justin                                                                               0.17         0.17     $ 385     0.00      $        150     $        64.17
                                                      amended c.o
                                                                    Suncoast Waterkeeper
                                               Case 8:16-cv-03319-JDW-AEP     Documentet211-6
                                                                                         al. v. City of St.04/03/19
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                                                                                         Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                         Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                          Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                           Time     Rate      Time
                                                                                                                             383.84      335.17              48.67                       $   136,341.59
                        09/27/18   Bloom, Justin      Compile records for costs and fees                                      2.00         0.00     $ 385    2.00       $        150     $       300.00
                                                      Call Schmidt/Bloom concerning 1.7 million gallon discharge and
                        09/28/18   Bloom, Justin      status update concerning City Council meeting and timing of             0.40         0.40     $ 385     0.00      $        150     $       154.00
                                                      FDEP signature.
                                                      Calls with K. Schmidt re: filing settlement documents, File Notice
                        10/15/18   Bloom, Justin                                                                              0.50         0.00     $ 385     0.50      $        150     $        75.00
                                                      of Settlement.
                                                      Call with K. Schmidt re: settlement lodging, timetable for fee
                        10/16/18   Bloom, Justin                                                                              0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      petition and SEP.
                        10/16/18   Bloom, Justin      Emails with K Schmidt and F. Evenson re: SEP                            0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      Call with Fred Evenson re: SEP, draft email response to P.
                        10/31/18   Bloom, Justin                                                                              1.00         1.00     $ 385     0.00      $        150     $       385.00
                                                      Heeter re: SEP, draft email to TBEP (Ed Sherwood) re: SEP
                                                      Calls with Fred Evenson, adding TBEP Director Ed Sherwood,
                        11/01/18   Bloom, Justin                                                                              0.67         0.67     $ 385     0.00      $        150     $       257.95
                                                      re: SEP
                                                      Call with K. Schmidt re TBEP SEP and DOJ policy, locating
                                                      other settlements containing NEP recipients for SEP funds;
                        11/01/18   Bloom, Justin      allocation of funds in response to initial TBEP proposal;               0.28         0.28     $ 385     0.00      $        150     $       107.80
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                                                      discussion of possible change to recipient and coordination with
                                                      City if so.
                        11/01/18   Bloom, Justin      Draft email to TBEP Director Sherwood re: SEP                           0.17         0.17     $ 385     0.00      $        150     $        65.45
                        11/02/18   Bloom, Justin      Research into SEPs                                                      0.33         0.33     $ 385     0.00      $        150     $       127.05
                                                      Call with K. Schmidt and J. Gregg from DOJ regarding TBEP as
                        11/02/18   Bloom, Justin      SEP recipient and discussion about level of specificity needed in       0.40         0.40     $ 385     0.00      $        150     $       154.00
                                                      letter requested by DOJ regarding SEP funds.

                                                      Call Schmidt/Bloom following call with DOJ regarding follow-up
                        11/02/18   Bloom, Justin                                                                              0.20         0.20     $ 385     0.00      $        150     $        77.00
                                                      with TBEP, legal entity paperwork, allocation, projects.
                                                      Email to DOJ re: TBEP as SEP recipient, providing info on the
                        11/05/18   Bloom, Justin                                                                              0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      TBEP
                                                      Call Schmidt/Bloom regarding follow-up with TBEP project
                        11/08/18   Bloom, Justin                                                                              0.30         0.30     $ 385     0.00      $        150     $       115.50
                                                      criteria, DOJ position.
                        11/08/18   Bloom, Justin      Draft DOJ letter for TBEP SEP                                           0.33         0.33     $ 385     0.00      $        150     $       127.05
                                                      Email to TBEP Sherwood re: SEP and DOJ criteria, potential
                        11/08/18   Bloom, Justin                                                                              0.17         0.17     $ 385     0.00      $        150     $        65.45
                                                      projects
                                                      Follow-up call with K. Schmidt and DOJ/Gregg from DOJ
                        11/08/18   Bloom, Justin      regarding TBEP as SEP and level of specificity needed in letter         0.30         0.30     $ 385     0.00      $        150     $       115.50
                                                      requested by DOJ regarding SEP funds.
                                                      Follow-up call with K. Schmidt re: DOJ call and creation of
                        11/08/18   Bloom, Justin                                                                              0.20         0.20     $ 385     0.00      $        150     $        77.00
                                                      template letter for TBEP SEP
                                                      Review TBEP proposed RFP language, compare to project
                        11/08/18   Bloom, Justin                                                                              0.17         0.17     $ 385     0.00      $        150     $        65.45
                                                      proposals, draft language for DOJ letter
                                                                    Suncoast Waterkeeper
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                                                                                         al. v. City of St.04/03/19
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                                                                                         Case No. 8:16-cv-03319-JDW-AEP

                                                                                                                                         Attorney   Atty    Paralegal
                      Date         Attorney           Description                                                          Billed Time                                  Paralegal Rate       Lodestar
                                                                                                                                           Time     Rate      Time
                                                                                                                             383.84      335.17              48.67                       $   136,341.59
                                                      Call with K. Schmidt and TBEP concerning proposed projects to
                        11/08/18   Bloom, Justin                                                                              0.30         0.30     $ 385     0.00      $        150     $       115.50
                                                      be funded with settlement funds consistent with DOJ guidelines.

                        11/11/18   Bloom, Justin      Review email from TBEP, edit DOJ letter, send to K. Schmidt             0.25         0.25     $ 385     0.00      $        150     $        96.25
                        11/15/18   Bloom, Justin      Communications w/ K. Schmidt re: SEP letter from TBEP                   0.17         0.17     $ 385     0.00      $        150     $        65.45
                                                      Communications w/ K. Schmidt, Fred Evenson re: SEP letter
                        11/16/18   Bloom, Justin                                                                              0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      from TBEP
                                                      Emails with K. Schmidt re: anticipated settlement filings and
                        11/28/18   Bloom, Justin                                                                              0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      future monitoring/oversight work.
                        11/28/18   Bloom, Justin      Email with Tom Christ re: future monitoring/oversight work.             0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      Calls with Kaki Schmidt, joined by Chris Sproul re: filing Notice
                        11/30/18   Bloom, Justin                                                                              0.25         0.25     $ 385     0.00      $        150     $        96.25
                                                      of DOJ approval and Stip Order
                        11/30/18   Bloom, Justin      Review and edit Notice of DOJ letter                                    0.17         0.00     $ 385     0.17      $        150     $        25.50
                        11/30/18   Bloom, Justin      Attempt to file ecf - notice. ECF down                                  0.67         0.00     $ 385     0.67      $        150     $       100.50
                        12/01/18   Bloom, Justin      Call with Kaki Schmidt, edit and file Notice                            0.33         0.00     $ 385     0.33      $        150     $        49.50
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                                                      Review and file motions to reopen and settle, emails/call with K.
                        12/03/18   Bloom, Justin                                                                              0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      Schmidt
                                                      Call with Court Deputy for Call-in instructions re: Dec 5 hearing.
                        12/05/18   Bloom, Justin                                                                              0.17         0.00     $ 385     0.17      $        150     $        25.50
                                                      Email K. Schmidt instructions.
                                                      Research and prepare spreadsheet re: ongoing spills for
                        12/05/18   Bloom, Justin                                                                              0.50         0.50     $ 385     0.00      $        150     $       192.50
                                                      upcoming hearing
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                                     Exhibit 2

                                       to the

                            Declaration of Justin Bloom

                                   In Support of

                          Plaintiffs’ Motion for Attorneys'
                                    Fees and Costs



                      Suncoast Waterkeeper et al. v. City of St.
                    Petersburg Case No. 8:16-cv-03319-JDW-AEP
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      September 28, 2016

      Via Certified Mail, Return Receipt Requested

      Mayor Rick Kriseman
      City of St. Petersburg
      St. Petersburg City Hall
      175 5th St. N.
      St. Petersburg, FL 33701
      Email: mayor@stpete.org

      Mr. Claude D. Tankersley, P.E.
      City of St. Petersburg
      Public Works Administrator
      1650 Third Avenue North
      St. Petersburg, Florida, 33713

      Re: Sixty-Day Notice of Violations of Clean Water Act and Notice of Intent to File
      Suit


      Dear Mr. Kriseman and Mr. Tankersley:

               I am writing on behalf of Suncoast Waterkeeper, Inc. (“SCWK”), Our Children’s
      Earth Foundation (“OCE”) and Ecological Rights Foundation (“ERF”) to notify you of
      serious and ongoing violations of the federal Clean Water Act (“CWA”) at the City of
      St. Petersburg’s publicly owned treatment works (“the POTW”) for the collection and
      treatment of sanitary sewage. The POTW includes the following wastewater treatment
      facilities (Facilities) and associated wastewater collection/transmission systems
      (Systems) serving the City of St. Petersburg and other portions of Pinellas County.

             Albert Whitted Water Reclamation Facility               601 8th Ave. S.E.
             Northeast Water Reclamation Facility                    1160 62nd Ave. N.E.
             Northwest Water Reclamation Facility                    7500 26th Ave. N.
             Southwest Water Reclamation Facility                    3800 54th Ave. S.
             St. Petersburg Master Reuse System                      1650 Third Ave. N.

               The purpose of this letter is further to provide notice of SCWK, OCE and ERF’s
      intent to file a civil action against the City of St. Petersburg (“St. Petersburg”) sixty days
      (60) days after the date of this letter.


       P.O. Box 1028, Sarasota, FL 34230 • (941) 275-2922 • www.suncoastwaterkeeper.org
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      R. Kriseman                                    2
      C. Tankersley
      Sept. 28, 2016


      I. IDENTITY OF PERSONS GIVING NOTICE AND THEIR COUNSEL

             In accord with 40 C.F.R. section 135.3(b), OCE hereby gives notice of the names,
      addresses, and telephone numbers of the person giving notice, which are SCWK, OCE
      and ERF.

             SCWK is a non-profit public benefit corporation with members throughout the
      Tampa Bay area, dedicated to protecting and restoring the Florida Suncoast’s
      waterways through enforcement, fieldwork, advocacy, and environmental education for
      the benefit of the communities that rely upon these precious coastal resources. SCWK has
      been registered as a non-profit corporation in Florida since 2012 and has maintained its
      good and current standing in Florida since that time. SCWK is licensed member of
      Waterkeeper Alliance, Inc., an international non-profit environmental organization, made
      up of over 300 separate Waterkeeper programs, such as Suncoast Waterkeeper.

              OCE is a non-profit public benefit corporation with members throughout the
      United States, including Florida and specifically the Tampa Bay area, dedicated to
      protecting the public, especially children, from the health impacts of pollution and other
      environmental hazards and to improving environmental quality for the public benefit.
      Another aspect of OCE's mission is to participate in environmental decisionmaking,
      enforce environmental laws (including via citizen suits), both federal and state, to reduce
      pollution, and to educate the public concerning those laws and their enforcement.

              ERF is a non-profit public benefit corporation with members across the United
      States, including Florida and specifically the Tampa Bay area. Among other work it does,
      ERF focuses on protecting surface waters from pollution and degradation. ERF represents
      citizens who are striving to protect waterways from pollution and secure the multitude of
      public and private benefits that follow from clean, vibrant waters: safe drinking water,
      abundant and diverse wildlife populations, healthy recreational opportunities, and
      economic prosperity from commercial, sport and subsistence fishing; and other
      commercial activities that depend on clean water. To further its environmental advocacy
      goals, ERF actively seeks federal and state agency implementation of state and federal
      water quality related laws, and as necessary, directly initiates enforcement actions on
      behalf of itself and its members.

              SCWK, OCE and ERF’s members use the ocean and bay waters and other waters
      adjoining and in St. Petersburg for body contact water sports and other forms of
      recreation, wildlife observation, aesthetic enjoyment, educational study, and spiritual
      contemplation. These SCWK, OCE and ERF members are concerned about water quality
      and are and will continue to be adversely affected by St. Petersburg’s sewage discharge
      violations. SCWK, OCE and ERF may be contacted at:

             Suncoast Waterkeeper, Inc.
             P.O. Box 1028
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      R. Kriseman                                  3
      C. Tankersley
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             Sarasota, FL 34230
             Tel: (941) 275-2922
             E-mail: jbloom@suncoastwaterkeeper.org

             Our Children’s Earth Foundation
             1625 Trancas St. #2218
             Napa, CA 94558-9998
             Tel: (510) 910-4535
             E-mail: annie.beaman@gmail.com
             Or: 3701 Sacramento St., #194
             San Francisco, CA 94118
             Tel: (415) 342-0042

             Ecological Rights Foundation
             867 “B” Redwood Drive
             Garberville, California, 95542.
             Tel: (707) 923-4372.
             E-mail: ecorights@earthlink.net

      SCWK, OCE and ERF has retained the following legal counsel to represent them in this
      matter:

             Justin Bloom, Esq.
             P.O. Box 1028
             Sarasota, FL 34230
             Tel: (941) 275-2922
             Fax: (866) 574-2169
             E-mail: bloomesq1@gmail.com

             Christopher A. Sproul, Esq.
             Environmental Advocates
             5135 Anza Street
             San Francisco, CA 94121
             Tel: (415) 533-3376
             Fax: (415) 358-5695
             E-mail: csproul@enviroadvocates.com

             Fredric Evenson
             Ecology Law Center
             P.O. Box 1000
             Santa Cruz, CA 95061
             Telephone: (831) 454-8216
             Email: evenson@ecologylaw.com

      All communications should be addressed to legal counsel at the above addresses.
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      R. Kriseman                                   4
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       II. FACTUAL BACKGROUND

              St. Petersburg is a municipality incorporated under the laws of the State of
      Florida and a person within the meaning of Section 403.031(5), Fla. Stat. St. Petersburg
      owns and operates the POTW and appurtenant collection system, which collectively is a
      publicly owned treatment works as defined in CWA section 212(2) 1 and 40 C.F.R.
      section 125.58(s). The POTW and related collection system collects and treats sanitary
      sewage from St. Petersburg’s residents and businesses.

              The CWA prohibits the discharge of pollutants by any person to waters of the
      United States except in compliance with a permit duly issued under the CWA. CWA §
      301(a), 33 U.S.C. § 1311(a). The CWA authorizes EPA, or states with permit programs
      approved by EPA, to issue National Pollutant Discharge Elimination System (NPDES)
      permits allowing for the discharge of pollutants into waters of the United States. CWA §
      402, 33 U.S.C. § 1342.

              The stormwater element of the federal NPDES program is mandated by CWA §
      402(p), 33 U.S.C. §1342(p), and implemented through federal regulations including 40
      C.F.R. 122.26. EPA has approved the State of Florida’s Department of Environmental
      Protection (DEP) to administer an NPDES permit program in Florida. DEP is authorized
      under Section 403.0885 of the Florida Statutes (F.S.) and Rule 62-624 of the Florida
      Administrative Code (F.A.C.) to implement the NPDES program. As part of this
      program, DEP has determined that a Municipal Separate Storm Sewer System (MS4)
      permit is required for the operation of St. Petersburg’s stormwater systems.

              DEP has issued MS4 Permit Number FLS000007-004 (the “MS4 Permit”) to the
      City of St. Petersburg. The MS4 Permit authorizes St. Petersburg to discharge stormwater
      to waters of the State in accordance with the approved Stormwater Management
      Program, effluent limitations, monitoring requirements, and other provisions as set forth
      in the permit. St. Petersburg is the owner and/or operator of the St. Petersburg MS4. See
      MS4 Permit § I.A. Specifically, St. Petersburg is required to effectively prohibit the
      discharge of non-stormwater into its storm sewer system. Id. § I.D. Additionally, St.
      Petersburg is required to implement procedures to prevent, contain, and respond to spills
      that may discharge into the MS4. See MS4 Permit, Illicit Discharges and Improper
      Disposal, §7(d).

              St. Petersburg has repeatedly violated the CWA by discharging raw and partially
      treated sewage from the POTW collection systems without NPDES permit authorization.
      Additionally, St. Petersburg has repeatedly violated the MS4 Permit by allowing the
      discharge of non-stormwater into its storm sewer system.



      1   33 U.S.C. § 1292(2).
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             A. St. Petersburg Sewage Spills

              St. Petersburg has repeatedly spilled raw and partially treated sewage from its
      collection system that carries sewage to the POTW. Such raw and partially treated
      sewage has repeatedly overflowed or spilled from St. Petersburg sewer lines, manholes,
      pump stations, and various other POTW equipment/conveyances. A partial list of St.
      Petersburg’s sewage spills is attached as Exhibit 1 to this Notice Letter.

               These spills have resulted from a variety of poor or inadequate system
      maintenance, operation, repair, replacement and rehabilitation practices. These poor
      practices have led to sewer line blockages (generally caused by build-up of grease,
      accumulation of sediment and debris, and root intrusion), unaddressed defects in sewer
      lines such as extensive line cracking, sags in lines, and misaligned joints; broken sewer
      lines, pump station equipment failures, undersized sewer lines or pump station pumping
      and/or storage capacity, and the overwhelming of system capacity due to excessive
      infiltration and inflow of storm water and groundwater during wet weather.

              These spills have sent raw and partially treated sewage streaming into private
      residences and businesses, streets, storm drains, streams, Tampa Bay, and the Gulf of
      Mexico. These spills have repeatedly posed serious public health threats and created
      severe nuisance in exposing substantial numbers of people to raw and partially treated
      sewage. Raw and partially treated sewage contains a variety of human bacteriological,
      viral, and parasitic pathogens, and exposure to raw and partially treated sewage is well-
      known to cause various human illnesses. In addition to human waste, sanitary sewage
      contains various toxic chemicals from the solvents, detergents, cleansers, inks, pesticides,
      paints, pharmaceuticals and other chemicals discarded by households and businesses.
      Thus, St. Petersburg’s sewage spills pose a serious public health risk in exposing
      members of the public and SCWK, OCE and ERF’s members to sewage-borne pathogens
      and various toxic pollutants. These persistent, repeated sewage spills also have threatened
      harm to the sensitive freshwater and marine environments of St. Petersburg’s waters, as
      the pathogens and toxic pollutants in sewage can adversely affect freshwater and marine
      life.

      III. VIOLATIONS OF THE FEDERAL CLEAN WATER ACT

             A. Sewage Spills

                       1. Violation of CWA Section 301(a)’s Prohibition On
                          Unpermitted Discharges to Waters of the United States.

              As noted above, St. Petersburg has repeatedly spilled raw and partially treated
      sewage from its sewage collection system. At least some of these sewage spills have
      flowed into waters of the United States. St. Petersburg does not and could not have
      NPDES permit authorization to discharge raw or partially treated sewage from its
      collection system to waters of the United States, which include the Gulf of Mexico,
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      Tampa Bay, all wetlands adjacent to the Gulf of Mexico, and/or Tampa Bay, freshwater
      streams and other waters that are tributary to the Gulf of Mexico and/or Tampa Bay, and
      any wetlands adjacent to such tributaries. All such discharges of raw or partially treated
      sewage have thus constituted the unauthorized discharge of pollutants in violation of
      CWA section 301(a), which expressly provides:

             Except as in compliance with this section and sections . . . 1342 [which
             provides for NPDES permit authorization for pollutant discharges] . . . the
             discharge of any pollutant by any person shall be unlawful. 33. U.S.C.
             §1311(a).

                          2. Sewage Discharges to St. Petersburg’s MS4 in Violation of the
                          MS4 Permit

             St. Petersburg’s sewage spills have flowed into St. Petersburg’s MS4. The MS4
      Permit regulates discharges into the MS4. The MS4 Permit prohibits the discharge of
      non-stormwater (material other than stormwater) into the MS4. MS4 Permit, § I.D. Raw
      or partially treated sewage that is discharged into the MS4 is not stormwater. St.
      Petersburg violates the MS4 Permit every time a sewage spill from the St. Petersburg
      POTW discharges into the MS4. All the sewage spills that are identified in Exhibit 1 as
      having reached storm drains are examples of sewage spills that St. Petersburg has
      discharged into the MS4.

                       3. Dates and Locations of Violations

              A partial list of St. Petersburg’s sewage spills, provided by way of example, is set
      forth as Exhibit 1 to this letter. This partial list indicates the date and location of these
      sewage spills and identifies whether these spills entered waters of the United States
      and/or the MS4. As noted, these above-described spills are illustrative of the types of
      sewage spills from St. Petersburg’s sewage collection system. Additionally, local news
      agencies have reported several spills and/or discharges of raw or partially treated sewage
      from St. Petersburg’s sewage collection system in June, July, August, and September
      2016. These recent spills and/or discharges were the subject of a proposed Consent
      Order, OGC File No. 16-1280. On information and belief, SCWK, OCE and ERF have
      concluded that St. Petersburg has had additional sewage spills in the past five years,
      many of which have caused unpermitted discharge of sewage to waters of the United
      States and/or the MS4. This notice includes any additional sewage spills from the St.
      Petersburg For example, during recent wet weather in June, August and September,
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              The Facilities are individually permitted under the State of Florida Domestic
      Wastewater Facility Permit program (“State Permits”). 2 The dates and locations of, and
      all other pertinent details concerning, St. Petersburg’s sewage spills are well known to St.
      Petersburg, as St. Petersburg is required to monitor and report these spills to the Florida
      Department of Environmental Protection. See State Permits, General Conditions, §
      IX.20.a.(4) and (b). Each of these spills that has caused pollutants to flow into waters of
      the United States constitutes a separate violation of CWA section 301(a).

             OCE will include in its suit against St. Petersburg claims for additional violations
      when additional information becomes available. St. Petersburg has taken inadequate
      affirmative steps to eliminate its sewage spills, thus these violations are ongoing and will
      continue in the future.

      IV.  NOTICE OF INTENT TO SUE ST. PETERSBURG FOR VIOLATIONS OF
      THE CLEAN WATER ACT

              SCWK, OCE and ERF contend that St. Petersburg has failed in the respects set
      forth above to comply with the requirements imposed by CWA section 301(a) and the
      State Permits. CWA section 505(b), 33 U.S.C. § 1365(b), requires that sixty (60) days
      prior to the initiation of a civil action under CWA section 505(a), a citizen must give
      notice of his/her intention to sue. 40 C.F.R. section 135.2 provides that, if the alleged
      violator is a State or local agency, service of notice shall be accomplished by certified
      mail addressed to, or by personal service upon, the head of such agency. This section
      further provides that a copy of the notice shall be mailed to the chief administrative
      officer of the water pollution control agency for the State in which the violation is alleged
      to have occurred, the EPA Administrator and the EPA Regional Administrator for the
      EPA Region in which such violation is alleged to have occurred. Accordingly, this notice
      is being sent to you as the Mayor of St. Petersburg. In addition, a copy of this notice is
      being sent to Claude D. Tankersley, Public Works Administrator. We are also sending
      copies to the EPA Administrator, the Regional Administrator of EPA Region 4, the
      Executive Director of the State Office of Water Quality, and the Executive Director of
      the Southwest Florida Water Management District (and a courtesy copy to the U.S.
      Department of Justice).

             By this letter, pursuant to CWA section 505(a) and (b), 33 U.S.C. §1365(a) and (b),
      SCWK, OCE and ERF hereby put you on notice that after the expiration of sixty (60) days
      from the date of this Notice of Intent To File Suit, SCWK, OCE and ERF intend to file an
      enforcement action in federal court against St. Petersburg for the latter’s CWA violations.



      2Albert Whitted Water Reclamation Facility, Wastewater Permit No. FLA128830;
      Northwest Water Reclamation Facility, Wastewater Permit No. FLA128821; Northeast
      Water Reclamation Facility, Wastewater Permit No. FLA128856; Southwest Water
      Reclamation Facility, Wastewater Permit No. FLA 128848.
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              SCWK, OCE and ERF intend to seek civil penalties and, in addition, injunctive
      relief preventing further CWA violations pursuant to CWA sections 505(a) and (d), 33
      U.S.C. § 1365(a) and (d), and such other relief as is permitted by law. Pursuant to CWA
      section 309(d), 33 U.S.C. § 1319(d), and 40 C.F.R. section 19.4, each of the above-
      described CWA violations subjects St. Petersburg to a penalty of up to $32,500 per day
      per violation for all separate CWA violations. See 69 Fed. Reg. 7121 (Feb. 13, 2004).

              In addition to the violations set forth above, this notice covers all ongoing CWA
      violations and violations evidenced by information that becomes available to SCWK,
      OCE and ERF after the date of this Notice of Intent to File Suit.

              SCWK, OCE and ERF are interested in discussing effective remedies for the
      violations noted in this letter. If you wish to pursue such discussions in the absence of
      further litigation, we suggest that you initiate those discussions within the next 20 days so
      that they may be completed before the end of the 60-day notice period. Although SCWK,
      OCE and ERF are always interested in avoiding unnecessary litigation, they do not intend
      to delay the filing of a complaint in federal court if discussions are continuing when the
      notice period ends.

                                     Sincerely,




                                     Justin Bloom

      cc:

       Gina McCarthy, Administrator
       U.S. Environmental Protection Agency
       1200 Pennsylvania Avenue, N.W.
       Washington, D.C. 20460
       mccarthy.gina@epa.gov
       Heather McTeer Toney, Regional Administrator, EPA Region 4
       Sam Nunn Atlanta Federal Center
       61 Forsyth St. SW
       Atlanta, GA 30303-8960
       mcteertoney.heather@epa.gov
       Brian Armstrong
       Executive Director
       Southwest Florida Water Management District
       2379 Broad St., Brooksville, FL 34604
       brian.armstrong@watermatters.org
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       Jonathan P. Steverson, Secretary
       Ryan Matthews, Director Office of Water Quality
       Florida Department of Environmental Protection
       3900 Commonwealth Blvd., MS 46
       Tallahassee, FL 32399-3000
       jon.steverson@dep.state.fl.us
       ryan.matthews@dep.state.fl.us
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                    EXHIBIT 1
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                                                                                                                                                                                        Southwest WRF
                                                                                                                                                                                              Estimated         Estimated      FLOWED TO      FLOWED TO          REACH
                                                                                      DATE OF                                                                               Estimated         Volume of         Volume of      SURFACE        STORMWATER         SURFACE          REACH STORM
                                                                                      DISCHARGE     LOCATION OF       TYPE OF          SOURCE OF         CAUSE OF           Total Volume      Discharge to      Discharge to   WATER          SYSTEM             WATER            DRAIN
                                                                                      VIOLATION     DISCHARGE         DISCHARGE        DISCHARGE         DISCHARGE          of Discharge      Surface Water     Storm System   (NAME)         (NAME)             (Y=1/N=0)        (Y=1/N=0)   NOTES
                                                                                                                                                                             27,304,460.00     15,308,500.00                                                                 19
                                                                                                    3800 54th Av.
                                                                                           9/1/2011 S.                RAS sludge       other             line break                   15.00              0.00             0.00 na             na                             0              0
                                                                                                    3800 54th Av.
                                                                                           9/1/2011 S.                RAS sludge       other             line break                   50.00              0.00             0.00 na             na                             0              0
                                                                                                    3800 54th Av.
                                                                                           9/1/2011 S.                RAS sludge       other             line break                    5.00              0.00             0.00 na             na                             0              0
                                                                                                    St. Petersburg    aluminum
                                                                                                    County Club       sulfate liquid                                                                                           pond along hole pond along hole
                                                                                          2/25/2011 Golf Course       48.5% by wt.     other             contractor                2,480.00          2,480.00         2,480.00 #2 at SP CC     #2 at SP CC                   1              1
                                                                                                                                       manhole
                                                                                          5/17/2011 550 34 St. S.     na               overflow          grease                       30.00              0.00             0.00 na             na                             0              0
                                                                                                    3010 58th ave.                     manhole
                                                                                          5/24/2011 S.             na                  overflow          grease                        5.00              0.00             0.00 na             na                             0              0
                                                                                           8/1/2011 SWWRF             raw sewage       other             debris                      300.00              0.00             0.00 na             na                             0              0
                                                                                          8/30/2011 SWWRF             digested sludge cut hose           contractor                  100.00              0.00             0.00 na             na                             0              0
                                                                                                    3800 54th Av.                      other - hole in
                                                                                           9/1/2011 S.                RAS sludge       hose              line break                    5.00              0.00             0.00 na             na                             0              0
                                                                                                                                       manhole
                                                                                          9/10/2011 4074 24th Av. S wastewater         overflow          other                    12,000.00         12,000.00             0.00 Clam Bayou Cr. na                             1              0
                                                                                                                                       plubbed sample
                                                                                         10/13/2011 3800 54th Av. S. WAS sludge        line           debris                          10.00              0.00             0.00 na             na                             0              0
                                                                                                                                      reclaimed water mechanical
                                                                                           1/3/2012 na                reclaimed water line            failure                         50.00              0.00             0.00 na             na                             0              0
                                                                                                    3800 Beach Dr.
                                                                                           3/4/2012 SE             na                  na                grease                       10.00              0.00             0.00 na             na                             0              0
                                                                                                    Underground in
                                                                                                    front of GBT                   reclaimed water
                                                                                          4/27/2012 building       reclaimed water line            line break                        750.00            750.00             0.00 na             na                             1              0
                                                                                                                                       manhole
                                                                                           5/9/2012 536 52nd St. S. na                 overflow          grease                       25.00              0.00            25.00 na             na                             0              0
                                                                                                                                       manhole           extreme
                                                                                          6/24/2012 4th St. S         raw sewage       overflow          weather                   2,000.00          2,000.00             0.00 Tampa Bay      na                             1              0
                                                                                                    4936 Sunrise                       manhole           extreme
                                                                                          6/25/2012 Dr. S             raw sewage       overflow          weather                     700.00            700.00             0.00 Tampa Bay      na                             1              0
                                                                                                    interstate 275                     trailer from
                                                                                           9/4/2012 N. near exit 22   biosolids        sludge hauler     traffic incident   3 cubic yards     3 cubic yards               0.00 na             na                             0              0
                                                                                          9/14/2012 SWWRF             reclaimed water air release        debris                      500.00              0.00             0.00 na             na                             0              0
                                                                                                                                      reclaimed water
                                                                                          11/9/2012 54th ave S.       reclaimed water line            contractor                     420.00              0.00             0.00 na             na                             0              0
                                                                                                                                       manhole
                                                                                         12/26/2012 34 Av. N.         raw sewage       overflow          line break                  100.00            100.00                  Lake Magoire   na                             1              0
                                                                                                                                                                                                                                                                                              inconsistent
                                                                                                    4751A Osprey                                                                                                                                                                              discharge
                                                                                          4/23/2013 Dr. S             raw sewage       force main        contractor                  200.00          1,000.00             0.00 na             na                             1              0 amount
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                                                                                                                                                                                   Southwest WRF
                                                                                                                                                                                         Estimated        Estimated      FLOWED TO      FLOWED TO    REACH
                                                                                      DATE OF                                                                           Estimated        Volume of        Volume of      SURFACE        STORMWATER   SURFACE         REACH STORM
                                                                                      DISCHARGE     LOCATION OF      TYPE OF          SOURCE OF       CAUSE OF          Total Volume     Discharge to     Discharge to   WATER          SYSTEM       WATER           DRAIN
                                                                                      VIOLATION     DISCHARGE        DISCHARGE        DISCHARGE       DISCHARGE         of Discharge     Surface Water    Storm System   (NAME)         (NAME)       (Y=1/N=0)       (Y=1/N=0)   NOTES
                                                                                                                                      manhole
                                                                                          4/28/2013 Country Club     raw sewage       overflow        grease                     20.00             0.00             0.00 na             na                       0             0
                                                                                                                                                      mechanical
                                                                                          7/16/2013 SW Plant         reclaimed water plant effluent   failure             1,100,000.00             0.00             0.00 na             na                       0             0
                                                                                                                                      manhole
                                                                                          8/21/2013 757 18th Ave     raw sewage       overflow        grease                     50.00            50.00             0.00 na             na                       1             0
                                                                                                                                      bypass deep
                                                                                          9/25/2013 3800 54th Av. S partially treated bed filters     extreme weather    10,462,000.00             0.00             0.00 na             na                       0             0
                                                                                                    distribution wet                 reclaimed water mechanical
                                                                                          9/29/2013 well             reclaimed water line            failure                    150.00             0.00             0.00 na             na                       0             0
                                                                                                                                      manhole
                                                                                         10/25/2013 275 57th St. N   raw sewage       overflow        roots                     100.00             0.00             0.00 na             na                       0             0
                                                                                                    2546 Kingston                     manhole
                                                                                         12/14/2013 St. S.           raw sewage       overflow        grease                     40.00             0.00             0.00 na             na                       0             0
                                                                                                    4600 Emerson                      manhole
                                                                                          1/25/2014 Av.              raw sewage       overflow        grease                     50.00             0.00             0.00 na             na                       0             0
                                                                                                    3735 45th Way.                    manhole
                                                                                          3/16/2014 N.             raw sewage         overflow        grease                     50.00             0.00            50.00 na             na                       0             1
                                                                                                    RAS Pumping                                     mechanical
                                                                                          3/26/2014 Station          RAS sludge       RAS pump leak failure                      75.00             0.00             0.00 na             na                       0             0
                                                                                                                                      manhole                                                                            Boda Ciega
                                                                                          4/25/2014 6145 Sun Blvd. raw sewage         overflow        grease                    660.00           400.00                  Bay?           na                       1             0
                                                                                                    3311 19th Av.                     manhole
                                                                                          5/17/2014 S.               raw sewage       overflow        grease                    100.00             0.00           100.00 na             na                       0             1
                                                                                                    4600 Fairfield                    manhole
                                                                                          5/17/2014 Av. S            raw sewage       overflow        grease                    120.00             0.00           120.00 na             na                       0             1
                                                                                                    2540 Roy                          manhole
                                                                                          11/6/2014 Hanna Dr. S.     raw sewage       overflow        Other                   8,000.00             0.00             0.00 na             na                       0             0
                                                                                                                                      manhole
                                                                                          1/17/2015 6242 3rd Av. S. raw sewage        overflow        roots                      60.00            40.00            20.00 na             na                       1             0
                                                                                                    2824 54th Av.                     manhole
                                                                                          1/27/2015 S.               raw sewage       overflow        debris                    100.00            60.00            40.00 na             na                       1             1
                                                                                                    4327 Juanita                      manhole
                                                                                          2/13/2015 Way. S.          raw sewage       overflow        contractor             50,000.00        40,000.00                  Coquino Key?   na                       1             0
                                                                                                    1400 38th St.                     manhole         extreme                                                            Jorgensen Lake
                                                                                           8/3/2015 N.               raw sewage       overflow        weather                   950.00           470.00                  run-off pond   na                       1             0
                                                                                                                                                                                                                                                                                 surface water
                                                                                                                                                                                                                                                                                 body name
                                                                                                                                                                                                                                                                                 provided, but no
                                                                                                                                                                                                                                                                                 gallons reported
                                                                                                                                                                                                                                                                                 flowing into it,
                                                                                                                                                                                                                                                                                 only to
                                                                                                    5th Ave. S.                       manhole                                                                                                                                    stormwater
                                                                                          7/20/2015 /114th St. S.    raw sewage       overflow        contractor                150.00             0.00           150.00 Booker Cr.     na           na                        1 sewer
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                                                                                                                                                                                    Southwest WRF
                                                                                                                                                                                           Estimated         Estimated        FLOWED TO      FLOWED TO       REACH
                                                                                      DATE OF                                                                           Estimated          Volume of         Volume of        SURFACE        STORMWATER      SURFACE         REACH STORM
                                                                                      DISCHARGE     LOCATION OF       TYPE OF         SOURCE OF       CAUSE OF          Total Volume       Discharge to      Discharge to     WATER          SYSTEM          WATER           DRAIN
                                                                                      VIOLATION     DISCHARGE         DISCHARGE       DISCHARGE       DISCHARGE         of Discharge       Surface Water     Storm System     (NAME)         (NAME)          (Y=1/N=0)       (Y=1/N=0)   NOTES
                                                                                                                                                                                                                                                                                         To avoid sewer
                                                                                                                                                                                                                                                                                         water backing
                                                                                                                                                                                                                                                                                         up into homes
                                                                                                                                                                                                                                                                                         and spilling from
                                                                                                                                                                                                                                                                                         manholes, the
                                                                                                                                                                                                                                                                                         city elected to
                                                                                                                                                                                                                                                                                         pump down the
                                                                                                                                                                                                                                                                                         collection
                                                                                                                                                                                                                                                                                         system into
                                                                                                                                                                                                                                                                                         Clam Bayou
                                                                                                                                                                                                                                                                                         until the flows
                                                                                                    SW Water                                                                                                                                                                             were
                                                                                                    Reclamation                                       extreme                                                                                                                            manageable at
                                                                                           8/2/2015 Facility          raw sewage      other           weather               450,000.00      15,000,000.00 na                  Clam Bayou     na                          1             1 the plant.
                                                                                                    50th Street
                                                                                                    Street / 31st                     manhole         extreme
                                                                                           8/5/2015 Avenue            raw sewage      overflow        weather               186,000.00         186,000.00                0.00 Boca Ciega Bay na                          1             0
                                                                                                    2350 Lamparilla                   manhole
                                                                                          1/29/2015 Way S.          raw sewage        overflow        grease                       80.00             50.00              30.00 not provided   not provided                1             1
                                                                                                    1400 38th St.                     manhole         extreme
                                                                                           8/3/2015 N.                raw sewage      overflow        weather                     950.00              0.00             950.00 na             not provided                0             1
                                                                                                    53rd Av. N and                    manhole         extreme
                                                                                           8/2/2016 10th St. N.    raw sewage         overflow        weather                25,000.00                0.00        25,000.00 na               not provided                0             1
                                                                                                    Albert Whitted                                                                                                                                                                         not clear where
                                                                                                    Reclamation                                       extreme                                                                                                                              discharge
                                                                                           8/8/2015 Facility          treated water   storage tank    weather            15,000,000.00                                                                                                     flowed.
                                                                                                    Beach Drive @
                                                                                                    Coffee Pot Blvd                                                                                                                                                                        type of
                                                                                                    + 1st St. @                       manhole         extreme                                                                 Coffee Pot                                                   discharge not
                                                                                           6/7/2016 30th Ave                          overflow        weather                60,000.00          60,000.00                     Bayou                                      1                 reported
                                                                                                    38th St. South,                   manhole
                                                                                           6/8/2016 26th Ave South raw sewage         overflow        rain                   57,750.00                            57,750.00                  Clam Bayou                  0             1
                                                                                                    2125 Anastasia                                    hole in force                                                                          "pond on golf
                                                                                          8/29/2016 Way South      raw sewage         force main      main              over 1,000.00                        over 1,000.00                   course"         unclear                   1
                                                                                                    26th Ave. S,                      manhole
                                                                                          8/31/2016 35th St. S        raw sewage      overflow        rain              unknown            unknown           unknown
                                                                                                                                                                        between 78 and between 78 and
                                                                                                                   partially treated hydraulic                          93 million     93 million
                                                                                           9/5/2016 601 8th Ave SE effluent          overload         rain              gallons        gallons                                Tampa Bay                                  1
                                                                                                                                                      "work at Albert
                                                                                                    507 12th Ave.                     manhole         Whitted Pump
                                                                                           9/9/2016 S.                raw sewage      overflow        Station"                 2,400.00          2,400.00                     Booker Creek                               1             0
                                                                                                    5800 54th Ave.                  operator failed                                                                                                                                        contained
                                                                                          9/19/2016 S.             treated effluent to return valve   operator error         69,000.00                                                                                                     onsite
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                                                                                                                                                                                    Northwest WRF
                                                                                                                                                                                             Estimated           Estimated        FLOWED TO      FLOWED TO      REACH
                                                                                      DATE OF                                                                            Estimated           Volume of           Volume of        SURFACE        STORMWATER     SURFACE         REACH STORM
                                                                                      DISCHARGE       LOCATION OF       TYPE OF           SOURCE OF       CAUSE OF       Total Volume        Discharge to        Discharge to     WATER          SYSTEM         WATER           DRAIN
                                                                                      VIOLATION       DISCHARGE         DISCHARGE         DISCHARGE       DISCHARGE      of Discharge        Surface Water       Storm System     (NAME)         (NAME)         (Y=1/N=0)       (Y=1/N=0)   NOTES
                                                                                                                                                                                708,925              14,240                                                                 9
                                                                                                    5932 Dartmouth
                                                                                          7/12/2011 Ave N          raw sewer              manhole         grease                    100                      0                  0 na             na                         0             0
                                                                                                                                                    mechanical
                                                                                                                                   chlorine contact failure/contracto
                                                                                          6/12/2013 Northwest WRF treated effluent basin            r                           205,000               4,000                     0 not provided   na                         1             0
                                                                                                    East side of
                                                                                                    Chlorine                            reclaimed water
                                                                                          8/14/2013 Contact Basin       reclaimed water line            line break                  500                 200                200 not provided      not provided               1             1
                                                                                                    7202 Dartmouth
                                                                                          12/7/2011 Ave N          raw sewer              manhole         grease                        75                   0                  0 na             na                         0             0
                                                                                          3/27/2012 108 108th Av.       raw sewer         discharge hose line break              80,000                      0           80,000 na               not provided               0             1
                                                                                                    1st S. & Sunset
                                                                                           9/4/2012 Dr. S           raw sewer             not provided    other                   1,500               1,500                     0 not provided   na                         1             0
                                                                                                                                                          mechanical
                                                                                          11/3/2012 Northwest WRF digested sludge #2 digester             failure                   300                      0                  0 na             na                         0             0
                                                                                                    6191 24th Ave                                                                                                                 drainage ditch
                                                                                          1/13/2013 N.                  raw sewer         manhole         roots                         40               40                     0 behind address na                         1             0
                                                                                                                                                                                                                                  intracoastal
                                                                                                                                                                                                                                  waterway at
                                                                                                    Sunset Blvd. &                                        extreme                                                                 Central Av
                                                                                           6/7/2016 Central Ave         raw sewer         manhole         weather                   900                 900                     0 Bridge         na                         1             0
                                                                                                                                                                                                                                drainage ditch
                                                                                                    22nd Av @ 60th                                        extreme                                                               in the middle of
                                                                                           6/7/2016 Way N          raw sewer              manhole         weather                 7,500                      0            7,500 location         na                         0             1
                                                                                                                                                                                                                                from storm
                                                                                                                                                          extreme                                                               sewer to
                                                                                           6/7/2016 691 56th St. N      raw sewer         manhole         weather                 7,500               7,500               7,500 rentention pond not provided                1             1
                                                                                                                                                          mechanical
                                                                                           6/7/2016 plant lift station partially treated lift station     failure                   500                  50                     0 Jungle Lake    not provided               1
                                                                                          8/31/2015 Alhambra St         raw sewer         manhole         line break                700                      0                  0 na             na                         0             0
                                                                                                    10324 Paradise                                        mechanical
                                                                                          5/13/2013 Blvd.          raw sewer              lift station    failure               400,000                      0         400,000 na                not provided               0             1
                                                                                           6/4/2013 Northwest WRF WAS sludge              sample port     line break                200                      0                  0 na             na                         0             0
                                                                                                    between
                                                                                                    clarifiers 2 and                    reclaimed water
                                                                                         12/18/2013 4                   reclaimed water line            line break                  450                      0                  0 na             na                         0             0
                                                                                                                                        reclaimed water
                                                                                           2/5/2014                     reclaimed water line            line break                1,200                      0                  1 na             na                         0             1
                                                                                                                                                          mechanical
                                                                                          3/18/2014                     treated effluent other            failure                       50                   0                  0 na             na                         0             0
                                                                                                    2901 55th St.
                                                                                         10/15/2014 N.                  raw sewer         manhole         line break                400                      0                  0 na             na                         0             0
                                                                                                                                                            mechanical
                                                                                           8/2/2015 120 108th Ave       raw sewer         air release valve failure               2,000                      0                  0 na             na                         0             0
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                                                                                                                                                                                       Northwest WRF
                                                                                                                                                                                              Estimated            Estimated           FLOWED TO     FLOWED TO       REACH
                                                                                      DATE OF                                                                            Estimated            Volume of            Volume of           SURFACE       STORMWATER      SURFACE         REACH STORM
                                                                                      DISCHARGE      LOCATION OF      TYPE OF         SOURCE OF          CAUSE OF        Total Volume         Discharge to         Discharge to        WATER         SYSTEM          WATER           DRAIN
                                                                                      VIOLATION      DISCHARGE        DISCHARGE       DISCHARGE          DISCHARGE       of Discharge         Surface Water        Storm System        (NAME)        (NAME)          (Y=1/N=0)       (Y=1/N=0)   NOTES
                                                                                                     south digester                                      extreme
                                                                                           6/10/2016 #1               digested sludge digester           weather                         5                    0                    0 na              na                          0             0
                                                                                                     north digester                                      extreme
                                                                                           6/11/2016 #2               digested sludge digester           weather                         5                    0                    0 na              na                          0             0
                                                                                                     Influent Head                    other
                                                                                           8/30/2016 Works            raw sewer       headworks          alarm failure                 500                    50                       Jungle Lake                               1
                                                                                                     Headworks-                       East headworks                                                                                                                                               flowed to in-
                                                                                           8/31/2016 East Barscreen raw sewer         barscreen      power failure                    2,000                   0                    0                                                               plant system
                                                                                                      6049 22 Ave N;
                                                                                                      245 76th St. N;
                                                                                                      435 Park St. N;
                                                                                                      430 Park St. N;
                                                                                                      5753 1st Ave N;
                                                                                                      5701 1st Ave N;
                                                                                                      5778 5th Ave N;
                                                                                                      441 57th St. N;
                                                                                                      5575 5th Ave N;
                                                                                                      601 56th St. N;
                                                                                                      424 Park St. N;
                                                                                                      8400 36th Ave                                                             over 1000
                                                                                           8/31/2016- N; 3600 66th                                                        gallons at each
                                                                                             9/7/2016 Ave. N          raw sewer       manholes           not specified            location       not specified        not specified not provided     not provided
                                                                                                                                      pump bypass,       extreme
                                                                                                     storage tanks                    RWS storage        weather,
                                                                                                     and chlorine                     tank, plant        "treating more
                                                                                                     contact                          effluent, other    water than we                                                                 Jungle Lake
                                                                                                     chamber at NW                    chlorine contact   could discharge 58 million                                                    stormwater    Walter Fuller
                                                                                      9/1-9/7/2016   WRF           treated effluent   chamber            down the wells" gallons              not specified        not specified       pond          Park area                   1             1
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                                                                                                                                                                                      Northeast WRF
                                                                                                                                                                                               Estimated           Estimated        FLOWED TO         FLOWED TO         REACH
                                                                                      DATE OF                                                                              Estimated           Volume of           Volume of        SURFACE           STORMWATER        SURFACE          REACH STORM
                                                                                      DISCHARGE      LOCATION OF     TYPE OF          SOURCE OF        CAUSE OF            Total Volume        Discharge to        Discharge to     WATER             SYSTEM            WATER            DRAIN
                                                                                      VIOLATION      DISCHARGE       DISCHARGE        DISCHARGE        DISCHARGE           of Discharge        Surface Water       Storm System     (NAME)            (NAME)            (Y=1/N=0)        (Y=1/N=0)   NOTES
                                                                                                                                                                                  295,085             115,030                                                                       12
                                                                                                    1160 62nd Av.                    reclaimed water
                                                                                          5/25/2011 NE               reclaimed water line            line break                       100                      0                  0 na                na                            0              0
                                                                                                    900 62nd Av.
                                                                                          8/15/2011 NE               raw sewer        air release valve pipe break                  5,000               5,000                     0 not provided      na                            1              0
                                                                                                                                                      installation of
                                                                                                    1160 62nd Av.                    chlorine contact replacement
                                                                                         10/13/2011 NE               reclaimed water chamber          level sensor                        50                   0                  0 na                na                            0              0
                                                                                         10/30/2011 418 45th Av. N raw sewer          manhole          grease                             30                   0              30 na                   not provided                  0              1
                                                                                                    1160 62nd Av.                     reclaimed water
                                                                                          2/28/2012 N                treated effluent line            line break                      200                      0                  0 na                na                            0              0
                                                                                                    1160 62nd Av.                    reclaimed water mechanical
                                                                                          3/31/2012 NE               reclaimed water line            failure                              50                   0                  0 na                na                            0              0
                                                                                                                                                       extreme                                                                      creek at 54 Av
                                                                                          6/25/2012 701 52nd Av. N raw sewer          manhole          weather                        500                 500                     0 N and 7 St. N     na                            1              0
                                                                                                                                                                                                                                                      storm grate
                                                                                                                                                                                                                                                      mouth of ally,
                                                                                            1/13/13 3941 26th St. N raw sewer         manhole          roots                              25                   0              25 na                   2576 40th Av. N               0              1
                                                                                                    Grand Canal
                                                                                                    Blvd. & Bayou                     sanitary sewer
                                                                                          6/24/2013 Grande Blvd.     raw sewer        line             line break                   7,500                 200               1,000 not provided        not provided                  1              1
                                                                                           8/7/2013 875 62 Av. NE    raw sewer        na               pipe break                     100                      0                  0 na                na                            0              0
                                                                                                    260 Bayview Dr.
                                                                                          12/3/2013 NE              raw sewer         manhole          grease                             80               80                     0 Tampa Bay         na                            1              0
                                                                                                    inlet chlorine
                                                                                                    contact
                                                                                         12/10/2013 chamber          reclaimed water plant effluent    open filter valve              850                      0                  0 na                na                            0              0
                                                                                                    northeast
                                                                                           3/4/2014 WWTP             partially treated manhole         cleaning filter              5,000                      0                  0 na                na                            0              0
                                                                                          3/16/2014 200 78th Av. N raw sewer          manhole          not provided                       50                   0              50 na                   na                            0              1
                                                                                                                                                       mechanical
                                                                                          3/17/2014 clarifier        reclaimed water not provided      failure                      7,000                      0                  0 na                na                            0              0
                                                                                                                                                       operator
                                                                                           4/7/2014 contact basin    treated effluent plant effluent   miscalculation                 250                      0                  0 na                na                            0              0
                                                                                                                                                                                                                                    retention pond
                                                                                                                                                                                                                                    and creek
                                                                                                                                                                                                                                    located on
                                                                                                    1101 116th                                                                                                                      116th Circle N.
                                                                                          6/23/2014 Circle. N.       raw sewer        pipe             line break                     100                  50                     0 at 1100 block   na                              1              0
                                                                                                    northeast                         underground
                                                                                         10/31/2014 WWTP             raw sewer        sewer line       line break                  16,000                      0              50 na                   not provided                  0              1
                                                                                                    1160 62nd Av.                    in-plant service
                                                                                          2/20/2015 NE               reclaimed water line             line break                    5,000                      0                  0 na                na                            0              0
                                                                                                                                                                                                                                    ditch to
                                                                                                                                                                                                                                    unnamed lake
                                                                                                    1160 62nd Av.                    reclaimed water                                                                                on east side of   dry pond NE of
                                                                                          4/18/2015 NE               reclaimed water line            line break                    30,000                 200 not provided          plant grounds     plant grounds                 1              1
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                                                                                                                                                                               Northeast WRF
                                                                                                                                                                                        Estimated           Estimated          FLOWED TO        FLOWED TO        REACH
                                                                                      DATE OF                                                                       Estimated           Volume of           Volume of          SURFACE          STORMWATER       SURFACE         REACH STORM
                                                                                      DISCHARGE     LOCATION OF      TYPE OF          SOURCE OF        CAUSE OF     Total Volume        Discharge to        Discharge to       WATER            SYSTEM           WATER           DRAIN
                                                                                      VIOLATION     DISCHARGE        DISCHARGE        DISCHARGE        DISCHARGE    of Discharge        Surface Water       Storm System       (NAME)           (NAME)           (Y=1/N=0)       (Y=1/N=0)   NOTES
                                                                                                    plant irrigation
                                                                                           5/5/2015 valve stem leak reclaimed water plant irrigation   line break              850                      0                  0 na                 na                           0             0
                                                                                                    1160 62nd Av.                    reclaimed water
                                                                                          6/10/2015 NE               reclaimed water line            line break             49,500                      0                  0 na                 na                           0             0
                                                                                                                                                                                                                           drainage canal
                                                                                                    53rd Av N &                                        extreme                                                             south side of
                                                                                           8/2/2015 10th St.         raw sewer        manhole          weather              25,000              18,000               7,000 54th ave.            na                           1             1
                                                                                                                                                                                                                               catch basin NW
                                                                                                                                                                                                                               corner of 31st
                                                                                           3/2/2016 346 31st Av. N   raw sewer        not provided     grease                  500                 500                         Av & 2nd St.
                                                                                                                                                                                                                             canal on easet
                                                                                                                                                                                                                             side of 1st st. N
                                                                                                                                                                                                                             by way of
                                                                                                    1st St. N @                                        extreme                                                               stormwater box
                                                                                           6/7/2016 42nd Av          raw sewer        manhole          weather              45,000              45,000                     0 culvert           na                            1             0
                                                                                                                                                                                                                                                                                             not clear how
                                                                                                                                                                                                                                                                                             much to surface
                                                                                                                                                                                                                                                                                             water, how
                                                                                                    52nd Av N @                                        extreme                                                               canal between                                                   much to storm
                                                                                           6/7/2016 10th St          raw sewer        manhole          weather              51,300                      0                  0 53rd and 54th      na                           1             0 water.
                                                                                                                                                       extreme
                                                                                           6/8/2016 not provided     raw sewer        manhole          weather              45,000              45,000                     0 unnamed canal na                                1             0
                                                                                                    519 Appian
                                                                                          7/21/2016 Way NE           raw sewer        manhole          grease                      50                   0                  0 na                 na                           0             0
                                                                                                    1021 53rd Ave
                                                                                           8/9/2016 N                raw sewer        manhole          rain                    250                      0             250                       drainage ditch               0             1
                                                                                           8/9/2016 948 51st Ave. N raw sewer         manhole          rain                        50                                                           drainage ditch                             1
                                                                                                    5100 MLK St.
                                                                                           8/9/2016 N.               raw sewer        manhole          rain                        50                                  50                       drainage ditch                             1
                                                                                                                                                                                                                                               flowed to
                                                                                          8/10/2016 701 50th Ave N raw sewer          manhole          rain                        75                   0                  0                 0 drainage ditch                              1
                                                                                                    1101 116th St.
                                                                                          8/22/2016 Circle N.        raw sewer        bypass hose      pipe break              900                      0                  0
                                                                                          8/24/2016 NE WRF           WAS sludge       other            contractor            2,500                 500                         tidal pond                                    1
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                                                                                                                                                                             Northeast WRF
                                                                                                                                                                                Estimated       Estimated       FLOWED TO      FLOWED TO      REACH
                                                                                      DATE OF                                                                   Estimated       Volume of       Volume of       SURFACE        STORMWATER     SURFACE         REACH STORM
                                                                                      DISCHARGE      LOCATION OF     TYPE OF         SOURCE OF      CAUSE OF    Total Volume    Discharge to    Discharge to    WATER          SYSTEM         WATER           DRAIN
                                                                                      VIOLATION      DISCHARGE       DISCHARGE       DISCHARGE      DISCHARGE   of Discharge    Surface Water   Storm System    (NAME)         (NAME)         (Y=1/N=0)       (Y=1/N=0)   NOTES
                                                                                                     4200 1st St. N;
                                                                                                     4139 7th St. N;
                                                                                                     701 50th Ave.
                                                                                                     N; 701 51st Ave
                                                                                                     N; 701 52nd
                                                                                                     Ave. N; 918
                                                                                                     52nd Ave. N;
                                                                                                     948 52nd Ave.
                                                                                                     N; 1020 52nd
                                                                                                     Ave. N; 1030
                                                                                                     53rd Ave. N;
                                                                                                     1200 52nd Ave.
                                                                                                     N; 1220 52nd
                                                                                                     Ave. N; 916
                                                                                                     50th Ave N; 966
                                                                                                     50th Ave. N;
                                                                                                     982 50th Ave.                                                                                              unspecified-
                                                                                      8/31/2016-     N; 3900 25th                                   extreme                                                     "widely
                                                                                      9/7/2016       St. N           raw sewer       manholes       weather     over 1,000.00   over 1000.00    over 1,000.00   distributed"                              1             1
                                                                                                     7500 26th Ave.                                 extreme     58 million
                                                                                            9/1/2016 N.             treated effluent not provided   weather     gallons         not provided    not provided    not provided   not provided
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                                     Exhibit 3

                                       to the

                            Declaration of Justin Bloom

                                   In Support of

                          Plaintiffs’ Motion for Attorneys'
                                    Fees and Costs



                      Suncoast Waterkeeper et al. v. City of St.
                    Petersburg Case No. 8:16-cv-03319-JDW-AEP
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      September 30, 2016

      James Giattina, Director
      Water Protection Division
      U.S. EPA, Region 4
      Giattina.Jim@epa.gov

      Denisse D. Diaz, Chief
      NPDES Permitting and Enforcement Branch
      Water Protection Division
      U.S. EPA, Region 4
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      Ryan Matthews, Director
      Office of Water Policy
      Florida Department of Environmental Protection
      Ryan.Matthews@dep.state.fl.us

      Mary Yeargan, PG
      District Director, Southwest District
      Florida Department of Environmental Protection
      mary.yeargan@dep.state.fl.us

      Re:    Clean Water Act Enforcement, City of St. Petersburg, Florida

      Chief and Directors,

      On Wednesday, Sept. 28, Suncoast Waterkeeper, Inc. (“SCWK”), Our Children’s Earth
      Foundation (“OCE”) and Ecological Rights Foundation (“ERF”) (collectively, "the
      NGOs"), filed their Sixty-Day Notice of Violations of Clean Water Act and Notice of
      Intent to File Suit for serious and ongoing violations of the federal Clean Water Act
      (“CWA”) at the City of St. Petersburg’s publicly owned treatment works.

      The NGOs request a meeting and/or conference call at your earliest convenience to
      discuss a coordinated response to pursuing appropriate enforcement against the City of
      St. Petersburg designed to bring the city promptly into compliance with the Clean Water
      Act. The NGOs and our members are very concerned about the grave water pollution
      crisis brought on by the City's gross negligence towards management of its
      sewage system. Our members have been adversely impacted by being placed at risk of
      getting sick, by being exposed to the noxious odors produced by sewage discharges, by
      having to see the waters they enjoy swimming, boating, and wading in discolored and
      befouled, by knowing that wildlife and seagrasses in Tampa Bay have undoubtably been

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                               www.suncoastwaterkeeper.com	
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      harmed by the onslaught of pathogens, nutrients, and toxins that are in raw or
      inadequately treated sewage. Potentially adding to these injuries, now local waters are
      suffering from red tide conditions that are at least at risk of having been exacerbated by
      St. Petersburg's sewage spills. These red tide conditions are causing extensive fish kills
      and rendering local waters again unfit for water contact recreation.

      A most unfortunate aspect of this problem was the City's inexcusable delay in notifying
      the public of the sewage discharges, which greatly increased the risks of members of the
      public being exposed to sewage related pathogens and eroded confidence in
      government’s ability to protect human health and the environment.

      To ensure that there is a timely and complete remedy that will as promptly as possible
      reduce the risks of repeat sewage spills from St. Petersburg like those witnessed in June,
      August and September (and before as well), the NGOs want a seat at the table in
      negotiating a judicial consent decree that will provide the necessary backstop and
      backbone to secure real change from St. Petersburg. It is important from our perspective
      that there be citizen participation in working out an enforcement response so that the
      local citizenry can be confident that this enforcement response has been complete,
      appropriately strict, and well tailored to community needs and input.

      Collectively, the NGOs have many years of experience with Clean Water Act citizen suit
      actions designed to remedy sewage spill problems. Several of our citizen suits have
      involved coordinated federal EPA, state agency, and NGO pursuit as co-plaintiffs and
      ended in joint consent decrees that we believe have been quite effective. We feel we have
      valuable experience to bring to bear in addressing a remedy for St. Petersburg's spills and
      we hope that your agencies will be receptive to working with us in a similar vein now.

      Please let us know at your earliest convenience whether you are amenable to meeting
      with us and/or having a conference call to further discuss the matter.

                                                    Sincerely,




                                                    Justin Bloom, Esq.
                                                    P.O. Box 1028
                                                    Sarasota, FL 34230
                                                    Tel: (941) 275-2922
                                                    Fax: (866) 574-2169
                                                    E-mail: bloomesq1@gmail.com

                                                    Christopher A. Sproul, Esq.
                                                    Environmental Advocates
                                                    5135 Anza Street
                                                    San Francisco, CA 94121


                                                                                                   2	
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                                             Fredric Evenson, Esq.
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                            www.suncoastwaterkeeper.com	
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                                      Exhibit 4

                                       to the

                             Declaration of Justin Bloom

                                    In Support of

                          Plaintiffs’ Motion for Attorneys'
                                    Fees and Costs



                       Suncoast Waterkeeper et al. v. City of St.
                    Petersburg Case No. 8:16-cv-03319-JDW-AEP
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      April 4, 2018

      Mayor Rick Kriseman
      City of St. Petersburg
      St. Petersburg City Hall
      175 5th St. N.
      St. Petersburg, FL 33701
      Email: mayor@stpete.org

      Councilmember Charlie Gerdes, Email: Charlie.Gerdes@stpete.org
      Councilmember Brandi Gabbard, Email: Brandi.Gabbard@stpete.org
      Councilmember Ed Montanari, Email: Ed.Montanari@stpete.org
      Councilmember Darden Rice, Email: Darden.Rice@stpete.org
      Councilmember Steve Kornell, Email: Steve.Kornell@stpete.org
      Councilmember Gina Driscoll, Email: Gina.Driscoll@stpete.org
      Councilmember Lisa Wheeler-Bowman, Email: Lisa.Wheeler-Bowman@stpete.org
      Councilmember Amy Foster, Email: Amy.Foster@stpete.org

      Re: Proposed Resolution Increasing Retainer Sum for Manson Bolves Donaldson
      Varnes, P.A. to $500,000 in Clean Water Act Citizen Suit against the City of St.
      Petersburg, April 5, 2018 Agenda Item K.2


      Dear Mayor Kriseman and St. Petersburg City Councilmembers:

               We write on behalf of the three non-profit plaintiff organizations involved with
      the Clean Water Act citizen suit against the City of St. Petersburg: Suncoast
      Waterkeeper, Our Children’s Earth Foundation, and Ecological Rights Foundation.
      Through our ongoing legal campaign, we seek an enforceable agreement that will ensure
      compliance with federal law and provide our members and other St. Petersburg residents
      with certainty regarding eventual sewage system improvements. We write at a time when
      the litigation is accelerating to urge you to carefully consider the City’s options for
      resolving this lawsuit and moving forward toward goals we believe we share; namely,
      ecosystem stewardship, public health protection, and necessary maintenance and
      improvements to St. Petersburg’s beleaguered sewage collection and treatment system.

             As you are aware, Executive Assistant City Attorney Joseph Patner has
      recommended the City Council approve a resolution increasing the retainer for Manson
      Bolves Donaldson Varnes, P.A. to $500,000 in the Clean Water Act citizen suit brought
      by Suncoast Waterkeeper (“SCWK”), Our Children’s Earth Foundation (“OCE”) and
Case 8:16-cv-03319-JDW-AEP Document 211-6 Filed 04/03/19 Page 65 of 156 PageID 5277
      R. Kriseman, et al.                            2
      April 4, 2018
      Ecological Rights Foundation (“ERF”) against the City of St. Petersburg.1 We urge the
      City Council that rather than continue to dedicate a large amount of taxpayer dollars
      towards fighting the citizen suit with losing arguments, the City Council approve a much
      more modest sum and direct the City Attorney and its outside counsel at Manson Bolves
      to pursue in earnest settlement of this citizen suit.

              We filed our federal court citizen suit because St. Petersburg has repeatedly
      violated the Clean Water Act by discharging raw and only partly treated sewage from its
      sewage collection and treatment system, endangering the health of our members and the
      public generally and significantly harming the environment. As St. Petersburg's
      consultants’ reports and the testimony of St. Petersburg staff in depositions that we have
      taken in our case have well-documented, the St. Petersburg sewage collection system is
      aging and is in poor condition. St. Petersburg's consultant reports have documented in
      detail extensive defects in the City's sewer main lines that have led to excessive rainfall
      derived infiltration and inflow (RDII) into the City’s sewage collection system. This
      excessive RDII has led to massive sewage spills from St. Petersburg's sewage collection
      system that befouled Tampa Bay’s waters that are heavily used for water contact
      recreation and support sensitive wildlife. These spills have sent raw and partially treated
      sewage streaming into streets, storm drains, Tampa Bay, Clam Bayou, and various other
      local waters. These spills have repeatedly posed serious public health threats and created
      severe nuisance in exposing substantial numbers of people to raw and partially treated
      sewage. Raw and partially treated sewage contains a variety of human bacteriological,
      viral, and parasitic pathogens, and exposure to raw and partially treated sewage is well-
      known to cause various human illnesses. In addition to human waste, sanitary sewage
      contains various toxic chemicals in the wastes discarded by households and businesses.
      Thus, St. Petersburg’s sewage spills pose a serious public health risk in exposing
      members of the public and SCWK, OCE and ERF’s members to sewage-borne
      pathogens and various toxic pollutants. These sewage spills further contributed to killing
      off of vital sea grasses, bird deaths, and likely exacerbated red tide conditions with
      nutrient loading.

              These sewage spills were caused by years of St. Petersburg’s considerable
      neglect in undertaking the sewer line replacement and rehabilitation projects necessary to
      reduce RDII in its sewage collection system. There remains an urgent need for St.
      Petersburg to implement extensive sewer line repair and rehabilitation work to address
      its excessive RDII problem. The City continues to lag behind in completing work that
      should have been done years ago--well in advance of the irresponsible closure of the
      Albert Whitted Wastewater Reclamation Facility in the face of a consultant report


      1
       SCWK, OCE and ERF are non-profit citizen groups with members across the United
      States, including Florida and specifically the Tampa Bay area. SCWK, OCE and ERF’s
      members use the ocean and bay waters and other waters adjoining and in St. Petersburg
      for body contact water sports and other forms of recreation, wildlife observation,
      aesthetic enjoyment, educational study, and spiritual contemplation. These SCWK, OCE
      and ERF members are concerned about water quality and are and will continue to be
      adversely affected by St. Petersburg’s sewage discharge violations.
Case 8:16-cv-03319-JDW-AEP Document 211-6 Filed 04/03/19 Page 66 of 156 PageID 5278
      R. Kriseman, et al.                            3
      April 4, 2018
      expressly warning (presciently) city staff that the other existing treatment plants lacked
      the capacity to handle the added wastewater flow in a storm event that would result from
      closure of the Albert Whitted facility.

              We further filed our lawsuit because, as has been repeatedly reported in the press,
      St. Petersburg officials have not been forthcoming to the public, members of the City
      Council, and officials in other cities, including Gulfport, concerning these spills and the
      public health threats they posed. St. Petersburg officials were slow to warn the public
      that large amounts of sewage had been spilled into waters they recreate in and have been
      less than candid about the causes of these spills and the fixes that are needed to prevent
      future spills. Against this backdrop, we felt it very important that there be citizen
      watchdogs backed by the authority of a federal court to ensure that St. Petersburg is
      transparent about it sewage spill problem going forward and the steps it is taking to curb
      future sewage spills.

               OCE and ERF, along with other citizen groups that are part of the nationwide
      Waterkeeper Alliance that SCWK belongs to, have been involved in several sewage spill
      cases under the Clean Water Act in other areas of the country. All of these actions have
      been resolved through settlement agreements that have helped improve the local
      environment and curb sewage spill problems. We were hopeful that St. Petersburg would
      follow the example of these other cities. Unfortunately, instead, the City’s administration
      and its legal representatives have elected to pursue an extensive legal campaign to defeat
      the citizen suit rather than settle.

               To date, the City’s lawyers have brought three motions in federal court that failed
      and a fourth one that is almost certain to soon fail. The first of these motions sought to
      have the case dismissed on the argument that our groups’ members hadn't been
      sufficiently harmed by the sewage spills so as to have standing to sue. The City
      withdrew this motion when it became clear that the City was flat wrong. The City next
      brought a motion to have the case dismissed on the argument that a Florida Department
      of Environmental Protection (FDEP) consent order issued to the City would preempt and
      bar our citizen suit. Federal Court Judge Whittemore denied this motion, holding that the
      FDEP’s administrative enforcement scheme is not comparable to the Clean Water Act,
      which would be required before any FDEP administrative enforcement action could
      preempt a Clean Water Act citizen suit (see attached January 19, 2018 Order from Judge
      Whittemore). The City also filed a motion requesting the court to stay our citizen suit
      until the outcome of the FDEP administrative action, but Judge Whittemore denied this
      motion as well, expressly finding that "though the terms of the final consent order may
      be considered with respect to any relief granted in this case, those terms will not resolve
      all the issues or moot the remedies available under the CWA” (see attached January 22,
      2018 Order from Judge Whittemore).

              The City has filed a fourth motion asserting two arguments: (1) that it is not
      liable under the Clean Water Act for several of its sewage spills in issue because they
      didn't reach surface waters protected under federal law, so-called “waters of the United
      States” and (2) our case is “moot” because the violations were “isolated, wholly-past,
Case 8:16-cv-03319-JDW-AEP Document 211-6 Filed 04/03/19 Page 67 of 156 PageID 5279
      R. Kriseman, et al.                             4
      April 4, 2018
      and/or are not reasonably likely to recur.” Like the prior motions, this fourth motion
      also is likely to fail.

              On the first argument as to “Waters of the United States,” a City employee
      acknowledged under oath that he had not prepared the key declaration in support of the
      motion and he further testified to an erroneous understanding of the legal term “waters
      the United States,” saying it only meant “any major water body that falls within the
      jurisdiction of the United States government.” This is plainly wrong, U.S. Environmental
      Protection Agency regulations define waters of the United States to not be limited to
      “major water bodies,” but instead to include any water subject to the ebb and flow of the
      tide, the territorial seas of the United States, wetlands adjacent to such waters, and any
      tributaries to any such waters--regardless of size. 40 C.F.R. § 230.3(o). The employee
      also testified that some of the spills that he identified in his declaration as not having
      reached waters of the United States plainly reached waters that are subject to the ebb and
      flow the tide (such as the 45th Avenue Canal and the 54th Avenue Ditch) or that are
      tributary to such waters (such as Jungle Lake, and another unnamed canal leading to
      Placido Bayou)--thus are jurisdictional waters of the United States.

               The second argument is equally meritless — that the case is “moot” because we
      cannot show that the precise sewage spills that we list in our complaint will recur at the
      same locations that they did in the past. The City’s lawyers are again wasting the City’s
      resources in pressing this argument. United States Supreme Court decisions have made
      the law clear: to establish mootness, the City “bears the formidable burden of showing
      that it is absolutely clear the allegedly wrongful behavior could not reasonably be
      expected to recur.” Friends of the Earth v. Laidlaw Envtl. Servs., 528 U.S. 167, 189-90
      (2000). To meet this standard, the City would have to show that it has eliminated all
      possibility of further sewage spills to waters of the United States not just from the precise
      locations where sewage spilled in the past but from anywhere within its still existing
      sewage collection system. Obviously, the City cannot meet this burden, given that it
      spilled over 400,000 gallons and illegally injected 15 million gallons into the deep wells
      during Hurricane Irma just six months ago. In addition, a City employee testified that
      addressing the cause of a specific past spill does not mean that a similar spill will not
      occur elsewhere in the system for the same reason. Clearly the violations are ongoing
      and our citizen claims are not moot.2 See San Francisco Baykeeper v. Tidewater Sand &
      Gravel, 1997 U.S. Dist. LEXIS 22602, at **26-27 (N.D. Cal. Sept. 9, 1997); Save Our
      Bays & Beaches v. City & County of Honolulu, 904 F. Supp. 1098, 1120-21 (D. Hawaii


      2
       Even if the City’s compliance activities could moot a case for injunctive relief, they
      could not moot a case for declaratory relief and penalties. Laidlaw, 528 U.S. at 192-93
      (penalties under the CWA can issue without an injunction); San Francisco Baykeeper v.
      Tosco Corp., 309 F.3d 1153, 1159-60 (9th Cir. 2002) (“district courts can still impose
      civil penalties for violations that have already taken place”); Nw. Envtl. Def. Ctr. v.
      Grabhorn, 2009 U.S. Dist. LEXIS 101359, at **48-49 (D. Or. Oct. 30, 2009). The citizen
      groups have proven and the City has effectively conceded that it has violated the Clean
      Water Act, at a minimum entitling the citizen groups to declaratory judgment, civil
      penalties and the recovery of litigation expenses.
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      R. Kriseman, et al.                             5
      April 4, 2018
      1994) (finding plaintiffs’ claims not moot when defendant continued to operate sewage
      plant).

              As a result of the City electing to pursue a litigation approach rather than a
      settlement approach, we have had no choice but to pursue extensive discovery. To date,
      we have taken nine depositions of City and FDEP officials and have scheduled or
      proposed three to four additional depositions. We have also had to ask for extensive
      document productions. The City’s attorneys have proposed taking their own deposition
      or depositions and have served us with requests for production of documents as well.
      This continues to add up to extensive costs for all concerned. Perhaps the City Council
      has not been apprised of this, but should the City continue to pursue this case to trial,
      rather than negotiate a Consent Decree with plaintiffs, Clean Water Act section 505 (33
      U.S.C. § 1365) would make the City liable to our citizen groups for our attorneys fees
      and costs in addition to having to pay its own lawyers. Indeed, a citizen plaintiff in a
      Clean Water Act citizen suit that has established that a defendant violated the Clean
      Water Act is entitled to an award of fees and costs unless “special circumstances” are
      shown. See Resurrection Bay Conservation Alliance v. City of Seward, 640 F.3d 1087,
      1092 (9th Cir. 2011). The court’s discretion to deny a fee award to a prevailing plaintiff
      is narrow, and denial is “extremely rare.” St. John’s Organic Farm v. Gem County
      Mosquito Abatement Dist., 574 F.3d 1054, 1062-64 (9th Cir. 2009); Resurrection Bay
      Conservation Alliance, 640 F.3d at 1092. Such an award easily be hundreds of thousands
      of dollars given the extensive litigation approach that the City has been pursuing and the
      court’s denial of two of the City’s motions already.

              Additionally, if the City continues to pursue a litigation approach rather than a
      settlement, it will almost certainly be on the hook for potentially large civil penalties that
      the Clean Water Act will mandate be paid to the U.S. Treasury. This would be an
      unfortunate turn of events, as settlements of Clean Water Act citizen suits need not
      include penalties payable to the U.S. Treasury, and our citizen groups would advocate
      that rather than pay a fine to the U.S. Treasury, St. Petersburg fund locally
      environmentally beneficial projects.

              With respect to the City’s potential civil penalty liability for its Clean Water Act
      violations, numerous cases have held that once a defendant's Clean Water Act liability is
      established, the district court's assessment of some amount of civil penalty is mandatory.
      See Atlantic States Legal Found. v. Tyson Foods, Inc., 897 F.2d 1128, 1142 (11th Cir.
      1990) (“This language [Clean Water Act § 309(d)] makes clear that once a violation has
      been established, some form of penalty is required.”); Leslie Salt Co. v. United States, 55
      F.3d 1388, 1397 (9th Cir. 1995) (“We agree with the [Fourth and Eleventh C]ircuits that
      have held that civil penalties are mandatory under section 309(d)”); Stoddard v. W.
      Carolina Reg’l Sewer Auth.,784 F.2d 1200, 1208 (4th Cir. 1986) (finding that section
      309(d)’s penalty provision “leaves little doubt that . . . a penalty in some form is
      mandated. Liability under the [CWA] is a form of strict liability.”); Haw.’s Thousand
      Friends v. City & County of Honolulu, 821 F. Supp. 1368, 1394 (D. Haw. 1993) (“Civil
      penalties are mandatory once [CWA] violations are found….”); Catskill Mountains
      Chapter of Trout Unlimited, Inc. v. City of New York, 244 F. Supp. 2d 41, 48 n.6
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      R. Kriseman, et al.                            6
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      (N.D.N.Y. 2003). Accordingly, the issue is not whether, but how large a civil penalty the
      court will assess for the City’s violations. This penalty must be substantial to deter Clean
      Water Act noncompliance and impose appropriate retribution. Laidlaw Envt'l Serv’s, 528
      U.S. at 185 (“A would-be polluter may or may not be dissuaded by the existence of a
      remedy on the books, but a defendant once hit in its pocketbook will surely think twice
      before polluting again.”); see, e.g., United States v. City of San Diego, 1991 WL 163747
      at **3-6, 21 ELR 21,223 (S.D. Cal. Apr. 18, 1991) (penalizing San Diego $3 million for
      Clean Water Act violations, the most serious of which were about 400 sewage spills to
      waters); Catskill Mountains Chapter of Trout Unlimited, Inc. v. City of New York, 451
      F.3d 77 (2nd Cir. 2006); cert. denied City of New York v. Catskill Mts. Chapter of Trout
      Unlimited, Ltd., 127 S. Ct. 1373 (2007) (materially approving of District Court
      assessment of $5,749,000 CWA civil penalty against the City of New York even though
      violations created no substantial environmental harm and city reasonably believed its
      discharges were lawful); Upper Chattahoochee Riverkeeper v. Atlanta, 98 F. Supp. 2d
      1380, 1384 (N.D. Ga. 2000) (stipulated penalty of $20,000 per sewage spill imposed,
      rejecting defendant’s argument that this penalty was excessive under Clean Water Act
      section 309(d)’s penalty assessment factors).

              Moreover, should this matter be litigated, the Court would be compelled to set a
      civil penalty large enough to be at least equal to the City’s economic benefit of
      noncompliance to achieve deterrence. United States v. Smithfield Foods, Inc., 191 F.3d
      516, 529-531 (4th Cir. 1999), cert. denied, Smithfield Foods, Inc. v. United States, 531
      U.S. 813 (2000); United States v. Dean Dairy, 150 F.3d 259, 263-264 (3rd Cir. 1998);
      United States v. Allegheny Ludlum Corp., 187 F. Supp. 2d 426, 436-437 (W.D. Pa. 2002),
      aff’d in part and vacated in part on other grounds United States v. Allegheny Ludlum
      Corp., 366 F.3d 164 (3rd Cir. 2004). St. Petersburg’s consultants’ reports well-establish
      that the City should have incurred large sums years ago for the capital projects needed to
      prevent the City’s large SSOs in recent years. The City has enjoyed a very large
      economic benefit in avoiding these costs for several years. See, e.g., Sierra Club, Lone
      Start Chapter v. Cedar Point Oil Co., Inc., 73 F.3d 546, 574 (5th Cir. 1996) (economic
      benefit includes both avoided and delayed costs of compliance); United States v. City of
      Beaumont, 786 F. Supp. 634, 637-38 (E.D. Tex. 1992) ($400,000 civil penalty imposed
      to recover city’s economic benefit of noncompliance of $316,000 and to impose
      additional deterrent penalty).

              Consideration of the remaining statutory penalty criteria would warrant increasing
      the City’s civil penalty above its economic benefit of noncompliance. In spilling raw
      sewage on multiple days to waters used by the public, the City has posed public health
      risks, making its violations necessarily serious. See City of San Diego, 1991 WL 163747
      at *3. The economic impact of the penalty factor would not weigh in favor of any
      reduction in the City’s civil penalty. At most, the penalty would necessitate a slight
      increase in the City’s sewer rates, which alone is insufficient basis for reducing a city’s
      penalty. Hawaii’s Thousand Friends, 821 F. Supp. at 1396 (“The impact of a penalty on
      the city will be a slight increase in the monthly rates paid by users of the sewer system.
      Therefore, economic impact is not a mitigating factor.”). The City’s belated efforts to
      reduce its sewage spills would not warrant any substantial reduction in its civil penalties
Case 8:16-cv-03319-JDW-AEP Document 211-6 Filed 04/03/19 Page 70 of 156 PageID 5282
      R. Kriseman, et al.                             7
      April 4, 2018
      as these efforts should have commenced before our suit. The sewage spills proved in this
      case have extended over several years, weighing against any reduction in the City’s
      penalty for the prior history of such violations factor. See, e.g., United States v. Smithfield
      Foods, 972 F. Supp. 338, 349 (E.D. Va. 1997), rev’d in part on other grounds, 191 F.3d
      516.

               In closing, we again urge the City Council not to approve a large increase in the
      litigation budget to continue fighting our citizen suit, but instead to increase the sought
      retainer amount by a modest sum while directing its counsel to pursue settlement. The
      citizen groups remain ready to reach a reasonable settlement along the lines of the many
      settlement agreements reached in similar cases. A settlement will: (1) ensure that the
      City will implement the measures needed to curb its sewage spills given the oversight
      and authority of the federal court, (2) provide for appropriate consultation with and
      accountability to the public and our group as citizen watchdogs, and (3), excuse the City
      from paying large civil penalties to the U.S. Treasury and to keep funds that otherwise
      might be paid to the federal government available for local beneficial use.

              We know that you share our goals to protect our environment. We applaud the
      City for its many environmentally-friendly initiatives. However, we encourage you not
      to be lulled into a path of a legal standoff that prevents constructive dialogue to
      implement a reasonable solution. There is a problem, and we are prepared to offer a
      solution that will result in full compliance with the Clean Water Act, a resolution of our
      citizen suit, and certainty for St. Pete residents.

             Thank you for consideration of our views.


                                     Sincerely,




                                     Joseph McClash
                                     Board Chair
                                     Suncoast Waterkeeper




                                     Annie Beaman
                                     Director of Advocacy & Outreach
                                     Our Children’s Earth Foundation
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      R. Kriseman, et al.                 8
      April 4, 2018
      Cc: Brian Bolves, Esq.
      Douglas Manson, Esq.
      Manson Bolves Donaldson, P.A.
      Justin Bloom, Esq.
      Molly Coyne, Esq.
      Frederic Evenson, Esq.
      Kaki Schmidt, Esq.
      Christopher Sproul, Esq.
Case 8:16-cv-03319-JDW-AEP Document 211-6 Filed 04/03/19 Page 72 of 156 PageID 5284



                                     Exhibit 5

                                       to the

                            Declaration of Justin Bloom

                                   In Support of

                          Plaintiffs’ Motion for Attorneys'
                                    Fees and Costs



                      Suncoast Waterkeeper et al. v. City of St.
                    Petersburg Case No. 8:16-cv-03319-JDW-AEP
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                                                                             August 9, 2018
                                                                             3:00 PM


   A.   Meeting Called to Order and Roll Call.
        Invocation and Pledge to the Flag of the United States of America.

   B.   Approval of Agenda with Additions and Deletions.

   C.   Awards and Presentations

        1.   Keep St. Pete Lit – SunLit Festival

        2.   Senior Hall of Fame Inductees Presentation

   D.   Reports

        1.   Pier Report

             (a) Accepting Addendum No. 3 in an amount not to exceed $1,085,737 submitted by
                 Skanska USA Building, Inc. (“Skanska”) to the Guaranteed Maximum Price
                 (“GMP”) proposal dated April 3, 2018 for the installation of the structural system
                 for the Doc Ford’s Restaurant; providing that the total GMP for the Pier
                 Approach Project shall not exceed $16,883,197; authorizing the Mayor or his
                 designee to execute the Fifth Amendment to the Construction Manager at Risk
                 Agreement with a GMP between the City of St. Petersburg, Florida, and Skanska
                 dated January 10, 2017, as amended, to incorporate Addendum No. 3 to the
                 GMP proposal into such agreement, as amended; authorizing the City Attorney’s
                 office to make non-substantive changes to the Fifth Amendment; and providing
                 an effective date.

        2.   Acknowledgment of Harborage Marina L.L.C. funding commitment; and approval of
             a supplemental appropriation for FY18 special municipal election cost.

   E.   Intergovernmental Reports

        1.   Land Use & Transportation

        2.   Homeless Leadership Board

        3.   Public Arts Commission
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        4.   Tampa Bay Regional Planning Council



   F.   Legal

        1.   Settlement Suncoast Waterkeeper, Our Children’s Earth Foundation, and Ecological
             Rights Foundation v. City of St. Petersburg, Case No: 8:16-cv-3319-JDW-AEP.

   G.   Adjournment




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                            BEFORE THE STATE OF FLORIDA
                      DEPARTMENT OF ENVIRONMENTAL PROTECTION


 STATE OF FLORIDA DEPARTMENT                            )     IN THE OFFICE OF THE
 OF ENVIRONMENTAL PROTECTION                            )     SOUTHWEST DISTRICT
                                                        )
 v.                                                     )     OGC FILE NO. 16-1280
                                                        )
 CITY OF ST. PETERSBURG                                 )


                                  AMENDED CONSENT ORDER
        This Amended Consent Order (Order) is entered between the State of Florida Department
 of Environmental Protection (Department) and the City of St. Petersburg (Respondent or City) to
 reach settlement of certain matters at issue between the Department and Respondent.
        The Department finds and the Respondent neither admits nor denies the following:
         1.     The Department is the administrative agency of the State of Florida having the
 power and duty to protect Florida’s air and water resources and to administer and enforce the
 provisions of Chapter 403, Florida Statutes (Fla. Stat.), and the rules promulgated and authorized
 in Title 62, Florida Administrative Code (Fla. Admin. Code). The Department has jurisdiction over
 the matters addressed in this Order.
        2.      The Respondent is a municipal corporation in the State of Florida and a person
 within the meaning of Section 403.031(5), Fla. Stat.
        3.      The Respondent is the owner and operator of the following wastewater treatment
 facilities (Facilities) and associated wastewater collection/transmission systems (Systems), as well
 as the operator of the municipal separate storm sewer systems (MS4) operated under State of
 Florida Municipal Separate Storm Sewer System NPDES Permit No. FLS000007-004 (MS4
 Permit), serving the City of St. Petersburg and other portions of Pinellas County:
          Albert Whitted Water Reclamation Facility                   601 8th Ave. S.E.
          Northeast Water Reclamation Facility                        11606 2nd Ave. N.E.
          Northwest Water Reclamation Facility                        7500 26th Ave. N.
          Southwest Water Reclamation Facility                        3800 54th Ave. S.
          St. Petersburg Master Reuse System                          1650 Third Ave. N.



                                                  1
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        4.      The Facilities are further described as follows:

                a.      Albert Whitted Water Reclamation Facility (Albert Whitted Facility), a
 12.4 million gallons per day (MGD) annual average daily flow (AADF), Type I modified
 conventional activated sludge domestic wastewater treatment plant. The Albert Whitted Facility is
 operating pursuant to Wastewater Permit No. FLA128830 (Albert Whitted Facility Permit), issued
 on June 1, 2017.     The Albert Whitted Facility is located at 601 8th Avenue Southeast, St.
 Petersburg, in Pinellas County, Florida (Albert Whitted Property).     The Respondent owns the
 Albert Whitted Property on which the Albert Whitted Facility is located.
                b.      Northeast Water Reclamation Facility (Northeast Facility), a 16.0 million
 gallons per day (MGD) annual average daily flow (AADF), Type I complete-mix activated sludge
 domestic wastewater treatment plant. The Northeast Facility is operated under Wastewater Permit
 No. FLA128856 (Northeast Permit), which became effective on June 13, 2016, and will expire on
 June 12, 2021. The Northeast Facility is located at 1160 62nd Ave Northeast, St. Petersburg, in
 Pinellas County, Florida (Northeast Property). The Respondent owns the Northeast Property on
 which the Northeast Facility is located.
                c.      Northwest Water Reclamation Facility (Northwest Facility), a 20.0 million
 gallons per day (MGD) annual average daily flow (AADF), Type I, complete mix activated
 sludge, domestic wastewater treatment plant.         The Northwest Facility is operated under
 Wastewater Permit No. FLA128821 (Northwest Permit), which became effective on September
 14, 2015, and will expire on September 13, 2020. The Northwest Facility is located at 7500 26th
 Avenue North, St. Petersburg, in Pinellas County, Florida (Northwest Property). The Respondent
 owns the Northwest Property on which the Northwest Facility is located.
                d.      Southwest Water Reclamation Facility (Southwest Facility), a 20.0 million
 gallons per day (MGD) annual average daily flow (AADF), Type I, complete mix activated
 sludge, domestic wastewater treatment plant.         The Southwest Facility is operated under
 Wastewater Permit No. FLA128848 (Southwest Permit), which became effective on June 29,
 2015, revised on July 29, 2015, and renewed on May 8, 2018.       The Southwest Facility is located   Commented [A1]: Deleted: “and will expire on June 28, 2017.
                                                                                                       The renewal application for the Southwest Permit is currently
 at 3800 54th Avenue South, St. Petersburg, in Pinellas County, Florida (Southwest Property). The      pending before the Department”

 Respondent owns the Southwest Property on which the Southwest Facility is located.

                e.      St. Petersburg Master Reuse System (St. Petersburg Reuse), a 56 million



                                                  2
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 gallons per day (MGD) annual average daily flow (AADF), Part III slow-rate public access master
 reuse system. The St. Petersburg Reuse is operated under Wastewater Permit No. FLA012881
 (St. Petersburg Permit), which became effective on April 11, 2013, and will expire on April 10,
 2023. The St. Petersburg Reuse is located city-wide with offices at 1650 3rd Avenue North, St.
 Petersburg, in Pinellas County, Florida (St. Petersburg Property).
           5.   The Department makes the following findings of fact and conclusions of law to
 which the Respondent neither admits nor denies:
                a.      Beginning on July 25, 2015, and continuing through August 22, 2015,
 several weather systems moved into and stalled over the State of Florida bringing heavy rainfall,
 strong winds, tidal surge, record river flood staging, flash floods and heavily saturated ground.
                b.      From August 2, 2015 through August 10, 2015, unpermitted discharges of
 wastewater and effluent from several of the Facilities and Systems into waters of the State and/or
 into adjacent canals, ditches and ponds that are connected to waters of the State occurred. These
 unpermitted discharges resulted in the release of approximately 31.5 million gallons of untreated
 wastewater and effluent. The Respondent reported these discharges to the Department.
                c.      On August 6, 2015, Governor Rick Scott issued Executive Order Number
 15- 158, declaring a State of Emergency for Severe Weather and Flooding in Five Counties, which
 included Dixie, Hillsborough, Pasco, Pinellas and Taylor Counties. Section 3 delegates Local
 Government Agencies the authority to waive or deviate from their respective rules, ordinances, or
 orders.
                d.      On June 6, 2016, Governor Rick Scott issued Executive Order Number 16-
 136, declaring a State of Emergency for Tropical Storm Colin, which included 34 counties
 including Pinellas County. Section 4 authorizes some State, regional and local agencies and other
 governmental bodies, in responding to the emergency, to waive or deviate from the statutes, rules
 ordinances, and orders they administer.
                e.      From June 6, 2016 through June 9, 2016, unpermitted discharges of
 wastewater and effluent from several of the Facilities and Systems into waters of the State and/or
 into adjacent canals, ditches and ponds that are connected to waters of the State occurred. These
 unpermitted discharges resulted in the release of approximately 230,000 gallons of untreated
 wastewater and effluent through overflows at manholes and 9.77 million gallons of partially
 treated wastewater through the emergency outfall at Albert Whitted Facility.        The Respondent



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 reported these discharges to the Department.
                f.      On August 31, 2016, Governor Rick Scott issued Executive Order Number
 16-205, declaring a State of Emergency for Tropical Depression #9, which included 42 counties
 (expanded to 51 counties), which included Pinellas County. Section 4 authorizes some State,
 regional and local agencies and other governmental bodies, in responding to the emergency, to
 waive or deviate from the statutes, rules ordinances, and orders they administer.
                g.      From August 31, 2016 through September               13, 2016, unpermitted
 discharges of wastewater of wastewater and effluent from several of the Facilities and Systems into
 waters of the State and/or into adjacent canals, ditches and ponds that are connected to waters of
 the State occurred. These unpermitted discharges resulted in the release of an unknown volume of
 untreated wastewater and effluent through overflows at manholes and lift stations; and between 78
 and 93 million gallons of partially treated wastewater through the emergency outfall at the Albert
 Whitted Facility; and 58 million gallons of partially treated effluent from the Northwest Facility to
 adjacent properties to the south and into Jungle Lake to the north. Additionally, 220.51 million
 gallons of partially treated effluent was disposed into the deep injection wells at the Northwest
 Facility and 561 million gallons of partially treated effluent was disposed into the deep injection
 wells at the Southwest Facility. The Respondent reported these discharges to the Department. An
 attempt was made to open an outfall to Boca Ciega Bay that was not successful and resulted in less
 than 1000 gallons of discharge from two manholes on 26th Avenue N, adjacent to the Northwest
 Facility. The Respondent reported this discharge to the Department.
                h.      Other    unpermitted    discharges   and/or    discharges    in   violation   of
 Respondent’s MS4 Permit, occurring between 2011 and 2016, from several of the Facilities and
 Systems were reported to the Department by the Respondent and were considered by the
 Department and resolved by this Consent Order.
                i.      The facts contained in paragraphs 5b, 5e, 5g and 5h constitute violations by
 the Respondent of Fla. Admin. Code R. 62-600.410(1) and (3), 62-604.130(1) and, 62-
 604.130(4), as well as Section 403.161(1)(b), Fla . Stat.
        Having reached a resolution of the matter, Respondent and the Department mutually agree
 and it is ORDERED:




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        6.       Respondent shall comply with the following corrective actions within the stated
 time periods:
                 a.      No later than February 1, 2018, design and complete a “splitter box” to
 bypass headworks and provide disc filters to the Southwest Facility to increase peak capacity. No
 later than September 30, 2019, complete construction on the Southwest Facility's treatment
 improvements to increase its maximum daily treatment capacity (SW Construction).                   SW
 Construction shall include, but not necessarily be limited to, improvements of the headworks and
 screening capacity; addition of a fourth secondary clarifier; additional effluent dual media filters
 and/or conversion to an alternate filtration technology; addition of a third chlorine contact basin;
 additional effluent pumps; additional and sufficient piping modifications to handle additional
 flow; and
                 b.      No later than February 28, 2018, complete construction of at least one of
 the two new injection wells at the Southwest Facility (SW Injection); No later than September 30,
 2017, complete design and permitting for the SW Injection; No later than October 31, 2017,
 advertise for the construction of the SW Injection; and
                 c.      No later than February 28, 2018, complete construction of the new effluent
 filter at the Northwest Facility (NW Effluent Filter); No later than January 2017 begin design NW
 Effluent Filter; No later than October 31, 2017, begin construction of NW Effluent Filter; and
                 d.      No later than February 28, 2018, complete construction of a new injection
 well at the Northwest Facility (NW Injection); No later than September 30, 2017 complete design
 and permitting for the NW Injection; No later than October 31, 2017 advertise for the construction
 of the NW Injection; pumping upgrades shall be made to increase pressure at the new well(s); and
                 e.      In order to balance wet weather flow between the Southwest and Northwest
 Facilities during wet weather events, Respondent shall construct and operate an additional lift station
 and force main estimated to cost $7.5 million. This new lift station is proposed to be located in the
 Southwest St. Petersburg area. Respondent shall obtain substantial completion of the project by
 October 31, 2021; and
                 f.      The City’s Fats, Oils, and Grease (FOG) Program shall include a schedule for
 implementing measures for expanded residential outreach to educate the public about reducing FOG
 discharges to the collection system from residential sources, which shall include communications to
 residents in areas where the City has discovered repeat FOG problems and posting of educational



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 materials on the City’s website. The FOG Program shall further include a protocol for
 communication between food service establishment (FSE) inspectors responsible for enforcing the
 City’s Grease Management Ordinance (Municipal Code, Chapter 27, Article III, Division 4) and the
 Water Resources Department (“WRD”), including protocols for notifying WRD of FOG violations
 and for inspecting, tracking and monitoring gravity lines that could be affected by FOG from those
 sources. The Root Control Program shall provide for regularly scheduled root cleaning in certain
 repeat problem areas. The Routine Sewer Cleaning Program shall provide for a routine 5 year
 cleaning cycle on gravity lines, with more frequent routine cleaning of repeat problem areas. The
 City shall implement the above measures for FOG, roots and routine sewer cleaning by December
 15, 2018. As part of the Integrated Water Resources Master Plan, Respondent shall add provisions to
 its SSAMP for a FOG Program, Roots Program and Routine Sewer Cleaning Program.
                g.     On June 1, 2018, Respondent shall submit to the Department a status
 update on the Integrated Water Resources Master Plan for evaluating current and future
 capabilities of Respondent’s Facilities and Systems referenced in paragraph 3 and 4. No later than
 December 31, 2019, Respondent shall complete and submit to the Department the Integrated
 Water Resources Master Plan which will provide for 1) modelling of the Facilities and Systems to
 determine the Facilities required to meet the planned level of service; 2) a long term Capital
 Improvement Plan (“CIP”) for implementing identified potable water, reclaimed water,
 stormwater, and wastewater projects; 3) an assessment of needs to optimize and prioritize the
 investment into the System to maximize the benefits to meet environmental compliance and City
 needs; 4) Integrated plan to provide funding for the construction and processes to manage
 stormwater and wastewater projects; 5) a plan that incorporates the findings of the Flow
 Mitigation Report referenced below, to provide for the priority and schedule for further projects
 and management to reduce stormwater inflow and infiltration into the Systems; 6) measures for
 continued routine maintenance of the wastewater collection/transmission systems
 pursuant to applicable generally recognized industry standards; and 7) identify the
 necessary annual level of maintenance and capital expenditure necessary to properly maintain the
 Systems in the long term. As part of its Integrated Water Resources Master Plan, Respondent shall
 establish a Sewer System Asset Management Plan (“SSAMP”) setting forth the measures and
 implementation schedules for the City’s maintenance and operation of its publicly owned treatment
 works (“POTW”), including provisions for a gravity sewer line and manhole inspections and



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 response program; a force main condition assessment and cleaning program; a pump station
 condition assessment and repair, replacement and rehabilitation program; a Rainfall Derived
 Infiltration and Inflow (“RDII”) evaluation and reduction plan; FOG and root control programs; a
 sewer cleaning program; and information management system that is regularly updated and linked to
 required GIS layers. The SSAMP shall be consistent with the Integrated Water Resources Master
 Plan recommendations. The Integrated Water Resources Master Plan shall include: (i) a schedule and
 budget for implementation of its SSAMP and for operating and maintaining its POTW, and (ii)
 determination of financial resources to implement its SSAMP and operate and maintain its POTW,
 including evaluation of increases in funding for sewer facilities. Following submittal of its CIP as
 required above in this paragraph, Respondent shall annually update its CIP for: implementing
 identified potable water, reclaimed water, stormwater, and wastewater projects.        The CIP will
 incorporate, funding for repairs needed pursuant to the SSAMP inspection/assessments process and
 for all other commitments under this Amended Consent Order; and
                    h.   As part of the Integrated Water Resources Master Plan, Respondent shall add
 provisions to its SSAMP for a Pump Station Condition Assessment and Repair, Replacement and
 Rehabilitation Program, which shall specify methods and a time schedule for assessments of the
 condition and performance of the City’s pump stations. “Pump Stations” shall mean facilities
 comprised of pumps that lift wastewater to a higher hydraulic elevation, including all related
 electrical, mechanical, and structural systems necessary to the operation of that pumping station. The
 Pump Station Condition Assessment and Repair, Replacement and Rehabilitation Program shall: (1)
 include evaluation of condition of electrical, mechanical, and structural systems, (2) ensuring
 appropriate maintenance of spare parts inventory, (3) evaluate and, as necessary, update or improve
 utilization of SCADA alarm systems, (4) evaluate the need for and, as necessary, ensure backup
 power generation, and (5) evaluate and, as necessary, ensure availability of portable pumps to
 address pump station failures. Respondent shall include in this program an appropriate repeat cycle
 for pump station condition assessment. By October 31, 2018, Respondent shall commence pump
 station condition assessments and institute repairs, rehabilitation or replacement when the assessment
 indicates such actions are warranted; and
               i.        As part of the Integrated Water Resources Master Plan, Respondent shall add
 provisions to its SSAMP for a Rainfall Derived Infiltration and Inflow (“RDII”) Evaluation and
 Reduction Plan. This Plan shall require evaluation of the sources and extent of contribution from



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 RDII to the collection system flow (the collection system means sewer main lines, sewer lateral lines,
 and manholes) via evaluation of sewer line condition, smoke testing, flow metering, evaluation of
 MS4 mapping, and other appropriate methodologies.
                1)      Phase 1 Infiltration Screening Study: The RDII Plan shall include a
            Phase 1 Infiltration screening study for each flow meter basin (where permanent
            flow meters are installed) or pump station service area that shall consist of an
            infiltration measurement/estimate based upon night-time flow divided by the
            length-diameter of the gravity sewer line in the service area. For the Phase I
            Infiltration Screening Study, the one test of each flow meter basin shall use
            continual flow measurement for two nights (12:00 am through 5:59 am) taken: one
            during the dry season and one during the wet season. Units shall be in gpd/inch
            diameter miles.
                2)      Phase 2 Infiltration Screening Study: For any flow meter basin or
            pump station service area showing excessive infiltration from the Phase 1 study,
            the City shall perform an additional assessment of infiltration and RDII sources
            and potential remedies for reducing these flows for each flow meter / pump station
            service area. The excessive infiltration screening threshold for the Phase 2 RDII
            evaluation will be determined during the IWRMP and SSAMP process.
                j.      As part of the Integrated Water Resources Master Plan, Respondent shall
 include a conclusion, with justification, whether Respondent should reopen the Albert Whitted
 Facility. If Respondent concludes it should reopen the Albert Whitted Facility, Respondent shall
 provide a timeline with associated measures required to reopen.          If Respondent concludes it
 should not reopen the Albert Whitted Facility, then Respondent shall include a plan for providing
 alternative replacement capacity; and
                k.      No later than December 31, 2018, submit the final report of Respondent's
 Wet Weather Flow Mitigation Program (Flow Mitigation Report). The Flow Mitigation Report at
 a minimum shall provide the results of the flow monitoring study, a ranking of basins and the
 results of the inflow and infiltration (I/I) study, and identify all areas within the Systems in need of
 replacement or rehabilitation. No later than December 31, 2016, Respondent shall complete first
 collection cycle of field data.    No later than December 31, 2017, Respondent shall complete
 second collection cycle of field data. No later than October 31, 2018, Respondent shall complete



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 data evaluation and update the hydraulic model. No later than December 31, 2018, Respondent
 shall use the hydraulic model to simulate a stress test of the Systems and submit the Flow
 Mitigation Report to the Department; and
                l.      From 2018 through 2023, the City commits to spending $16 million per year         Commented [A2]: Deleted: “as presented to City ” and deleted
                                                                                                          “for at least the next five years”, and instead replaced with “from
 (adjusted on an annual basis starting on July 1, 2018, by the United States Government Bureau of         2018 through 2023”
                                                                                                          Commented [A3]: Deleted: “$14” and replaced with “$16”
 Labor Statistics, CPI for All Urban Customers: Water and Sewage Maintenance) on pipe and lateral         million

 lining and replacement (including private laterals as determined appropriate by the City), and
 manhole rehabilitation (collectively Maintenance). In addition to this five year commitment, the City
 shall as part of the Integrated Water Resources Master Plan identify the necessary annual level of
 Maintenance and capital expenditure necessary to properly maintain the Systems in the long term.
 The Integrated Water Resource Master Plan shall include the review and consideration of the I/I
 reduction data that is currently being gathered by the City's consultants in establishing the annual
 level of Maintenance and capital expenditures necessary to continue to reduce I/I within the
 wastewater collection system. The Maintenance shall target the areas of greatest I/I first. No later
 than January 31, 2022, the City shall complete the Maintenance in the targeted collection system
 areas as recommended in the Flow Mitigation Report and in accordance with the annual funding
 commitments made herein; and                                                                             Commented [A4]: Deleted: “and (ii) pass an ordinance
                                                                                                          regarding the replacement of private laterals that contribute to I/I
                m.      No later than June 30, 2020, Respondent shall pass an ordinance regarding         to the City’s Systems” because this is now addressed below in 6m.

 the replacement of private laterals that contribute I/I to the City's Systems. By October 15, 2018,
 the City shall start giving notice to property owners found with defective private laterals in need of
 repair or replacement and tracking those properties in its information system; and
                n.      Gravity Sewer Line and Manhole Inspections and Response Program. By
 October 1, 2023, Respondent shall have completed an initial 5-year inspection of all of the City’s
 gravity sewer lines and manholes, at a rate of approximately 20% of the gravity sewer lines and
 manholes inspected each year for 5 years. “Gravity Sewer Line” shall mean a pipe that receives,
 contains and conveys wastewater not normally under pressure, but is intended to flow unassisted
 under the influence of gravity. Such inspection shall be with CCTV inspection of gravity sewer lines,
 with Pipeline Assessment Certification Program (PACP) and Manhole Assessment Certification
 Program (MACP) condition assessments and grading system under NASSCO guidelines. CCTV
 inspection of gravity lines will include, to the extent feasible, examination of public lateral sewer
 lines by pausing at public laterals to estimate lateral infiltration and by turning CCTV cameras



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 toward the public lateral lines where they enter the main lines. The City shall prioritize areas for
 inspection which are identified as areas of high groundwater infiltration or high rain-derived
 infiltration and inflow, according to data developed under the Wet Weather Overflow Mitigation
 Program – Phase II. After the initial 5-year inspection of the entire system (City’s gravity sewer lines
 and manholes), Respondent shall perform continuous 10-year inspection cycles of all of the City’s
 gravity sewer lines and manholes under the PACP/MACP standards, at a rate of 10% of the gravity
 sewer lines and manholes inspected each year. Once the City is in a 10-year inspection cycle, QTV
 may only be used to inspect gravity lines that are new or newly-lined within the last 5 years. Any
 gravity sewer line where the passage of the CCTV camera was blocked by the condition (including
 roots and debris) of the pipe or the camera was unable to view the pipe walls and joints due to high
 flows shall result in the sewer line segment being defined as failed and shall be repaired or replaced
 within twelve (12) months of the failed attempt to inspect that line and re-inspected within five (5)
 years. The City shall take corrective action (i.e., lining, repair, replacement or rehabilitation) on the
 gravity lines and manholes based on the findings of the PACP/MACP assessments and consistent
 with industry standards and professional engineering judgment indicating appropriate corrective
 action, and it shall document the corrective actions taken or scheduled to be taken. Nothing herein
 prohibits the City from addressing defects at any time, regardless of the status of inspection work or
 Prioritization Plan.   Respondent’s SSAMP shall include a Gravity Sewer Line and Manhole
 Inspection and Response Program, which shall include gravity sewer line inspection via CCTV and
 visual inspection of manholes under National Association of Sewer Service Companies (“NASSCO”)
 standards and standard operating procedure to remediate defects; and
                 o.      Respondent shall complete Microbial Testing of the following areas identified
 in Respondent’s Water Quality Report Card as needing further investigation: (i) Salt Creek (ii)
 Fossil Park Lake, (iii) 54th Street Canal, (iv) 45th Street Canal, (v) Clam Bayou, (vi) Lake Maggiore,
 (vii) Booker Creek, and (viii) South Side of 38 th Ave; Respondent shall budget up to $800,000 for
 this task. If the Microbial Testing indicates the presence of fecal indicator bacteria in excess of the
 10% threshold value for Class III Fresh Waters (62-302.530, F.A.C.) or action values for “Healthy
 Beaches Program” for Marine Waters then Microbial Source Tracking of the waterbody will be
 implemented to completion; and
                 p.      No later than April 30, 2017, renew existing manhole rehabilitation
 contract and finish year 2 of existing cured in place pipe (CIPP) mainline sewer lining contract;



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 No later than April 30, 2017, renew existing CIPP mainline sewer lining contract; No later than
 June 30, 2017 , award a second CIPP mainline sewer and public laterals lining contract; and
                 q.      Beginning 30 days from the effective date of this Order and continuing
 semiannually thereafter, the Respondent shall submit a written report (Implementation Report) to
 the Department summarizing the status of implementing Paragraph 6 and proposing any                          Commented [A5]: Deleted: “paragraphs 6a through 6i” and
                                                                                                              instead made this provision apply to all of paragraph 6
 modifications deemed essential to minimize wastewater overflows from the Systems and
 Facilities (i.e. the Implementation Report shall be due on January 28 and July 28 each year during
 the pendency of this Order).       Any modifications are subject to Department approval.               The
 Implementation Report shall also include a projection of the work to be performed during the
 following year; and
                 r.      Critical force mains for purposes of this Paragraph refers to the force mains
 associated with the twenty-two (22) pump stations located at the following addresses: 4200 sunrise
 Dr S, 101 Elcan Blvd SE, 500 Snell Isle Blvd NE, 3501 Poplar St NE, 5002 Shore Acres Blvd NE,
 9110 3rd St N, 3801 30th Ave N, 8320A Elbow Lane N, 601 Grevilla Ave S, 4015 9th St S MLK St,
 5499 4th St S, 1942 Serpentine Dr S, 6100 Pinellas Bayway S, 4950 54th Ave S, 10201 9th ST N,
 11801A 28th St N, 6901 Park Cir S (Pas Ave/2nd St), 9600 San Martin Blvd N (C.R. 823), 512
 Sands Point Dr, 340 Carillon Park Way N, 9399 28th St N, and 601 8th Ave SE. Within twelve (12)
 months of the effective date of this Amended Order, Respondent shall perform a desktop assessment
 of all force mains, and within two (2) years of the effective date of this Amended Order, Respondent
 shall clean all Critical force mains, and thereafter re-assess these Critical force mains every 5 years.
 Within 6 months of completing any Critical force main condition assessments, Respondent shall add
 to its CIP any force main repair, rehabilitation or replacement projects warranted based on the results
 of Respondent’s force main condition assessment. Respondent shall identify and ensure the proper
 GIS mapping of its force main condition assessment and cleaning as part of Respondent’s
 Information Management System, including (a) the location of all force mains within the Systems,
 (b) all force main line air release valves (ARVs), and (c) all force main line operation valves; and
                 s.      By December 31, 2019, Respondent shall install elapsed time meters on each
 pump station with fixed speed pumps with pump horsepower in excess of 25hp for purposes of
 tracking the Nominal Average Pump Operating Time (NAPOT) such that when the NAPOT
 exceeds 10 hours/day, the City should investigate potential sources and remedies for high NAPOT
 runtimes. For purposes of this Paragraph, “NAPOT” shall be defined for single speed pumps as the



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 daily average total pump operating hours for the previous twelve (12) months divided by one less
 than the total number of pumps installed at the station, calculated monthly on a rolling basis, unless
 otherwise subsequently agreed to by the parties in writing. For multi-speed or variable speed pumps,
 Respondents shall calculate the pump operating time based upon power consumption unless
 otherwise subsequently agreed to by the parties in writing. By May 30, 2019, Respondent shall
 install permanent flow meters throughout the system, in locations recommended by its consultant
 for the Wet Weather Flow Mitigation Program – Phase II, in order to monitor system response to
 wet weather events and detect problems within the Systems.
         7.      Upon the effective date of this Order, Respondent shall report to the Department
 all unpermitted wastewater and effluent discharges from the Systems and the Facilities as soon as
 possible, but within 24 hours from the time the Respondent becomes aware of the discharge, as
 required by 62-604.550 and 62-620.610(20) Fla . Admin. Code R., respectively
         8.      Public Advisories and Notification Protocol: By October 31, 2018, for Non-SSO
 Water Quality Monitoring, the Respondent shall commence notifying the Pinellas County
 Department of Health and applying the “Healthy Beaches” protocol for advisories/notification to the
 public when sampling conducted in “Recreational” and “Background” monitoring areas indicates
 high levels of indicator bacteria in excess of 10% threshold value for Class III Fresh Waters (62-
 302.530, F.A.C.) or action values for “Healthy Beaches Program” for Marine Waters for the
 following locations: Weedon Island Park, Fossil Park, Salt Creek Park, Walter Fuller Park, Jungle
 Prada Park, Grandview Park, Bay Vista Park, Clam Bayou Nature Preserve and Sunset Park.               For
 SSOs    and    Unauthorized     Discharges,   the    Respondent    shall   follow    the   protocol   for
 advisories/notification to the public outlined in Respondent’s 2018 Capacity, Management,
 Operation, and Maintenance (CMOM) Program. Respondent shall amend its 2017 Sewage Spill
 Response Contingency Plan to add a section for the public notification protocol described in
 Respondent’s 2018 CMOM and shall implement such protocol. Advisories and notifications should
 include notifying the public as soon as possible through social media, calls or emails to neighborhood
 associations, website, press releases, posters and signs at access points controlled by the City.
         9.      No later than December 31, 2017, complete and submit to the Department a Water
 Quality Monitoring Assessment Report providing for 1) the identification of the public use of
 recreational waters in and around the area(s) of the potential wastewater discharge to such waters;
 2) the evaluation of effectiveness of the existing monitoring program to detect changes to



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 receiving water bodies and provide recommendations for baseline, wet weather condition, and
 compliance testing frequency, parameters and process; 3) the analysis of the need for soil testing
 at potential wastewater discharge outfalls; 4) the identification of any water quality data gaps in
 existing monitoring to ensure adequate coverage for determining the effects of any wastewater
 discharge to the water body; 5) the creation of a Water Quality Report Card to be published on the
 Respondent's website and distributed to the public. By April 30, 2018, Respondent shall update its
 Capacity, Management, Operation, and Maintenance (CMOM) Program for its Systems. This shall
 be done in accordance with USEPA document 305-B-05-002, dated January 2005, and shall contain
 an updated Sanitary Sewer Overflow Response Plan, which in turn, shall contain detailed provisions
 for environmental monitoring derived from the Water Quality Monitoring Assessment Report. The
 Respondent will also include a detailed section in the CMOM on public notification providing for
 posting of signage within 24 hours of a wastewater discharge at or near recreational waters identified
 in the Water Quality Monitoring Assessment Report and the method for public notification within 24
 hours of wastewater discharges to Waters of the State to Respondent’s website, social media and
 other media outlets.
        10.     In any event, by December 31, 2022, and thereafter, the Facilities and Systems
 shall be in compliance with all Department rules that are the subject of this Consent Order.
        11.     Within 1 8 0 days of the effective date of this Order, Respondent shall submit a          Commented [A6]: Deleted: “90” days and changed to 180 days

 written estimate of the total cost of the corrective actions required by this Order to the Department.
 The written estimate shall identify the information the Respondent relied upon to provide the
 estimate.                                                                                                Commented [A7]: Because the amount has already been paid,
                                                                                                          deleted: “Within 60 days of the effective date of this Order,
        12.     Respondent agrees to pay to the Department stipulated penalties in the amount of          Respondent shall pay the Department $10,000.00 for costs and
                                                                                                          expenses incurred by the Department during the investigation of
 $1,000.00 per day for each day Respondent fails to comply with paragraphs 6 through 7 , 9, 10,           this matter and the preparation and tracking of this Order. “

 16 through 18 and 32 of this Order. The Department may demand stipulated penalties at any time
 after violations occur. Respondent shall pay stipulated penalties owed within 30 days of the
 Department's issuance of written demand for payment, and shall do so as further described in
 paragraph 19, below. Nothing in this paragraph shall prevent the Department from filing suit to
 specifically enforce any terms of this Order. If the Department is required to file suit to recover
 stipulated penalties, the Department will not be foreclosed from seeking civil penalties for
 violations of this Order or any other provision of law in an amount greater than the stipulated
 penalties under this paragraph.



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        13.     For any discharge of wastewater from any of Respondent's Facilities or Systems
 through a point source not permitted in any NPDES permit, as well as any overflow, spill or
 release of wastewater to public or private property from any of Respondent's Facilities or Systems
 (Discharge), Respondent agrees to pay to the Department stipulated penalties as follows:
                a.      Amount per day per Discharge           Discharge Volume
                        $500.00                                up to 5,000 gallons
                        $1,000.00                              5,001 to 10,000 gallons
                        $2,500.00                              10,001 to 25,000 gallons
                        $5,000.00                              25,001 to 100,000 gallons
                        $10,000.00                             more than 100,000 gallons
                b.      Under this paragraph, the term “day” shall mean each successive 24-hour
 period after the commencement of the Discharge. Each Discharge shall be considered to have
 ceased when the Discharge has ceased. The Department will evaluate each Discharge on a case-
 by-case basis and the Department may decide at its sole discretion not to collect or demand a
 penalty. The Department may demand stipulated penalties at any time after violations occur.
 Respondent shall pay stipulated penalties owed within 30 days of the Department's issuance of
 written demand for payment, and shall do so as further described in paragraph 19, below. On an
 assessed penalty under this paragraph, the Respondent may elect to off-set the penalty amount by
 implementing a Department approved Pollution Prevention (P2) Project. Nothing in this paragraph
 shall prevent the Department from filing suit to specifically enforce any terms of this Order.
                c.      Respondent shall not be liable for stipulated penalties under paragraph 13
 above if Respondent demonstrates that the Discharge was caused by an Act of God, vandalism, a
 non-Respondent contractor, or any act of a third party not working directly or indirectly on behalf
 of Respondent and Respondent demonstrates that it has used all reasonable measures to prevent
 such Discharge.
                d.      If the Department is required to file suit to recover stipulated penalties, the
 Department will not be foreclosed from seeking civil penalties for violations of this Order or any
 other provision of law in an amount greater than the stipulated penalties under this paragraph.
        14. Respondent w a s a s s e s s e d b y the Department $810,000.00 as a civil penalty for        Commented [A8]: Deleted: “Within 30 days after the effective
                                                                                                          date of this Order, Respondent shall pay to” and replaced with
 the violations in paragraph 5.                                                                           “was assessed”

        15.     In lieu of making cash payment of $810,000.00 in civil penalties as set forth in
 Paragraph 14, Respondent may elect to off-set the amount of $810,000.00 by implementing a



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 Pollution Prevention (P2) Project, which must be approved by the Department. P2 is a process
 improvement that reduces the amount of pollution that enters the environment; by conserving
 resource (including water, raw materials, chemicals, and energy) use, or by minimizing waste
 generation (including domestic and industrial wastewater, solid and hazardous waste, and air
 emissions).    A P2 Project must reduce pollution or waste within the process beyond what is
 required by federal, state, or local law, to be eligible for civil penalty offset under this Order. If
 Respondent chooses to implement a P2 Project, Respondent shall notify the Department of its
 election by certified mail within 30 days of the effective date of this Order.
         16.      If Respondent elects to implement a P2 Project as provided in Paragraph 15,
 Respondent shall submit a completed P2 Project Plan (Plan) within 90 days of the effective date
 of this Order. The Plan must be completed using Exhibit 1, “P2 Project Plan” template.
         17.      In the event the Department requires additional information to process the Plan
 described in Paragraph 15, Respondent shall provide a modified Plan containing the information
 requested by the Department within 30 days of the date of the request.
         18.      If any balance remains after the entire P2 credit is applied to the allowable portion
 of the civil penalty, Respondent shall pay the difference within 30 days of written notification by
 the Department to Respondent that the balance is due.
         19.      Respondent shall make all payments required by this Order by cashier's check,
 money order, City check or on-line payment. Cashier's check, money order, or City check shall
 be made payable to the "Department of Environmental Protection" and shall include both the
 OGC number assigned to this Order and the notation "Water Quality Assurance Trust Fund."
 Online payments           by check can be made by           going   to   the   DEP Business       Portal:
 http://www.fldepportal.com/go/pay/. It will take several days after this order is final and effective
 filed with the Clerk of the Department before ability to make online payment is available.
         20.      Except as otherwise provided, all submittals and payments required by this Order
 shall   be    sent   to    Kelley   Boatwright   (KelleyBoatwright@dep.state.fl.us)     Department     of
 Environmental Protection, Southwest District Office, 13051 N. Telecom Parkway, Temple
 Terrace, Florida 33637-0926.
         21.      Respondent shall allow all authorized representatives of the Department access to the
 Facilities and the properties referenced in paragraphs 3 and 4 at reasonable times for determining
 compliance with the terms of this Order and the rules and statutes administered by the Department.
         22.      If any event, including administrative or judicial challenges by third parties unrelated




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 to Respondent, occurs which causes delay or the reasonable likelihood of delay in complying with
 the requirements of this Order, Respondent shall have the burden of proving the delay was or will be
 caused by circumstance s beyond the reasonable control of Respondent and could not have been or
 cannot be overcome by Respondent's due diligence. Neither economic circumstances nor the failure
 of a contractor, subcontractor, materialman, or other agent (collectively referred to as "contractor") to
 whom responsibility for performance is delegated to meet contractually imposed deadlines shall be
 considered circumstances beyond the control of Respondent (unless the cause of the contractor's late
 performance was also beyond the contractor 's control). Upon occurrence of an event causing delay,
 or upon becoming aware of a potential for delay, Respondent shall notify the Department by the next
 working day and shall, within seven calendar days, notify the Department in writing of (a) the
 anticipated length and cause of the delay, (b) the measures taken or to be taken to prevent or
 minimize the delay, and (c) the timetable by which Respondent intends to implement these measures.
 If the parties can agree that the delay or anticipated delay has been or will be caused by
 circumstances beyond the reasonable control of Respondent, the time for performance hereunder
 shall be extended. The agreement to extend compliance must identify the provision or provisions
 extended, the new compliance date or dates, and the additional measures Respondent must take to
 avoid or minimize the delay, if any. Failure of Respondent to comply with the notice requirements of
 this paragraph in a timely manner constitutes a waiver of Respondent's right to request an extension
 of time for compliance for those circumstances.
         23.     The Department, for and in consideration of the complete and timely performance
 by Respondent of all the obligations agreed to in this Order, hereby conditionally waives its right
 to seek judicial imposition of damages or civil penalties for the violations described above up to
 the date of the filing of this Order. This waiver is conditioned upon Respondent's complete
 compliance with all the terms of this Order.
         24.     This Consent Order covers all SSOs and discharge violations, including
 unpermitted discharges and any discharges in violation of Respondent's MS4 Permit, that occurred
 from any of Respondent's Facilities or Systems and that were known by the Department as of the
 effective date of this Consent Order.
         25.     This Order is a settlement of the Department's civil and administrative authority
 arising under Florida law to resolve the matters addressed herein. This Order is not a settlement of
 any criminal liabilities which may arise under Florida law, nor is it a settlement of any violation
 which may be prosecuted criminally or civilly under federal law. Entry of this Order does not relieve




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 Respondent of the need to comply with applicable federal, state, or local laws, rules, or ordinances.
         26.     The Department hereby expressly reserves the right to initiate appropriate legal action
 to address any violations of statutes or rules administered by the Department that are not specifically
 resolved by this Order.
         27.     Respondent is fully aware that a violation of the terms of this Consent Order may
 subject Respondent to judicial imposition of damages, civil penalties up to $10,000.00 per day per
 violation, and criminal penalties.
         28.     Respondent acknowledges and waives its right to an administrative hearing pursuant
 to Sections 120.569 and 120.57, Fla. Stat., on the terms of this Order.                Respondent also
 acknowledges and waives its right to appeal the terms of this Order pursuant to Section 120.68, Fla.
 Stat.
         29.     Electronic signatures or other versions of the parties' signatures, such as .pdf or
 facsimile, shall be valid and have the same force and effect as originals. No modifications of the
 terms of this Order will be effective until reduced to writing, executed by both Respondent and the
 Department, and filed with the clerk of the Department.
         30.     The terms and conditions set forth in this Order may be enforced in a court of
 competent jurisdiction pursuant to Sections 120.69 and 403.121, Fla. Stat. Failure to comply with
 the terms of this Order constitutes a violation of Section 403.161(l)(b), Fla. Stat.
         31.     This Order is a final order of the Department pursuant to Section 120.52(7), Fla. Stat.,
 and it is final and effective on the date filed with the Clerk of the Department unless a Petition for
 Administrative Hearing is filed in accordance with Chapter 120, Fla. Stat. Upon the timely filing of
 a petition, this Order will not be effective until further order of the Department.
         32.     Respondent shall publish the following notice in a newspaper of daily circulation
 in Pinellas County, Florida. The notice shall be published one time only within 15 days of the
 effective date of this Order. Respondent shall provide a certified copy of the published notice to
 the Department within 10 days of publication.


          STATE OF FLORIDA DEPARTMENT OF ENVIRONMENTAL PROTECTION
                           NOTICE OF CONSENT ORDER

         The Department of Environmental Protection (“Department”) gives notice of agency
 action of entering a Consent Order with the City of St. Petersburg, pursuant to section 120.57(4),
 Florida Statutes. The Consent Order addresses alleged unpermitted wastewater and effluent and
 stormwater discharges from the City's stormwater facilities and wastewater reclamation facilities
 and associated wastewater collection/transmission systems to State waters, and the implementation


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 plan to minimize further discharges. The Consent Order is available for public inspection during
 normal business hours, 8:00a.m. to 5:00p.m., Monday through Friday, except legal holidays, at
 the Department of Environmental Protection , Southwest District Office, 13051 North Telecom
 Parkway, Temple Terrace, Florida 33637-0926.
         Persons who are not parties to this Consent Order, but whose substantial interests are
 affected by it, have a right to petition for an administrative hearing under sections 120.569 and
 120.57, Florida Statutes. Because the administrative hearing process is designed to formulate
 final agency action, the filing of a petition concerning this Consent Order means that the
 Department’s final action may be different from the position it has taken in the Consent Order.
         The petition for administrative hearing must contain all the following information:
         a)      The OGC Number assigned to this Consent Order;
         b)      The name, address, and telephone number of each petitioner; the name, address,
                 and telephone number of the petitioner 's representative, if any, which shall be the
                 address for service purposes during the proceeding;
         c)      An explanation of how the petitioner 's substantial interests will be affected by the
                 Consent Order;
         d)      A statement of when and how the petitioner received notice of the Consent Order;
         e)      Either a statement of all material facts disputed by the petitioner or a statement that
                 the petitioner does not dispute any material facts;
         f)      A statement of the specific facts the petitioner contends warrant reversal or
                 modification of the Consent Order;
         g)      A statement of the rules or statutes the petitioner contends require reversal or
                 modification of the Consent Order; and
         h)      A statement of the relief sought by the petitioner, stating precisely the action
                 petitioner wishes the Department to take with respect to the Consent Order.

         The petition must be filed (received) at the Department's Office of General Counsel, 3900
 Commonwealth Boulevard, MS# 35, Tallahassee, Florida 32399-3000 within 21 days of receipt
 of this notice. A copy of the petition must also be mailed at the time of filing to the District
 Office at Florida Department of Environmental Protection, Southwest District Office, 13051
 North Telecom Parkway, Temple Terrace, Florida 33637-0926. Failure to file a petition within
 the 21-day period constitutes a person's waiver of the right to request an administrative hearing
 and to participate as a party to this proceeding under Sections 120.569 and 120.57, Florida
 Statutes. Before the deadline for filing a petition, a person whose substantial interests are
 affected by this Consent Order may choose to pursue mediation as an alternative remedy under
 section 120.573, Florida Statutes. Choosing mediation will not adversely affect such person's
 right to request an administrative hearing if mediation does not result in a settlement.
 Additional information about mediation is provided in section 120.573, Florida Statutes and
 Rule 62-110.106(12), Florida Administrative Code.

         34.     Rules       referenced       in         this   Order        are      available       at
 http://www.dep.state.fl.us/legal/Rules/rulelist.htm.




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                                       FOR THE RESPONDENT:




                                       Rick Kriseman
                                       Mayor
                                       City of St. Petersburg




 DONE AND ORDERED this   day of               , 2018 in Hillsborough County,
 Florida.

                                       STATE OF FLORIDA DEPARTMENT OF
                                       ENVIRONMENTAL PROTECTION




                                       District Director




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        FILED, on this date, pursuant to Section 120.52, FLA. STAT., with the designated
 Department Clerk, receipt of which is hereby acknowledged.



                                                    Clerk

 Attachments: Exhibit 1:     P2 Project Plan

 Copies furnished to:
 Lea Crandall, Agency Clerk, Mail Station 35




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                                             Exhibit 1

                                      P2 Project Plan (Plan)

       (Note: Provide the information specified and delete existing text within parentheses)
                              (Facility Name) (Address) (Telephone)
                                       (Preparer Name/Title)

         A.     Project Description: (Summarize P2 Projects selected. Describe the processes or
 operations to be modified, and the specific changes to be made. Include details such as the
 specific equipment to be installed, materials to be substituted, and the actual changes to be made
 to processes or operations. Include manufacturer or vendor information, and specifications.)

        B.     Environmental and Economic Benefits:           (Explain why and how each Project
 proposed constitutes P2).

 Specify how each material, chemical, water and energy is saved, and from which processes or
 operations. Specify how each solid and hazardous waste, industrial wastewater and air emissions
 are generated, the waste type, and from which processes or operations. Describe generally in
 paragraph format.

 Estimate the annual savings in resources- raw materials, chemicals, water, and energy at the
 process or operation front end. Estimate the annual reductions in wastes - solid and hazardous
 waste, wastewater, and air emission reductions at the process or operation back end.

Figures quoted should represent weights or volumes annually, and should be equalized for
production rate changes. Associated cost savings should be included. Describe specifically using
the tables provided.

 Complete the first table for each per Project individually. Add or average corresponding figures
 from each Project table to complete the Plan table for multiple Projects.


                                         (Project Name)
                        Annual Resource Consumption Comparison
                     Quantity Used (galllb/kwh-specify)     Purchasing Cost ($)                Percent
         Item                                                                                   (%)
                          Before        After     Reduction       Before    After   Reduction Reduction
       Water
      Chemicals
      Materials
       Energy

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                                    Total Annual Cost Savings =
                              Annual Waste Generation Comparison
                                    Quantity Generated                                           Percent
                                                                     Disposal Cost ($)
            Item                   (gal/lb/tons - specify)                                         (%)
                             Before       After      Reduction  Before After Reduction           Reduction
     Hazardous Waste
   Industrial Wastewater
        Solid Waste
      Air Emissions
                                    Total Annual Cost Savings =
                               Total Annual Avoided Cost Savings =

                                    Summary of All P2 Projects
                           Annual Resource Consumption Comparison
                           Quantity Used (gal/lb/kwh - specify) Purchasing Cost ($)               Percent
            Item                                                                                   (%)
                             Before     After        Reduction    Before    After   Reduction
                                                                                                 Reduction
          Water
         Chemicals
         Materials
          Energy
                                          Total Annual Cost Savings =
                                  Annual Waste Generation Comparison
                                  Quantity Generated                                              Percent
                                                                      Disposal Cost ($)
           Item                  (gal/lb/tons - specify)                                           (%)
                             Before      After       Reduction   Before After Reduction          Reduction
     Hazardous Waste
   Industrial Wastewater
        Solid Waste
      Air Emissions
                                   Total Annual Cost Savings =
                               Total Annual Avoided Cost Savings =

        C.     Project Cost: (Include per Project the itemized, subtotal and Project total costs.
 A projected payback period in months or years needs to be included.

 Provide a grand total cost for all Projects and an averaged projected payback period, for multiple
 Projects. (Use list or table format for all.)

         D.    Implementation Schedule: (Provide a brief discussion of the steps necessary to
 implement the Projects and expected time frames for completion. A table or list format is
 preferred. The schedule shall include a list of milestones with dates, or timeframes based on Plan




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 approval date, including Progress and Final Report submittals. Provide a description of any
 anticipated problems and options. ( The implementation should take no longer than six months
 to complete.)

         E.       Project Reporting:

        1.     Within 90 days of approval of the Project Plan, the Respondent shall submit a P2
 Project Progress Report to the Department that describes the Respondent’s progress in
 implementing the P2 Project and meeting the requirements in the Plan, and includes a list of
 equipment ordered, purchased, and/or installed.

        2.     Within 180 days of approval of the Plan, the Respondent shall submit to the
 Department a P2 Project Final Report that includes the following:

               a.     A confirmation that the information presented in Sections A-C of the
 Summary is unchanged, or an updated version with the sections changed appropriately. A
 statement that the Project(s) was/were implemented successfully. An explanation of any
 problems encountered and corrections applied.
               b.     Attached expense reports, receipts, purchasing instruments and other
 documents itemizing costs expended on preparing and implementing the Project.

         3.       The Department shall review the Final Report and determine:

                  a.     Whether the project was properly implemented; and
                  b.     Which expenses apply toward pollution prevention credits.

        4.      A $1.00 pollution prevention credit for each $1.00 spent on applicable costs will
  be applied against the portion of the civil penalty that can be offset.

                  a.     The following costs are allowable to offset the allowable amount of the
 civil penalty:

                         i.     Preparation of the P2 Project;
                         ii.    Design of the P2 Project;
                         iii.   Installation of equipment for the P2 Project;
                         iv.    Construction of the P2 Project;
                         v.     Testing of the P2 Project;
                         vi.    Training of staff concerning the implementation of the P2 Project;
                                and
                         vii.   Capital equipment needed for the P2 Project.

                  b.       The following costs shall not apply toward P2 credit:

                         i.     Costs incurred in conducting a waste audit;
                         ii.    Maintenance and operation costs involved in implementing the P2
                                Project;




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                       iii.    Monitoring and reporting costs;
                       iv.     Salaries of employees who perform their job duties;
                       v.      Costs expended to bring the facility into compliance with current
                               law, rules and regulations;
                       vi.     Costs associated with a P2 Project that is not implemented;
                       vii.    Costs associated with a P2 Project that has not been
                               approved by the Department; and
                       viii.   Legal costs.

                c.        If any balance remains after the entire P2 credit is applied to the
 allowable portion of the civil penalty, Respondent shall pay the difference within 30 days of
 written notification by the Department to the Respondent that the balance is due.

          5.     The Department may terminate the P2 Project at any time during the development
 or implementation of it, if the Respondent fails to comply with the requirements in this document,
 act in good faith in preparing and implementing the project, or develop and implement the P2
 Project in a timely manner. The Respondent may terminate the P2 Project at any time during its
 development or implementation.




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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION



       SUNCOAST WATERKEEPER, OUR
       CHILDREN’S EARTH FOUNDATION, and
       ECOLOGICAL RIGHTS FOUNDATION,
                                                         Case No.: 8:16-cv-03319-JDW-AEP
                      Plaintiffs,

               v.

       CITY OF ST. PETERSBURG,

                      Defendant.


     STIPULATED ORDER OF PARTIAL DISMISSAL AND COURT’S RETENTION OF
                              JURISDICTION


           Plaintiffs Suncoast Waterkeeper, Our Children’s Earth Foundation, and Ecological Rights

   Foundation (“Plaintiffs”) and Defendant City of St. Petersburg hereby enter into this Stipulated

   Order of Partial Dismissal and Court’s Retention of Jurisdiction (“Stipulated Order”) in settlement

   of this action.

           NOW, THEREFORE, the Parties hereby stipulate and the Court orders as follows:

             1. Amended Consent Order OGC No. 16-1280: In partial settlement of this action, the

   City agreed to request an amendment to Consent Order OGC No. 16-1280 from the Florida

   Department of Environmental Protection (“FDEP”) to include additional requirements. FDEP

   amended the Consent Order on ___________________________ (“Amended Consent Order”), and

   the Amended Consent Order is attached to this Stipulated Order as Attachment A. The Parties

   agree the City’s compliance with the Amended Consent Order is enforceable by this Court.




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                 2. Additional Public Interest Project: By October 1, 2018, the City shall make a

    payment of $200,000 to the Tampa Bay Estuary Program (263 13th Avenue South, Suite 350, St.

    Petersburg, FL 33701) to be used for projects to secure significant environmental benefits to the

    watersheds and ocean waters in and adjacent to the City. A copy of such payment shall be sent to

    the Plaintiffs under Paragraph 3.


                 3. Reporting and Communication Between the Parties: Until the Termination Date,

    the City shall provide Plaintiffs courtesy copies of all reports to FDEP under the Amended Consent

    Order at such time that reports are provided to FDEP. Additional documents requested by

    Plaintiffs in relation to work performed under the Amended Consent Order shall be provided

    pursuant to the Florida’s Public Records Act. Nothing herein prevents the City from regularly

    communicating with Plaintiffs’ sewage engineer concerning the work required under the Amended

    Consent Order. All documents and payments required to be forwarded by one Party to another

    shall be sent to the following individuals as electronic computer files at the e-mail addresses

    specified below, or to a mailing address if a given document cannot be e-mailed. Any change in the

    individuals designated by either Party must be made in writing to the other Parties.


    Plaintiff Environmental Groups:
    Executive Director
    Suncoast Waterkeeper
    P.O. Box 1028
    Sarasota, FL 34230
    jbloom@suncoastwaterkeeper.org


    Defendant City of St. Petersburg:
    Director of Water Resources Division
     City of St. Petersburg
    Post Office Box 2842
    St. Petersburg, Florida 33731-2842
    John.Palenchar@stpete.org



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    Jacqueline Kovilaritch
    City Attorney
    City of St. Petersburg
    Post Office Box 2842
    St. Petersburg, Florida 33731-2842
    jacqueline.kovilaritch@stpete.org

           4.   Compliance Monitoring Fund: The City shall pay to the Plaintiffs a total of $15,000

    per year for five years to fund compliance monitoring of the City’s commitments under this

    Stipulated Order and its Attachment, for services provided by the Plaintiffs’ professional engineers

    licensed in the State of Florida and for mediation under Paragraph 6. The Compliance Monitoring

    Fund payments shall be made annually, commencing on January 2, 2019 and annually thereafter

    with final payment on January 2, 2023. By February 15 following the end of the each year in

    which payment is received, Plaintiffs shall (a) report to the City the total amount expended on its

    engineer or on mediation hereunder in the prior calendar year and (b) refund unused funds to the

    City if the total amount reported is less than $15,000.

           5.    Attorneys’ Fees and Costs: Plaintiffs’ claim for “costs of litigation (including

    reasonable attorney and expert witness fees)” under Section 505(d) of the Clean Water Act is not

    resolved by this Stipulated Order, and Plaintiffs reserve all rights to seek such fees and costs. So

    as not to impede settlement, Defendant agrees that Section 505(d) of the Clean Water Act provides

    a process where a court may award to Plaintiffs their reasonable attorneys’ fees and costs in an

    amount to be determined by the Magistrate of this Court, the Honorable Anthony E. Porcelli, in

    accordance with applicable principles of law. The hearing before the Magistrate on the amount of

    attorneys’ fees and costs shall be held as soon as possible after the Effective Date of this Stipulated

    Order. The Court’s Order issued under Local Rule 3.08(b) (Dkt 168) shall have no effect on

    Plaintiffs’ rights under Section 505(d) of the Clean Water Act.




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           6.    Dispute Resolution: The Dispute Resolution procedure of this Paragraph shall be

    the exclusive mechanism to resolve any disputes arising under this Stipulated Order and its

    Attachment. This procedure does not apply to disputes between the City and FDEP regarding the

    Amended Consent Order. Any dispute that arises under this Stipulated Order shall initially be

    subject to a period of informal negotiations, which shall not extend beyond thirty (30) days unless

    the Parties otherwise mutually agree in writing to an extension of the informal negotiation period

    and/or a mediation process. The dispute shall be considered to have arisen on the date one Party

    receives written notification from the other, specifically referencing this Paragraph, that there is a

    dispute. Such notice shall clearly state the matter in dispute. If the Parties cannot resolve a dispute

    by informal negotiations, whether before or immediately after the lapse of the thirty (30) day

    informal negotiations, then the Parties must seek the intervening role of a certified federal court

    mediator, with such individual chosen by mutual agreement of the Parties. If the Parties cannot

    agree upon a mediator after exchanging no fewer than five (5) proposed mediator recommendations

    per party, then after a period of thirty (30) days (following the expiration of the informal negotiation

    period), either Party may file a Dispute Resolution motion with the Court. The mediation period

    shall not extend beyond forty-five (45) days from the end of the informal negotiation period, unless

    the Parties otherwise mutually agree in writing to an extension of the mediation period. If the

    Parties cannot resolve a dispute by mediation, at the conclusion of the forty-five (45) day mediation

    period, either Party may file a Dispute Resolution motion with the court. The motion shall refer

    to this Stipulated Order and Paragraph and shall set forth the nature of the dispute and a proposal

    for its resolution. The opposing Party shall have thirty (30) days in which to file a response with an

    alternate proposal for resolution. As to any and all disputes under this Paragraph, the Court shall

    determine which proposed resolution is most appropriate, in light of the circumstances and

    proposals presented to it and consistent with the Clean Water Act.


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           7.    Effective Date: Under Section 505(c)(3) of the Clean Water Act, Plaintiff will

    provide a copy of this Stipulated Order to the United States Environmental Protection Agency

    (“EPA”) and the United States Department of Justice (“DOJ”), and the Court may not enter the

    Stipulated Order prior to forty-five (45) days from the date the Stipulated Order is received by EPA

    and DOJ. 33 U.S.C. § 1365(c)(3). In the event EPA or DOJ comments raise concerns on the

    provisions of this Stipulated Order during the review period, the Parties agree to meet and confer

    to attempt to resolve any issue(s) raised by EPA or DOJ. At the end of the forty-five (45) day review

    period, or after receipt of comments from EPA or DOJ, whichever occurs first, the Parties will

    jointly notify the Court of any comments received from EPA or DOJ, any resolution of those

    comments, and move the Court to enter the Stipulated Order. The attached Amended Consent

    Order will undergo an administrative twenty-one (21) day notice period, and if challenge by any

    party this Court will not enter the Stipulated Order until completion of the administrative process

    under Chapter 120, Florida Statutes. The Stipulated Order becomes effective on the date signed

    and issued by the Court.

           8.    Termination Date: This Stipulated Order shall terminate on December 31, 2024.


           9.    Incorporation and Modification: This Stipulated Order and its Attachment contain

    the entire agreement between the Parties and no major modifications shall be valid unless in writing,

    mutually agreed to and executed by the Parties, and entered by the Court; except that the Parties

    may mutually agree in writing to minor modifications of this Stipulated Order without further

    consent of the Court and such written minor modifications shall be deemed incorporated into this

    Stipulated Order.


           10.   Retention of Jurisdiction and Partial Dismissal: The Court shall retain jurisdiction

    to enforce the terms of this Stipulated Order and its Attachment A until the Termination Date and


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    to resolve disputes that are not resolved through the dispute resolution process prescribed above

    that may arise between the Parties. In consideration of the City’s agreement to this Stipulated

    Order and Attachment A, Plaintiffs’ agree that the claims alleged in the Second Amended

    Complaint through August 2, 2018, except for Plaintiffs claims under Section 505(d) of the Clean

    Water Act, are dismissed with prejudice consistent with the terms and condition of this Stipulated

    Order.   The partial settlement of this action as embodied in this Stipulated Order and its

    Attachment is fair, reasonable, in the public interest, and furthers the objectives of the Clean Water

    Act. The case is not dismissed as to Plaintiffs’ claim for attorney fees and costs under Section

    505(d) of the Clean Water Act.


                 IT IS SO STIPULATED through agreement of counsel as authorized to so stipulate

    by their respective clients:




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    Respectfully submitted,

    August __, 2018

    /s/ Justin Bloom_________________                   /s/ Brian A. Bolves
    Justin Bloom                                        Brian A. Bolves, FBN 367079
    FL Bar # 89109                                      Manson Bolves Donaldson Varn, P.A.
    Justin Bloom Attorney at Law, PA                    1011 West Swann Avenue
    P.O. Box 1028                                       Tampa, FL 33606
    Sarasota, FL 34230                                  P: 813.514.4700
    Telephone: (917) 991-7593                           F: 813.514.4701
    Facsimile: (866) 574-2169                           E: bbolves@mansonbolves.com
    Email: bloomesq1@gmail.com                          Attorney for Defendant CITY OF ST.
                                                        PETERSBURG
    /s/ Kathryn Schmidt
    Kathryn Schmidt (Pro Hac Vice)
    Hunsucker Goodstein PC
    730 17th Street, Suite 220
    Denver, CO 80202
    P: 303-564-1298
    F: 720.302.2700
    E: kschmidt@hgnlaw.com
    Attorneys for Plaintiffs, SUNCOAST
    WATERKEEPER, OUR CHILDREN’S
    EARTH FOUNDATION, ECOLOGICAL
    RIGHTS FOUNDATION




                 Pursuant to the foregoing stipulation of the Parties, IT IS SO ORDERED this ____

    day of ________________, 2018. This Stipulated Order does not resolve Plaintiffs’ claims for

    litigation costs under Section 505(d) of the Clean Water Act, which are directed for further

    proceedings and shall be determined as expeditiously as possible by the Magistrate assigned to this

    case, The Honorable Anthony E. Porcelli.



                                                 __________________________________________
                                                 JAMES D. WHITTEMORE
                                                 United States District Judge



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                           ATTACHMENT A



                AMENDED CONSENT ORDER
                           OGC NO. 16-1280




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                                      Exhibit 6

                                        to the

                             Declaration of Justin Bloom

                                    In Support of

                           Plaintiffs’ Motion for Attorneys'
                                     Fees and Costs



                      Suncoast Waterkeeper et al. v. City of St.
                    Petersburg Case No. 8:16-cv-03319-JDW-AEP
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                                         CITY OF ST. PETERSBURG
                                           COUNCIL MEETING
                                            AUGUST 9, 2018
                                         (Excerpt of Meeting)




        ___________________________________________________________


        F-1 Settlement Suncoast Waterkeeper, Our Children's Earth
        Foundation, and Ecological Rights Foundation vs. City of
        St. Petersburg, Case No.: 8:16-cv-3319-JDW-AEP




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    1
                                             CITY OF ST. PETERSBURG
    2                                           COUNCIL MEETING
                                                 AUGUST 9, 2018
    3                                         (Excerpt of Meeting)
    4
    5    PLACE TAKEN:                     Municipal Building
                                          175 5th Street North
    6                                     Second Floor Council Chamber
                                          St. Petersburg, Florida
    7
    8    APPEARANCES:                     Steve Kornell, Chairman
                                          Charlie Gerdes, Council Member
    9                                     Ed Montanari, Council Member
                                          Darden Rice, Council Member
   10                                     Gina Driscoll, Council Member
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    1                                     CITY OF ST. PETERSBURG
                                             COUNCIL MEETING
    2                                         AUGUST 9, 2018
                                           (Excerpt of Meeting)
    3
    4                                      *    *   *   *   *
    5                       CHAIRMAN KORNELL:       Okay.   So next, we are going
    6             to move to our legal item, F-1, Settlement --
    7             potential settlement with Suncoast Waterkeepers, Our
    8             Children's Earth Foundation, and the Ecological
    9             Rights Foundation.
   10                       UNIDENTIFIED SPEAKER:       Mr. Vice Chair, we have
   11             our outside counsel here -- proceed.
   12                       CHAIRMAN KORNELL:       Are you ready to go?
   13                       MR. MANSON:        So I know I've been in front of
   14             you-all now, I know it's probably hard to believe,
   15             but over a year and a half, so just a brief history.
   16             We received a notice from the plaintiffs in this
   17             case, which is a citizen suit on the Clean Water Act
   18             and Suncoast Waterkeepers and the City, and I call
   19             them et. al. because there's other petitioners and
   20             plaintiffs as well, but we're coming forward to you
   21             with a settlement proposal that I'm going to
   22             recommend.
   23                       But the suit started in December of 2016, if
   24             you can believe that, and the consent order we
   25             entered into with DEP was executed on July 27th,


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    1             just about a year ago, of 2017.
    2                       When we were at our last board -- I'm sorry,
    3             city council meeting, we talked about exploring
    4             settlement where I attended, and in furtherance of
    5             that, there's a deadline in discovery where the
    6             plaintiffs had to provide us expert reports, which
    7             occurred on June 8th of this year.
    8                       When we received those expert reports, the
    9             engineering report in particular, which was the most
   10             substantial of the reports, it was clear that many
   11             of the issues raised by them were issues that were
   12             already being dealt with by your staff, your utility
   13             staff, and so we put together a meeting -- I'm
   14             saying we -- city council -- I mean, city attorneys
   15             and all of us discussed this, and the engineer sat
   16             in together, the experts you have, Claude
   17             Tankersley, John Palenchar, and our expert that was
   18             hired to help us in litigation, Phil Waller, and sat
   19             in with their expert, they had no attorneys, and
   20             they discussed the engineering aspects, and found
   21             that most of what was in there were things that we
   22             were already doing, maybe a slightly different way
   23             of being done than was being done, or maybe the time
   24             frame would shift a little more from seven years to
   25             five years, so it was thought that we have a good


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    1             framework for settlement.          So at that point we
    2             started in earnest to get together and have
    3             discussions going forward.
    4                       I'll also tell you from a case standpoint, on
    5             June 8th, you know, we then received their experts.
    6             They did have an economist talking about litigation
    7             risk.        It was estimating some $17 million economic
    8             benefit to the City, and that would translate into
    9             some high level of fine, they would allege, so there
   10             is that issue going on.
   11                       And then we also found under the DEP consent
   12             order, if you recall, there's an integrated master
   13             plan, and that's sort of like the guidance document
   14             that's being put together to guide the City into the
   15             future for how you're going to do more of your
   16             infrastructure.
   17                       A big part of that, requirements in timelines
   18             for things that will be done.          But another big part
   19             was research.           Some of the data wasn't there when we
   20             entered into the consent order to know where are the
   21             priority areas.          I mean, we had an idea, don't get
   22             me wrong, but these flow meters and flow tests and
   23             modeling show specifically which portions of the
   24             system need to be fixed, and we're still developing
   25             some of that, but quite a bit of it has already been


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    1             developed.              Quite a bit of it, I think, has been
    2             brought forward to you.
    3                       And that gave us some more specifics to be able
    4             to move forward to say what are things the City is
    5             going to do, and we looked, and we found we had more
    6             commonality with them and their recommendations than
    7             we did differences and we're able to meet those.
    8                       So we structured this proposed settlement two
    9             ways.        We're in the federal court, obviously, so we
   10             have to have a stipulated order for the judge.              And
   11             then our other provision was attached to that
   12             stipulated order to the judge will be an amended --
   13             a proposed amended consent order.
   14                       I say that because these cases are a little
   15             different than others that you have where we can
   16             just get the parties together and settle the case
   17             and it's done.             Well, in this case, obviously, the
   18             judge has to approve the settlement.             But in
   19             addition to that, because it's a Clean Water Act
   20             suit, we have to get the EPA, and this is standard
   21             for every one of these cases, to write off on, they
   22             have 45 days, and the DOJ, the Department of
   23             Justice, to write off on it, and then also because
   24             it's an amended consent order with DEP, they'll
   25             approve it as well.


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    1                       So what we've done is we've got two formats,
    2             and you can interrupt anytime if you have questions.
    3             I was just going to walk you through the stipulated
    4             order, 30,000 feet, and then walk you real quickly
    5             through the amended consent order.
    6                       On the stipulated order, you know, the first
    7             issue of it is the court is going to attach, I said,
    8             the amended consent order and retain jurisdiction
    9             for five years to be there as an arbitrator of
   10             compliance.
   11                       So we included in this stipulated order an
   12             extensive dispute resolution process that ends in
   13             mediation.              So we do the standard meet and greet,
   14             they have to notify us of a problem in writing, and
   15             then we have a certain time to get together and meet
   16             to try to resolve it that way.             If that doesn't
   17             work, then we have to go select mediators, up to
   18             five, and then we go into mediation, all of that
   19             before they can bring anything back to the judge.
   20             We're hoping by that we're going to internalize and
   21             get most of these disputes, if there are any,
   22             resolved.
   23                       The consent orders go for ten years.        So we
   24             have nine years left on our existing consent order
   25             right now.              And so the idea is, this is a five-year


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    1             stint where they'll be able to check and verify that
    2             we've done everything we said we are going to do.
    3                       Part of that process, if you will, is that
    4             we're going to fund, and this is quite common in the
    5             federal orders, $15,000 a year for them to pay for a
    6             Florida licensed engineer to review compliance with
    7             the City.           It's really not -- even this layperson,
    8             and attorney -- a lot of these engineering
    9             discussions I needed help from Claude and from John
   10             to understand the issues, so it really needs to be
   11             an engineer that helps them out on that.            So they
   12             are going to do that, and we're going to make those
   13             payments also for the same five-year time period.
   14                       Under the stipulation there's a provision that
   15             we're going to provide or donate $200,000 to the
   16             Tampa Bay Estuary program.          That's sort of in lieu
   17             of any kind of a fine or anything, but this is a
   18             straight donation, and it's to secure significant
   19             environmental benefits to the watersheds and the
   20             ocean waters in and adjacent to the city.            So these
   21             will be studies or information gathered that will
   22             directly benefit the environment in the city and
   23             surrounding the city.
   24                       In the attorney's fees issue, we -- we have
   25             deferred that to the court.          When I say "the issue,"


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    1             what I'm talking about is whether or not there's a
    2             right to attorney's fees and costs and the fact of
    3             what that amount would be.             So that will be resolved
    4             by the court.             It's not resolved by the settlement.
    5                       And the stipulated order (unintelligible) is
    6             five years.             It actually has a termination
    7             provision.              It terminates in 2024, December 31st,
    8             2024.
    9                       So as you can see, there's not all that many
   10             issues in the stipulated order, so that means most
   11             of them are in the amended consent order.
   12                       So the first thing we started off with, City
   13             Staff had been looking at the issues, especially the
   14             wet weather, extreme wet weather events, and what
   15             can we do to balance out the full capacity of the
   16             system.
   17                       You probably know from your reports -- I wasn't
   18             going to repeat a lot, but City Staff and
   19             contractors have done a great job, 80 million
   20             gallons a day of capacity and injection wells has
   21             been created in the last year and a half, on time,
   22             and within the confines of the existing consent
   23             order.
   24                       In addition to that, if rain fell universally,
   25             you know, over the whole city of St. Petersburg,


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    1             then things probably wouldn't be as difficult at
    2             some of these treatment plans, but, unfortunately,
    3             it doesn't.             You know, you may be having 4 inches an
    4             hour, you know, it's a gully washer, falling in one
    5             part of the city and only 2 inches in another.
    6             Well, this proposal is to go ahead and build a $7.5
    7             million wet weather force main and lift station.
    8                       And so this is a new thing added in to --
    9             they'll be able to balance out these wet weather
   10             discharges.             If there's more falling in the southern
   11             part or the -- I'm sorry, the southwest part, then
   12             we can send it up to the northwest plant and vice
   13             versa, so that's in addition to the consent order.
   14                       The second thing was, if you recall from the
   15             first consent order, you committed to $14 million
   16             per year, and you've exceeded that, for five years
   17             to be used for basically the collection system,
   18             repair, analyze collection system.
   19                       What you've done in this consent order is we've
   20             bumped it up to 16 million which you had already
   21             been -- you're already budgeted to spend that much
   22             money or more per year on the collection system, so
   23             that was within the budget.
   24                       Then the rest of these items we're talking
   25             about, except for one, are all additions to the


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    1             integrated master plan, and I would tell you that
    2             most of it is details added in.
    3                       When we first did the provision for the
    4             integrated master plan, we didn't have enough
    5             information to know many of the details.            We still
    6             don't have all of it, but we have a lot more.             So we
    7             were able to negotiate a number of different
    8             additions to it.         And one of them is called a sewer
    9             system asset management plant.         The acronym is SAMP.
   10                       This is sort of a guidance document for the
   11             entire system.          And it was going to be included as
   12             part of integrated master plan, so we just now
   13             formalized that in the consent order.           And the
   14             number of requirements within that sort of
   15             characterizing the entire system and the specified
   16             time periods when things will be done under the
   17             system.
   18                       There is the FOG program, I love that acronym,
   19             that's the Fats, Oils, and Grease program.             That
   20             already occurs.         You already have a robust plan.
   21             We're going to take that plan and those
   22             requirements, add a couple more requirements to
   23             them, and that's going to be part of your SAMP.
   24                       CIP, which was already talked about, integrated
   25             master plan, again, more detail in it.           We're going


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    1             to put in (unintelligible), you know, identify
    2             potable projects, reclaimed projects, stormwater
    3             projects, and wastewater projects, and ensure that
    4             there's fundings for the repairs needed pursuant to
    5             the SAMP policies that are set out in that document.
    6                       Obviously we've been working on evaluation and
    7             reduction plans for inflow and infiltration,
    8             codified that, put some more detail into those types
    9             of testing, and that's contained in the consent
   10             order.
   11                       Then, if you look at -- I want to say it's
   12             provision 6-M of that consent order, we're looking
   13             at shortening the time frame for the City to come up
   14             with an ordinance on private laterals.           So we just
   15             took that 2022 to 2020.       From January 31st, 2022 to
   16             to June 30th, 2020.
   17                       And right now the City was working, like, on a
   18             seven-year inspection cycle for its gravity lines,
   19             we're going to change that a little bit, we're going
   20             to accelerate it to a five-year program, and then
   21             we're also going to do it under what's called a CCTV
   22             method, and that also provides for rating of the
   23             different lines, which helps us then determine which
   24             lines need to be fixed first.
   25                       That along with your wet weather and your flow


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    1             stuff, we'll be able to all converge together and be
    2             integrated into the city's system, the GIS system,
    3             for their wastewater system, and say, okay, here's
    4             an area we really need to fix first and prioritize
    5             those.         So in the first few years of these five
    6             years, you're probably going to see a lot of
    7             improvement, meaning reduction in inflow and
    8             infiltration.
    9                       We currently test, the City does, a number of
   10             water bodies, and we generate a water quality report
   11             card for these locations.        One of the things we've
   12             noticed is there have been some microbial hits,
   13             fecals, so the City is already inspecting those and
   14             looking into seeing what it was and doing something
   15             called a -- I have to read this, "Microbial source
   16             tracking," so that's to determine where is it coming
   17             from.        What is it?   First of all, is it animal waste
   18             or is it human waste, and then second, you know,
   19             where is it coming from?        It identifies those and
   20             obviously the idea is to stop that source and
   21             improve the water quality.
   22                       One of the other things that's committed to in
   23             the consent order, as part of this integrated master
   24             plan is the idea of a desktop analysis of all the
   25             force mains within two years, and all the critical


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    1             force mains will be cleaned within five years.              And
    2             then in the consent order, we've actually listed
    3             each one of those just to be specific.
    4                       We're also doing something that will help us
    5             really understand how the system functions in
    6             realtime, and that's in -- this was being done
    7             before the permanent flow meters on pump stations be
    8             installed throughout the entire wastewater system.
    9             The only thing we did is on very, very small pumps,
   10             which aren't very relevant and don't generate much,
   11             we're not going to track those, so we have that
   12             provision in there.
   13                       We're also going to continue to do a wet
   14             weather flow monitoring program so that we can see
   15             what's happening and do some more testing to
   16             determine what the condition of the system is in
   17             different areas.
   18                       And, finally, we have a provision we added
   19             which is in the public advisory section, and this
   20             just goes to we are already doing water quality
   21             samples, recreational and background, and then we're
   22             combining that with where there's parks located next
   23             to those systems that we'll put signs up and be able
   24             to tell people at that location, you know, what the
   25             water quality was as of the last sample that was


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    1             taken.         That's just to provide information for the
    2             public when they're going into a water body.
    3                       We also post that same information online, and
    4             we'll just add a physical sign at the locations
    5             where you have parks and where the water body is
    6             (unintelligible) -- you know, located.
    7                       So at this point we've talked about the type of
    8             structure we're going to have.         I mentioned before,
    9             you know, how is this going to work?           Well, what
   10             happens is, if you approve the settlement, which I
   11             recommend you do -- you know, I see the risk of
   12             litigation, I know attorneys are expensive, believe
   13             me, and right now you obviously are going to end up
   14             paying my fees no matter what the disposition of the
   15             case is, we hope, and you also probably end up
   16             paying the other side's fees only -- and I only say
   17             that because many of the cases that are out there
   18             for the -- these types of citizen suits it's even if
   19             they only caused an acceleration of what you were
   20             going to do, sometimes they've said that's enough,
   21             typically it's got to be something real and
   22             substantive that's changed in what you're doing, and
   23             so for me the risk isn't just potentially a fine,
   24             which I think is a relatively low risk, but still a
   25             risk, then it's attorney's fees, then it's the


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    1             potential for the court finding a continuing
    2             violation of some sort which would then rachet up
    3             the fines and the other aspects of the case.             So I
    4             highly recommend this settlement.
    5                       I think it's detailed, which protects you.          I
    6             think it also provides for a method to be able to
    7             have dispute resolution going forward.           We're going
    8             to have more communication instead of having to go
    9             to lawsuits or to a judge right away, so I think
   10             it's a benefit to the City and it's a benefit to the
   11             environment.
   12                       Once we enter into -- if you approve it, then
   13             we do have this process where it will be sent up to
   14             the Department of Justice and to EPA, and then we'll
   15             also await the DEP's, you know, role in approving
   16             the amended consent order.
   17                       I believe because of the fact that it is
   18             increasing environmental requirements on it and
   19             incorporating more details, which were derived from
   20             the program that DEP put in the original consent
   21             order, that they will do that.         Obviously we can't
   22             take anything for granted, we have to wait for their
   23             approval, EPA's and the DOJ's.
   24                       CHAIRMAN KORNELL:   Very good.    Thank you.
   25                       Further comment.


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    1                       UNIDENTIFIED SPEAKER:    I don't think so.      We do
    2             have Claude available who's been very -- Claude
    3             Tankersley who has been very involved with this.               If
    4             you have any questions -- oh, there he is right
    5             there.         If you have any questions, I'm sure he would
    6             be available and he will answer them, otherwise any
    7             questions of the attorneys or a vote on the
    8             recommended settlement.
    9                       CHAIRMAN KORNELL:   Council Member Gerdes.
   10                       COUNCIL MEMBER GERDES:     Thank you, Mr. Chair.
   11                       So, Claude, I'm going to ask you the same thing
   12             that I asked you in my office, that we're face to
   13             face and looking at one another, is there anything
   14             in the amended consent order that, absent extra
   15             ordinary circumstances, you cannot do?
   16                       MR. TANKERSLEY:   No, sir.
   17                       COUNCIL MEMBER GERDES:     Okay.   And I didn't ask
   18             you this when we got together, but it occurred to
   19             me, I'm presuming that you-all have milestoned out
   20             the deadlines in the consent order, you've got
   21             critical paths identified, and you know that this
   22             event has to happen in order for this event to
   23             happen.
   24                       MR. TANKERSLEY:   Right.
   25                       COUNCIL MEMBER GERDES:     Where I'm going with


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    1             that is I -- I -- I'd prefer -- I'm not going to be
    2             here for all five years of this, but I'd prefer in
    3             the instance that something does happen or something
    4             unexpected occurs and we know ahead of time that
    5             there is going to be some consequence to the
    6             deadline because of an event that happens before the
    7             deadline, I'd like to be out in front of it through
    8             a notice of some sort or, you know, instead of
    9             waiting to see if they catch it, that kind of thing,
   10             I'd rather be proactive about that, that's my
   11             suggestion along the way.
   12                       I'm only going to be here for another year and
   13             half of it, but, you know, Murphy, I mean he loves
   14             to show up, and I would just prefer that when he
   15             does, when he pops his head up and we whack and mow
   16             him down, that we also say, hey, we had this event,
   17             we're trying to -- we're trying to ameliorate it,
   18             we're trying to work around it, but it may be that
   19             this deadline has to move and -- instead of waiting
   20             for something.
   21                       MR. TANKERSLEY:   Yes, sir, I concur.
   22                       COUNCIL MEMBER GERDES:   Okay.     I move approval.
   23                       UNIDENTIFIED SPEAKER:    Second.
   24                       CHAIRMAN KORNELL:   Further -- oh, further
   25             questions?


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    1                       Council Member Montanari.
    2                       COUNCIL MEMBER MONTANARI:     Thank you, Mr. Vice
    3             Chair.
    4                       So can -- can you go over, once again for me,
    5             the stipulated order.          If there's a question on
    6             compliance of that, can you walk through that
    7             process again.
    8                       MR. MANSON:     So first, the notice issue, first
    9             of all, everything that we're sending DEP about our
   10             compliance with this consent order, every month we
   11             have to put together a report with those time
   12             frames.          That will also be sent to the plaintiffs in
   13             this case.
   14                       In addition to that, they will probably be
   15             using, I'm pretty certain, having the discussion,
   16             the Public Records Act, to put a continuing request
   17             in for any information and notices that are sent
   18             out, so they will be receiving those.
   19                       The way this would work in a compliance issue
   20             is if anything comes up where the plaintiffs believe
   21             that there's been some type of violation of the
   22             consent order, then they will provide a written
   23             notice to us.           And then once we receive that written
   24             notice, we have a certain amount of time under the
   25             stipulated order, under the dispute resolution


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    1             provision, to sit down with them and talk about it.
    2             I call that the -- I don't mean to be dismissive --
    3             but I just call it the meet-and-greet portion of a
    4             dispute resolution.
    5                       You sit down, you have meetings, you try to
    6             resolve it.             You get the written notice in so you
    7             know what the problem is because they're required to
    8             tell you, and then you sit down and talk about it
    9             and talk about how you hopefully resolve it in most
   10             cases.
   11                       If you can't resolve it during those meetings,
   12             then the next step is the two parties have to submit
   13             five names for mediators to one another.            I mean,
   14             you can submit one, if they agree, you're fine, but
   15             you have to submit five before you can then say we
   16             couldn't find a mediator that was acceptable to both
   17             sides and then go to the court with it.
   18                       If you find an acceptable mediator, which I
   19             would imagine would be the case, then you'll go to a
   20             mediation which has to be held within 30 days.
   21             Basically a 60-day process.            At the end of 60 days,
   22             if it hasn't been resolved, then you are going to
   23             end up being able to take it to the court, and at
   24             that time you'll have a resolution from them.
   25                       I would also say that if it was a violation of


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    1             the consent order, we would also, obviously, be
    2             putting DEP on notice and bringing DEP into those
    3             discussions if there's a problem.
    4                       COUNCIL MEMBER MONTANARI:    Okay.    Thank you.
    5                       You also mentioned that the EPA, DOJ, and FDEP
    6             need to sign off on this.        The -- can you -- when do
    7             you -- I take it you expect that to happen, and how
    8             long of a process does that take?
    9                       MR. MANSON:   From the date we send it to them
   10             they have 45 days to get us comments back.             And
   11             typically the focus of their review is they just
   12             want to make sure the environment that's being
   13             protected and the people don't use these lawsuits to
   14             enrich themselves, meaning the plaintiffs or
   15             plaintiffs' counsel.        So typically the review is
   16             pretty standard, and they give us comments back, and
   17             then we address those before the judge.
   18                       COUNCIL MEMBER MONTANARI:    Okay.    Thank you.
   19                       Thank you, Mr. --
   20                       CHAIRMAN KORNELL:   Council Member Rice.
   21                       COUNCIL MEMBER RICE:   Thank you.
   22                       So this amended consent order would go to DOJ
   23             and EPA before the DEP?        It seems like DOJ and EPA
   24             would maybe be curious to see what DEP has to say
   25             first.         I'm just curious about that order of


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    1             operations.
    2                       MR. MANSON:     Right.   I missed the beginning of
    3             the question.           We are going to be sending the -- the
    4             stipulated order will be attached -- I mean, the
    5             amended consent order will be attached to the
    6             stipulated order.          Both of those are sent to the EPA
    7             and the DOJ, and they are used to reviewing these
    8             kinds of materials from other proceedings.             So it
    9             won't be odd.           So a specific office within DOJ, and
   10             then the EPA has got some people assigned to it as
   11             well.
   12                       COUNCIL MEMBER RICE:     Okay.
   13                       MR. TANKERSLEY:     Council Member Rice, if I may.
   14                       COUNCIL MEMBER RICE:     Sure.
   15                       MR. TANKERSLEY:     So we have reviewed these with
   16             DEP.
   17                       COUNCIL MEMBER RICE:     Okay.
   18                       MR. TANKERSLEY:     And so DEP has seen the
   19             proposed amended consent order.            We sat down with
   20             them Friday and went over it with them.
   21                       COUNCIL MEMBER RICE:     Oh, okay, that's helpful.
   22                       MR. MANSON:     Sorry if I missed that.
   23                       COUNCIL MEMBER RICE:     So there's no surprises
   24             there.
   25                       UNIDENTIFIED SPEAKER:     No surprises.


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    1                       UNIDENTIFIED SPEAKER:   No.
    2                       UNIDENTIFIED SPEAKER:   We did give it to DEP,
    3             and they're in the process of evaluating them.
    4                       COUNCIL MEMBER RICE:    Okay.   It's a little hard
    5             to track all of the changes since this document
    6             isn't a -- there aren't track changes to see what
    7             exactly the changes were from the original.             It
    8             seems like one of the things that stands out, in
    9             particular, was the increase of $14 million a year
   10             for INI over the next fives years, that was bumped
   11             up to 16 million a year.
   12                       UNIDENTIFIED SPEAKER:   Correct.
   13                       COUNCIL MEMBER RICE:    So that's -- so that's --
   14             I mean, is that -- so we complete it in a quicker
   15             amount of time, or we're just spending another $10
   16             million on infrastructure?
   17                       MR. TANKERSLEY:   So we actually -- this fiscal
   18             year we budgeted 18 and a half.           He said 14, we
   19             budgeted 18 and a half, and we have been -- and for
   20             next year -- we also propose in our budget for next
   21             18 and a half, and we carried that out through the
   22             remaining years of the consent order.
   23                       So, therefore, we will be meeting it.        It's
   24             already been budgeted.       It's not any additional
   25             funds we have to find.


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    1                       I think -- I think it's just a recognition on
    2             all parties' side that while the consent order
    3             required 14, we've been committed to doing more than
    4             14, so let's just go ahead and say we're going to be
    5             required to do at least 16, and we'll still meet
    6             that and exceed it.
    7                       COUNCIL MEMBER RICE:     On page 10, section O,
    8             refresh my memory, I mean, a lot of this seems to
    9             pertain to stormwater runoff.
   10                       MR. TANKERSLEY:   Yes.
   11                       COUNCIL MEMBER RICE:     Not sanitary sewer
   12             overflow.
   13                       MR. TANKERSLEY:   Yes.   Very -- very astute, I'm
   14             glad you picked up on that because that is where
   15             some of this may be -- originate --
   16                       COUNCIL MEMBER RICE:     If I can interrupt, I
   17             mean, not that we should be addressing water quality
   18             and stormwater issues, but I just find it odd that
   19             that was part of this particular lawsuit.
   20                       MR. TANKERSLEY:   And --
   21                       MR. MANSON:   Well, the integrated master plan
   22             incorporates as the integrated word potable water,
   23             stormwater, and sewer.       And, as you know, many of
   24             the difficulties with all sewer systems, including
   25             yours, is inflow and infiltration.          Well, if you


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    1             don't address stormwater, and this was -- if you
    2             can't address the inflow and infiltration, so it is
    3             a combined issue.       So that was emphasized and added
    4             in, but it was part of the integrated master plan
    5             originally.
    6                       COUNCIL MEMBER RICE:   Okay.
    7                       MR. TANKERSLEY:   And also, Council Member, if
    8             you look at the very last line of that item, it says
    9             that if we determine that there are -- that
   10             (unintelligible) exceed the parameters for microbial
   11             presence, then we must follow up with a microbial
   12             source tracking --
   13                       COUNCIL MEMBER RICE:   Uh-huh.
   14                       MR. TANKERSLEY:   -- that will help us determine
   15             whether this is coming from stormwater or
   16             wastewater, leaky pipes, or just recreational users.
   17             It will help us tie down where these, perhaps, hits
   18             are coming from.
   19                       COUNCIL MEMBER RICE:   Okay.   And then I guess
   20             my last comment is -- well, thank you, great work.
   21                       It was a little distressing that as we went
   22             through this process to hear that part of -- part of
   23             the sticking point was that one of the group -- one
   24             member of the group suing us seemed to be more
   25             interested in recouping money for their own


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    1             organization, putting it in their own pockets
    2             instead of really trying to work with us to improve
    3             our system, so thank you for your negotiation
    4             efforts which made their legal fees more reasonable.
    5                       But, on the other hand, because of their
    6             efforts they did get us to move a little bit forward
    7             on strengthening this consent order.           So absent a
    8             lawsuit, is there anything else in this consent
    9             order that we can look at and figure out can the
   10             City of St. Petersburg do better?          What can we do
   11             better on our own without a lawsuit nagging us to do
   12             it?
   13                       MR. TANKERSLEY:   That's a really good question.
   14                       COUNCIL MEMBER RICE:   Or -- or do you feel like
   15             this is really solid, what we have here?
   16                       MR. TANKERSLEY:   I think this is really solid,
   17             but I can tell you that I am committed, and John is
   18             committed, and most of our staff is committed to do
   19             better just because we believe that's the right
   20             thing to do.
   21                       And so I do believe that you have the right
   22             leadership and the right staff now that we're going
   23             to do a good job regardless of whether we have the
   24             consent order or not.
   25                       COUNCIL MEMBER RICE:   Okay.   One more question.


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    1             The new 2020 date for an ordinance on private
    2             laterals, we shortened that by two years.             Is that
    3             something you think that we can meet?
    4                       MR. TANKERSLEY:        I think that we can meet, but
    5             it will be challenging, but I do think we can meet
    6             it, yes.
    7                       COUNCIL MEMBER RICE:        Okay.   What -- why
    8             challenging?
    9                       MR. TANKERSLEY:        I think it's going to be --
   10             from a political standpoint I think it will be
   11             challenging just because there's going to be so many
   12             people who are going to have different opinions on
   13             how we provide relief for those who can't afford it,
   14             how we do that fairly, whether it's required at a
   15             point of sale or whether it's voluntary, those kind
   16             of things.              I think those are going to be the issues
   17             that are going to be a little bit challenging and is
   18             going to take a lot of discussion with the community
   19             to work out.
   20                       But counsel has proved, and I'm also proving to
   21             you, I hope, that we're not afraid of that
   22             discussion, and so there -- it's going to be
   23             challenging, but we'll get it done.
   24                       COUNCIL MEMBER RICE:        Okay.   I guess my concern
   25             is we have two years less to have that public --


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    1                       MR. TANKERSLEY:   Yes.
    2                       COUNCIL MEMBER RICE:     -- engagement.
    3                       MR. TANKERSLEY:   Yes, yes.   So I do believe we
    4             can get it done in that two-year paired, yes, ma'am.
    5                       COUNCIL MEMBER RICE:     All right.   Thank you.
    6                       CHAIRMAN KORNELL:   Thank you.
    7                       Council Member Gerdes.
    8                       COUNCIL MEMBER GERDES:    Thank you, Mr. Chair.
    9                       Isn't the master plan and some of the
   10             additional measuring and results tracking
   11             requirements that have been added, isn't that going
   12             to help us identify how we get better on our own?
   13                       MR. TANKERSLEY:   Yes, sir.
   14                       COUNCIL MEMBER GERDES:    You know, a lot of this
   15             is going to be learn as you go when we're tracking
   16             the flow meter data and we're tracking the water
   17             quality data and when we're tracking the FOG content
   18             and all of that, that data tracking, database
   19             building and all of that is going to give us the
   20             information we need to improve and tweak and --
   21             isn't that right?
   22                       MR. TANKERSLEY:   Yes, sir.   That is correct.
   23                       COUNCIL MEMBER GERDES:    I mean, I guess I
   24             thought that was -- to me the whole impetus of
   25             this -- the amendment is informational.            That was --


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    1             to me what struck out was it's really an
    2             informational gathering requirement.           You know, CCTV
    3             pipes every two years, do this every five years,
    4             check this, record that, do -- and I took that to
    5             be -- the purpose of all that is we're going to use
    6             that to --
    7                       MR. TANKERSLEY:     Yes, sir.   Yes, sir.
    8                       COUNCIL MEMBER GERDES:     Okay.
    9                       MR. TANKERSLEY:     And so it's one thing for me
   10             to stand here and say that John and I both are
   11             committed to doing better.          But we actually have
   12             three mechanisms that -- aside from the consent
   13             order three mechanisms that we have to get us there.
   14                       The first one is the integrated master plan.
   15             That -- that is a tool that will get us there.
   16                       The second one is we're going through am
   17             accreditation program.
   18                       COUNCIL MEMBER GERDES:     Right.
   19                       MR. TANKERSLEY:     That's the second tool.
   20                       The third one was the management study that
   21             counsel performed last year, and we're taking it
   22             seriously and we're working on achieving each of
   23             those things.           So those three tools will get us
   24             there.
   25                       And then -- so my opinion is, is that this


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    1             consent basically codifies that we're going to use
    2             those tools, and I have no problem with that.
    3                       COUNCIL MEMBER GERDES:        Okay.   Okay.   Thank
    4             you.
    5                       CHAIRMAN KORNELL:        Council Member Montanari.
    6                       COUNCIL MEMBER MONTANARI:        Thank you.
    7                       Section 6-M, and I may have asked this question
    8             before, but it says, "No later than June 30th of
    9             2020 responder shall pass an ordinance regarding
   10             replacement of private laterals," and it goes on
   11             from there.
   12                       How does -- can -- I'd like to hear from legal,
   13             how do -- how does that work?             I mean, so City --
   14             how does City Council force to vote to do something?
   15                       UNIDENTIFIED SPEAKER:        Well, what's required in
   16             the consent order is that you pass a ordinance.                  It
   17             doesn't dictate what the content of the ordinance
   18             has to be.              So you -- this is requiring, from a
   19             regulatory standpoint, that you pass something, but
   20             it's up to you to decide the content of it and how
   21             you chose to address it.             The details of it aren't
   22             dictated by the consent order.
   23                       COUNCIL MEMBER MONTANARI:        Okay.   All right.
   24             And then -- thank you for that.
   25                       And then, Claude, in that section it says, "By


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    1             October 15th of this year, the City will start
    2             giving notice to property owners found with
    3             defective private laterals in need of repair,
    4             replacement, and tracking those properties in its
    5             information system."
    6                       How are we doing with that provision?
    7                       MR. TANKERSLEY:    So we are already collecting
    8             data through our CCTV and smoke testing, and when we
    9             find that there is a problem on somebody's private
   10             property -- we -- we've already been notifying them.
   11                       COUNCIL MEMBER MONTANARI:    Okay.
   12                       MR. TANKERSLEY:    And so this -- this just
   13             codifies that we're going to formalize that.
   14                       And, John, correct me if I'm wrong or come up
   15             and join me if you need to, but -- so, for instance,
   16             it says that we'll notify them, and we are already
   17             doing that.
   18                       But then it also talks about that we have to
   19             track this property in our information system.
   20             That's the part that we still need to do a better
   21             job of.          And so I definitely think we'll be able to
   22             have that in place by October 15th of this year.
   23                       COUNCIL MEMBER MONTANARI:    Okay.    All right.
   24             Thank you.
   25                       CHAIRMAN KORNELL:    Okay.   I have a few


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    1             questions.
    2                       First of all, I'd like to say thank you to
    3             Claude and his staff for being so approachable and
    4             so open to the public.         I think that's going to
    5             serve us well especially as we dig into the thorny
    6             issues like the private laterals.          Thank you for
    7             that.
    8                       I have a question.   I think this is more legal,
    9             and so Doug and Joe probably for this question.
   10                       Is there anything in this consent order that
   11             would stop us, if we do it by that date in 2020 but
   12             we don't do it across the whole city, we phase it
   13             in, which I think Claude and I have talked about a
   14             lot, is very wise to do because problems will come
   15             up and you get them on a small scale and can fix
   16             them as you move to the next area of the city -- is
   17             there anything that would stop that from being done
   18             in that manner?
   19                       UNIDENTIFIED SPEAKER:   I didn't see anything.
   20                       UNIDENTIFIED SPEAKER:   Yeah, I agree.       I
   21             don't -- I don't -- the language is very broad.                I
   22             think -- and I think the intent of the DEP, when
   23             this in there originally, was recognizing that this
   24             item would require a lot of discussion, there are a
   25             lot of factors to weigh, and that that was something


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    1             that was within counsel's prerogative to decide.
    2                       So I don't see -- to your specific point I
    3             don't see any language in here that would
    4             specifically prohibit what you just mentioned.
    5                       CHAIRMAN KORNELL:       Okay.
    6                       UNIDENTIFIED SPEAKER:       Other than saying an
    7             ordinance has to be passed by that date, the details
    8             of it are open-ended.
    9                       CHAIRMAN KORNELL:       I just want to say again
   10             thank you to Claude, and I think it's infinite
   11             wisdom on his part to do it that way rather than
   12             just roll it out city-wide and just find out -- you
   13             know, maybe you'll find out a hundred people have a
   14             problem with a certain aspect of it, or there's
   15             something that we're doing wrong.
   16                       If we do it region by region, we may find that
   17             out with two problems instead of a hundred, and I
   18             think that's -- and then learn as we go and -- and I
   19             think that's a really effective and smart way to
   20             implement the program, and I appreciate that
   21             commitment.             So I'm glad to hear what you just said
   22             about that.
   23                       On the hydraulic model -- and I think this
   24             might be a Claude and a Doug question, do you
   25             feel -- so maybe start with Doug, do you feel that


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    1             we -- my understanding with hydraulic models is they
    2             don't start a hundred percent perfect, and in the
    3             documents we had, that was one of the questions I
    4             asked several different engineers is this seems like
    5             a broad range to me, do you feel like we're getting
    6             a good model, and they said, oh, Steve, that's the
    7             way hydraulic models always start, they're never
    8             perfect.           You do it, you collect data, you compare
    9             real life data to the model and you perfect the
   10             model as you go.
   11                       One, do you agree with that, Doug, as an
   12             expert; and, two, do you feel like what's in the
   13             consent decree helps, you know, move us down that
   14             path?
   15                       MR. MANSON:     So as an expert modeler once said
   16             on the stand to me, there is no unique solution in
   17             modeling.           In other words, there can be multiple
   18             right answers under a model.          But in reality we know
   19             one answer is righter than the other, so.
   20                       What we see as we get the experience from what
   21             Claude is doing with the testing and the actual
   22             thing, and then it's an (unintelligible) process.                I
   23             think they actually have a better word for it than
   24             that, but the model is enhanced by the experiences
   25             that we have and by the data we're taking, and the


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    1             model will get better and better over time.
    2                       And it's a tool.    It doesn't predict what
    3             exactly is going to happen, but in the hands of
    4             Claude and his staff, they get a better
    5             understanding how the system works, and the data
    6             inputting back and the model help them predict what
    7             to do to make sure they don't have any kind of
    8             problems.
    9                       And I think the information, and I'm saying
   10             with an integrated master plan that you put out on
   11             the street, much of this was already being
   12             generated, and your staff's been doing a great job
   13             getting those flow meters out there and getting
   14             them.
   15                       So we have been gathering information, learning
   16             more and more about the system.           Could there be a
   17             hiccup?          Absolutely there could be.   It's a
   18             wastewater system, and there's people working there.
   19             But are they getting better with every year that
   20             they're doing this?         Definitely.
   21                       I think the consent order will take you -- this
   22             amended consent order adds specifics and time frames
   23             that weren't there before your staff was still doing
   24             the specifics, but now there is a tangible written
   25             requirement that that go forward for the next nine


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    1             years assuming DEP approves the consent order and
    2             the court approves the settlement.
    3                       CHAIRMAN KORNELL:   Great.   Thank you.
    4                       And, Claude, do you agree that --
    5                       MR. TANKERSLEY:   Yes, yes, I do.     Actually I
    6             did a lot of hydraulic modeling when I was in the
    7             private sector so I'm familiar with the whole
    8             process.
    9                       The model only gets better as you compare what
   10             the model is going to tell you versus what you
   11             actually see in the field.       And as you see in the
   12             field something that is different than what the
   13             model tells you, then go back in and you figure out
   14             why is the model telling you something different.
   15             Usually you will find, oh, I should have used this
   16             parameter instead of that one or I made a mistake on
   17             this pipe or whatever, and so it helps you get the
   18             model closer and closer to the real world.
   19                       CHAIRMAN KORNELL:   Okay.    And I like hearing
   20             that we have a process in place and Staff is moving
   21             down the path of that continuous improvement of that
   22             model.
   23                       Finally, I'd just like to say I'm happy that
   24             we're -- that we have a potential settlement.             I
   25             think it's a -- I'm very fine with having a layer of


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    1             federal oversight, as well as state oversight.              I
    2             think doing it -- so then I think the logical
    3             question for a member of the public would be then
    4             why did you go forward against the lawsuit, but I
    5             think you hit it.       Mr. Manson, you hit it right on
    6             the -- the nail right on the head.
    7                       At the time the lawsuit was filed, it was an
    8             open-ended question.       We did not have our consent
    9             decree with DEP.        We did not have a lot of specifics
   10             to say here's what we think is the right thing to
   11             do, so under those circumstances I felt it was right
   12             to move forward with your services, and under these
   13             circumstances I'm very happy -- I -- I welcome a
   14             layer of federal oversight of this issue.            I don't
   15             have a problem with that.
   16                       I also want to point out a big thank you, you
   17             know, to yourself and our legal team, but also to
   18             council and the mayor.       I think the public should
   19             know that you have a set of elected officials that
   20             are dedicated to solving this problem and spending
   21             money.
   22                       And, you know, one of the examples was -- as
   23             Claude just pointed out, we were required to do
   24             14 -- we were recommended to do 14 and a half
   25             million, and we chose to do $18 and a half million


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    1             of pipe relining.       That's probably not the typical
    2             City's reaction when they're facing environmental
    3             fines and so forth like that, and I think that says
    4             a lot about this commitment.
    5                       I think it's important that people know that.
    6             I think it's important that we look to do as much as
    7             we can for the future.      Because ten years from now
    8             the public may feel very differently about this
    9             issue as they're having to pay for it, which is
   10             unfortunate that they do, but they do.           And the
   11             reality is that maybe in the past that other
   12             administrations didn't do as much as they could
   13             have, so I think that's very important to set up as
   14             much as we can set up.
   15                       And so I think having the layer of federal
   16             oversight is a good thing.       I don't see that as
   17             anything that is going to scare us.          We were already
   18             committed to doing most of the things in there
   19             anyways.
   20                       And finally, I'll just say a thank you also to
   21             Suncoast Waterkeepers.      I think they did a good job
   22             on caring about this issue.        I know it was sometimes
   23             naturally going to be a little bit of conflict
   24             between, you know, in the midst of a lawsuit, but
   25             I'll just say I think it's good that we have groups


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    1             out there that care about these kinds of issues and
    2             I'll leave it at that.
    3                       And with that I'll entertain a motion.        I think
    4             we have a motion and a second.            Council Member Rice
    5             was the second.             Council Member Gerdes made the
    6             motion.
    7                       No, I'm not allowed to as the Chair.
    8                       UNIDENTIFIED SPEAKER:       Second.
    9                       CHAIRMAN KORNELL:       So we have a motion and a
   10             second.          And seeing no other lights I'll ask the
   11             clerk to open the machine for voting.
   12                       UNIDENTIFIED SPEAKER:       Share the motion to
   13             approve agenda item F-1 passes unanimously with
   14             Council Members Foster and Gabbard being absent.
   15                       CHAIRMAN KORNELL:       Very good.    Thank you very
   16             much.
   17                       Thank you for your service to our City.
   18                       And, Claude, thank you, and, legal, thank you.
   19
   20                                     *    *   *   *   *
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    1                                     REPORTER'S CERTIFICATE
    2
    3    STATE OF FLORIDA
    4    COUNTY OF SARASOTA
    5
    6              I, LISA G. MOORE, Notary Public of the State of
         Florida, County of Sarasota, Twelfth Judicial Circuit
    7    Court-Approved, do hereby certify that the above-captioned
         proceeding took place at the time and place herein set out.
    8
                   I further certify that the proceedings was
    9    recorded stenographically by me from the provided audio
         file, and that this transcript (pages 1 through 39) is a
   10    true record of the recorded proceedings to the best of my
         ability.
   11
                   I further certify that I am not of counsel to any
   12    of the parties, nor an employee of counsel, nor related to
         any of the parties, nor in any way interested in the outcome
   13    of the action.
   14
   15                     DATED this 5th day of March, 2019.
   16
   17
   18                                     _______________________________________
   19
                                          LISA G. MOORE, FPR
   20                                     Notary Public, State of Florida at Large
   21
   22
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   25


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                                      Exhibit 7

                                        to the

                             Declaration of Justin Bloom

                                    In Support of

                           Plaintiffs’ Motion for Attorneys'
                                     Fees and Costs



                      Suncoast Waterkeeper et al. v. City of St.
                    Petersburg Case No. 8:16-cv-03319-JDW-AEP
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                                                                                Page 1




                                         CITY OF ST. PETERSBURG
                                           COUNCIL MEETING
                                           JANUARY 17, 2019
                                         (Excerpt of Meeting)




        ___________________________________________________________


        E-1(c) - Authorizing the Mayor or his designee to execute an
        Agreement between the City of St. Petersburg, Florida and
        the University of South Florida Board of Trustees to conduct
        a study investigating bacteriological sources and impacts to
        eight identified locations as required in Amended Consent
        Order 16-1280 at a total cost not to exceed $37,559.00.




                           TRANSCRIBED FROM MP4 AUDIO FILE BY:
                            Lisa G. Moore, Court Reporter, FPR
                          12th Judicial Circuit Court Approved
                         Notary Public, State of Florida at Large




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    1
                                             CITY OF ST. PETERSBURG
    2                                           COUNCIL MEETING
                                                January 17, 2019
    3                                         (Excerpt of Meeting)
    4
    5    PLACE TAKEN:                     Municipal Building
                                          175 5th Street North
    6                                     Second Floor Council Chamber
                                          St. Petersburg, Florida
    7
    8    APPEARANCES:                     Charlie Gerdes, Chairman
                                          Brandi Gabbard, Council Member
    9                                     Gina Driscoll, Council Member
                                          Steve Kornell, Chairman
   10                                     Lisa Wheeler-Bowman, Council Member
                                          Ed Montanari, Council Member
   11                                     Darden Rice, Council Member
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                                                                                 Page 3

    1                                     CITY OF ST. PETERSBURG
                                             COUNCIL MEETING
    2                                        JANUARY 17 2019
                                           (Excerpt of Meeting)
    3
    4                                      *   *    *   *   *
    5
    6                       CHAIRMAN GERDES:       Mr. Tankersley, E-1(c),
    7             please.
    8                       MR. TANKERSLEY:        Thank you, Mr. Chair.
    9                       This is a resolution authorizing the Mayor or
   10             his designee to execute an Agreement between the
   11             City of St. Petersburg and the University of South
   12             Florida Board of Trustees to conduct a study
   13             investigating bacteriological sources and impacts to
   14             eight identified locations as required in the
   15             Amended Consent Order No. 16-1280 at a total cost
   16             not to exceed $37,559.00.
   17                       We will be asking for approval for this, but
   18             prior to that I wanted to have John Palenchar come
   19             up and perhaps give you a little bit of information
   20             about what this is.           We believe this is a good news
   21             item.        Thank you.
   22                       UNIDENTIFIED SPEAKER:       Good afternoon,
   23             Mr. Palenchar.
   24                       MR. PALENCHAR:      Hello, Council.    Thank you.     I
   25             appreciate the opportunity to come to you and really


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    1             speak to this project that we are working on with
    2             the University of South Florida.         I am proud to be
    3             bring this item to you.
    4                       This is the second opportunity that we've had
    5             to partner with the University of South Florida to
    6             identify the sources of bacterial impacts in our
    7             water bodies in and around the city of
    8             St. Petersburg.
    9                       This is, as I said, the second time that we've
   10             partnered with them.         The first time was a pilot
   11             study where -- investigated Salt Creek and Bartlett
   12             Park.        That process is continuing.
   13                       We've developed a framework.     Within that
   14             framework we are now applying it in this second
   15             series of the agreement with University of South
   16             Florida, and we anticipate that this agreement will
   17             have annual renewal so that we can continue to
   18             investigate the bacterial sources of impacts on the
   19             water bodies.
   20                       CHAIRMAN GERDES:   Entertain a motion -- oh,
   21             Council Member Kornell.
   22                       COUNCIL MEMBER KORNELL:   So this is an
   23             impressive partnership, exactly the right kind of
   24             moves that we should make as far as working with our
   25             marine science community.


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                                                                                Page 5

    1                       My question is, and correct me if I'm wrong,
    2             but I don't believe -- because, you know, I read it
    3             about a week ago, Frenchman's Creek is not on here,
    4             and my request is could we consider finding a way to
    5             add Frenchman's Creek because what's happening
    6             there, you know, we're getting ready to do that
    7             project finally with FDOT, everything is falling in
    8             place, so we're going to remove invasives and --
    9                       When we were out there recently, what we
   10             noticed was there's about six boats that are clearly
   11             using it as a mooring field.        Although what's clear
   12             to us is not clear -- under state law it doesn't
   13             meet the definition for -- you know, it's very
   14             difficult to remove boats.
   15                       And I know Frenchman's Creek is an impaired
   16             water body, and if we go out there and find there's
   17             some human sources of that, it's not a very far
   18             stretch to think with the number of boats out there
   19             that they're just dumping their waste right there,
   20             and so I just wanted to put that on the radar.
   21                       MR. PALENCHAR:   And so I -- and it's fortuitous
   22             that you say that, and I don't want to put words
   23             into Carlos Frey's mouth, our stormwater manager,
   24             but he did reach out just yesterday, or the day
   25             before, to Jody Harwood with USF, who is the program


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    1             manager, the PM, for this project, and we're working
    2             out those details right now to include Frenchman's
    3             Creek study.
    4                       So yes, we're on the track, and we're moving
    5             forward to investigate the eight and any others that
    6             come up that require the identification of the
    7             bacteriological source of the impairment as well as
    8             the geographic source of the impairment.
    9                       Our goal is to find out what's causing it to be
   10             impaired, identify the cause, and work on a
   11             solution.
   12                       COUNCIL MEMBER KORNELL:     So the only thing left
   13             for me to say is thank you.
   14                       UNIDENTIFIED SPEAKER:    Thank you.
   15                       COUNCIL MEMBER KORNELL:     So thank you very
   16             much, I appreciate that.
   17                       Thank you, Mr. Chair.
   18                       CHAIRMAN GERDES:    Sure.
   19                       Still waiting to hear a motion and a second.
   20                       UNIDENTIFIED SPEAKER:    Move approval.
   21                       UNIDENTIFIED SPEAKER:    Second.
   22                       CHAIRMAN GERDES:    Thank you very much.
   23                       Mr. Clerk, we have a motion and a second on
   24             E-1(c).          You can open the machine for voting.
   25                       Council Members, if you'd enter your votes.


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    1                       Seeing that all council members have voted,
    2             Mr. Clerk, if you would please tally and announce
    3             the vote.
    4                       THE CLERK:        Mr. Chair, the motion to approve
    5             agenda item E-1(c) passes unanimously.
    6                       CHAIRMAN GERDES:       Thank you, Mr. Clerk.
    7                       Thank you, Mr. Tankersley.
    8                       MR. TANKERSLEY:        Thank you.
    9                       CHAIRMAN GERDES:       I believe that winds up your
   10             business; is that right?
   11                       (Excerpt concluded.)
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   13                                     *    *   *   *   *
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    1                                     REPORTER'S CERTIFICATE
    2
    3    STATE OF FLORIDA
    4    COUNTY OF SARASOTA
    5
    6              I, LISA G. MOORE, Notary Public of the State of
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    7    Court-Approved, do hereby certify that the above-captioned
         proceeding took place at the time and place herein set out.
    8
                   I further certify that the proceedings was
    9    recorded stenographically by me from the provided audio
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   10    record of the recorded proceedings to the best of my
         ability.
   11
                   I further certify that I am not of counsel to any
   12    of the parties, nor an employee of counsel, nor related to
         any of the parties, nor in any way interested in the outcome
   13    of the action.
   14
   15                     DATED this 7th day of March, 2019.
   16
   17
   18                                     _______________________________________
   19
                                          LISA G. MOORE, FPR
   20                                     Notary Public, State of Florida at Large
   21
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